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 1   ATTORNEY ANTHONY BELL (SBN #349401)
 2   Superheroes At Law, P.C.
     8383 Wilshire Blvd, Suite 935
 3
     Beverly Hills, California 90211
 4   855-694-3762
     info@superheroesatlaw.com
 5
     Attorney for Plaintiff
 6

 7
                               UNITED STATES DISTRICT COURT

 8
                              EASTERN DISTRICT OF CALIFORNIA

 9                                     FRESNO DIVISION

10                                                 ) Case No.:
11
     JEFFREY CARTER and DOES 1-20,                 )
     individually and on behalf of all others      )
12   similarly situated,                           ) SECOND AMENDED CLASS ACTION
13                                                 ) COMPLAINT:
                  Plaintiffs,                      ) 1. VIOLATIONS OF SECTION 17(A) OF THE
14   VS.                                           ) SECURITIES ACT
                                                     2. VIOLATIONS OF SECTION 10(B) OF THE
15   WILLARD L. JACKSON, ROBERT S.                 ) EXCHANGE ACT AND EXCHANGE ACT RULE
     SHUMAKE, NICOLE T. BIRCH,                     ) 10B-5
16
     420 REAL ESTATE, LLC., a Texas limited ) 3. VIOLATIONS OF SECTION 5(A) AND (C) OF
                                                     THE SECURITIES ACT
17   liability company doing business in the state ) 4. VIOLATIONS OF SECTION 5(A) AND (C) OF
     of California,                                ) THE SECURITIES ACT
18
     VICENT PETRESCU                               ) 5. AIDING AND ABETTING VIOLATIONS OF
                                                     SECTION 17(A) OF THE SECURITIES ACT
19    aka VINCENT PETRESCU, and                    ) 6. AIDING AND ABETTING VIOLATIONS OF
20   TRUCROWD, INC. dba FUNDANNA a                 ) SECTION 10(B) OF THE EXCHANGE ACTAND
                                                     EXCHANGE ACT RULE 10B-5
     Delaware corporation doing business in the      7. AIDING AND ABETTING VIOLATIONS OF
21   state of California,                            SECTIONS 5(A) AND (C) OF THE SECURITIES
     TRANSATLANTIC REAL ESTATE, LLC a                ACT
22                                                   8. VIOLATIONS OF SECTION 4A(A)(5) OF THE
     California limited liability company,           SECURITIES ACT AND RULES 301(C)(2)
23
     BANGI, INC. is a Nevada corporation doing THEREUNDER
     business in the state of California, and        9. BREACH OF CONTRACT
24
                                                     10.FRAUDULENT MISREPRESENTATION
     DOES 1-20.                                      11BREACH OF FIDUCIARY DUTY
25
                                                  12. UNLAWFUL BUSINESS PRACTICE
                                                  13. NEGLIGENCE
26               Defendant.                       14. CONVERSION
27                                                15. CIVIL CONSPIRACY TO COMMIT FRAUD
                                                  16. CONSTRUCTIVE TRUST OR EQUITABLE
28                                                LIEN

                                                  DEMAND FOR JURY TRIAL



                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1

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 5

 6

 7
     Now comes the Plaintiff in the above-entitled action and says as follows:
 8

 9
            The Plaintiffs, JEFFREY CARTER and DOES 1-20, individually and on behalf of all
10
     others similarly situated, brings this action against the Defendant, WILLARD L.
11
     JACKSON, NICOLE T. BIRCH, 420 REAL ESTATE, LLC., a Texas limited liability company
12
     doing business in the state of California, VICENT PETRESCU aka VINCENT PETRESCU,
13
     and TRUCROWD, INC. dba FUNDANNA a Delaware corporation doing business in the state
14
     of California, TRANSATLANTIC REAL ESTATE, LLC a California limited liability company,
15
     BANGI, INC. a Nevada corporation doing business in the state of California, and DOES 1-20,
16
     pursuant to the provisions of Rule 23, individually and in his representative capacity on behalf
17
     of a Class of all other persons who are similarly situated.
18

19
     I. INTRODUCTION
20

21
                                      PRELIMINARY STATEMENT

22          1.      The SEC originally brought an action to remedy two fraudulent

23          crowdfunding offerings conducted by Defendants Robert Samuel Shumake. Jr.

24          (“Shumake”), Willard L. Jackson (“Jackson”), and Nicole T. Birch (“Birch). 1

25          2.      The SEC allege that the issuers of the securities that were fraudulently sold to

26          members of the public were Defendant 420 Real Estate, LLC (“420 Real Estate”) and a
27          now defunct company named Transatlantic Real Estate, LLC (“Transatlantic
28          Real Estate”).
            3.      The SEC allege Transatlantic Real Estate and 420 Real Estate were raising funds

                    1 Exhibit 1: SEC Complaint


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 1    through offerings on a crowdfunding platform hosted by Defendant TruCrowd, Inc.
 2    (“TruCrowd”). TruCrowd’s CEO, Defendant Vicent Petrescu, aka Vincent Petrescu
 3    (“Petrescu”), was responsible for selecting which issuers could use TruCrowd’s platform
 4
      to conduct crowdfunding offerings. Under the SEC’s crowdfunding regulations, Petrescu
 5
      and TruCrowd served as gatekeepers and, as such, were responsible for taking measures
 6
      to reduce the risk of fraud.
 7
      4.     The SEC allege Shumake and Birch offered and sold securities of Transatlantic
 8
      Real Estate from September 2018 through May 2019. Shumake and Jackson offered and
 9
      sold securities of 420 Real Estate from May 2019 through June 2020.
10
      5.     The SEC allege Shumake was the driving force behind both of the offerings, but
11
      he kept his participation secret in order to hide a past criminal conviction arising from
12
      a mortgage fraud scheme. Shumake convinced Birch to act as the chief executive officer
13
      and sole member of Transatlantic Real Estate and convinced Jackson to act in the same
14
      roles for 420 Real Estate.
15
      6.     The SEC allege Shumake, along with Birch and Jackson, marketed both
16
      offerings as opportunities for investors to share in bountiful profits from the cannabis
17
      industry, by acquiring real estate and leasing it to companies engaged in the business
18
      of growing cannabis.
19
      7.     The SEC allege Shumake, Birch, and Jackson made multiple false and
20

21
      misleading representations and omissions to investors in connection with the

22    crowdfunding offerings. Among other things, they concealed Shumake’s past criminal

23    history and his leading role in both offerings. And to make matters worse, they

24    diverted hundreds of thousands of dollars from the offering proceeds for their

25    personal benefit. None of the money raised in either offering was used to acquire

26    or improve cannabis real estate. None of the investors in either crowdfunding offering
27    has received any return on their investment, and few investors have recovered any of the
28    funds they invested.
      8.     The SEC allege Petrescu failed to address red flags including Shumake's criminal
      history and involvement in the crowdfunding offerings, and otherwise failed to reduce


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 1           the risk of fraud to investors.
 2           9.        The SEC allege on January 02, 2023 the entry of final judgments against Nicole
 3           Birch, former CEO of crowdfunding issuer, Transatlantic Real Estate, LLC, SEC-
 4
             registered crowdfunding portal, TruCrowd, Inc., and its CEO, Vincent Petrescu. was
 5
             issued.
 6
             10.       Without admitting or denying the allegations of the complaint, Birch consented
 7
             to the entry of the judgment permanently enjoining her from violating the registration
 8
             provisions of Section 5 of the Securities Act of 1933 and the antifraud provisions of
 9
             Section 17(a) of the Securities Act and Sections 10(b) of the Securities Exchange Act of
10
             1934 and Rule 10b-5 thereunder. 2
11
             11.       Petrescu3 and TruCrowd4, without admitting or denying the allegations in the
12
             complaint, consented to the entry of the judgments permanently enjoining them from
13
             violating the crowdfunding rules of Section 4A(a)(5) of the Securities Act and Rule
14
             301(c)(2) thereunder.
15
             12.       The judgments order: (i) civil penalties of $200,000, $9,700, and $97,500 against
16
             Birch, Petrescu, and TruCrowd, respectively; (2) disgorgement including prejudgment
17
             interest of $600,712 against Birch and $129,380 against TruCrowd; and (3) an officer
18
             and director bar against Birch.
19
             13.       SEC Commission sanction Birch by suspending her from appearing or practicing
20

21
             before the Commission as an attorney.5

22           14.       SEC Commission also ordered the suspension of Petrescu from appearing or

23           practicing before the Commission as an accountant.6

24

25

26   2 Exhibit 2: Final Judgement as to Defendant Nicole T. Birch


27   3 Exhibit 3: Final Judgement as to Defendant Vicent Petrescu

28   4 Exhibit 4: Final Judgement as to Defendant Trucrowd, Inc.


     5 Exhibit 5: Order Instituting Public Administrative Proceeding pursuant to Rule 102E


     6 Exhibit 6: Order Instituting Public Administrative Proceeding pursuant to Rule 102E


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 1   II. JURISDICTION AND VENUE
 2         15.      This Court has subject matter jurisdiction under the Class Action Fairness Act of
 3         2005 ("CAFA"), 28 U.S.C. §§ 1332(d)(2) and (6) because the aggregate amount in
 4
           controversy exceeds $5,000,000.00 exclusive of interest and costs, and there is minimal
 5
           diversity because Plaintiff and Defendant are citizens of different states.
 6
           16.      The Court has jurisdiction over this action pursuant to Sections 20(b) and 22(a)
 7
           of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77t(b) and 77v(a)], and
 8
           Sections 21(d) and 27(a) of the Securities Exchange Act of 1934 (“Exchange Act”) [15
 9
           U.S.C. §§78u(d) and 78aa(a)].
10
           17.      Venue is proper in this judicial district pursuant to Section 22(a) of the Securities
11
           Act [15 U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15 U.S.C. § 78aa(a)],
12
           because many of the acts, transactions and courses of business constituting the violations
13
           alleged in this Complaint occurred within the jurisdiction of this district.
14
           18.      In connection with the conduct alleged in this Complaint, the Defendants,
15
           directly and indirectly, have made use of the mails and/or means or instrumentalities of
16
           transportation or communication in interstate commerce.
17

18
     III. PARTIES
19
           A. PLAINTIFFS
20

21
           19.      Jeffrey M. Carter is a natural person residing in Tulare, California and an

22         investor in 420 Real Estate LLC.

23         20.      The true names and capacities of Plaintiffs Does 1-20, inclusive, are currently

24         unknown to Plaintiff. Plaintiff will seek leave of this court to amend this complaint to

25         reflect the true names and capacities of the DOES 1-20 Plaintiffs when their identities

26         become known.
27

28         B. DEFENDANTS
           21.      Robert S. Shumake, resides in Bloomfield Hills. In December 2017, Shumake
           pled guilty to two misdemeanor violations of the Michigan Credit Services Protection


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 1    Act, and on behalf of his business, to two felony counts of obtaining money by false
 2    pretense, for improperly taking upfront fees for mortgage audit services that he
 3    promised, but failed to deliver (People v. Shumake, et al., Mich. 46th Jud. Dist. (Feb.
 4
      15, 2017)). The presiding court sentenced Shumake to a probationary period of 18
 5
      months, during which time Shumake was forbidden to work in a position where he could
 6
      have “direct control over, or access to, another person’s money.” Shumake ignored the
 7
      terms of his probation sentence. Before his probation ended in May 2019, he conducted
 8
      the Transatlantic Real Estate offering with Birch and set in motion the 420 Real
 9
      Estate offering with Jackson. Shumake owns and controls Shumoja Media Group,
10
      LLC (“Shumoja”), a purported marketing services company, which received money
11
      in connection with the crowdfunding offerings.
12
      22.    Willard L. Jackson, resides in Houston, Texas. Jackson serves as the CEO and
13
      the sole director of 420 Real Estate. Jackson previously served as a director of Bangi,
14
      Inc., described below. Jackson also held ownership interests in WLJ Group, LLC and
15
      Ebony Media Holdings, LLC, (collectively, the “Jackson Entities”). Jackson facilitated
16
      the payment of money from the 420 Real Estate offering to the Jackson Entities.
17
      23.    Nicole T. Birch, resides in Gainesville, Georgia. Birch is a licensed attorney in
18
      Georgia and has her own law practice, H.B. Associates P.C. (“H.B. Associates”). Birch
19
      has served as CEO and sole director of both Transatlantic Real Estate and Bangi, Inc.
20

21
      Birch facilitated the payment of money from the Transatlantic Real Estate offering to

22    herself and to H.B. Associates.

23    24.    420 Real Estate, LLC is a Texas limited liability company formed in April 2019

24    with its principal place of business in Houston, Texas. 420 Real Estate purports to be a

25    real estate company that specializes in the acquisition and leasing of properties that

26    support the hemp industry. 420 Real Estate is owned by Willard Jackson. 420 Real
27    Estate raised $888,180 through a crowdfunding offering between May 2019 and June
28    2020 (“420 Real Estate offering”).
      25.    TruCrowd, Inc. dba Fundanna is a Delaware corporation with its principal
      place of business in Chicago, Illinois. TruCrowd is an SEC-registered funding portal for


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 1    crowdfunding offerings. TruCrowd hosted the crowdfunding offerings for Transatlantic
 2    Real Estate and 420 Real Estate through its platform.
 3    26.    Vicent Petrescu, aka Vincent Petrescu, resides in Algonquin, Illinois. Petrescu,
 4
      a licensed CPA, is the founder and CEO of TruCrowd. Petrescu granted Transatlantic
 5
      Real Estate and 420 Real Estate access to TruCrowd’s platform to conduct the
 6
      crowdfunding offerings.
 7
      27.    Transatlantic Real Estate, LLC, was a California limited liability company
 8
      formed in August 2018 with its principal place of business in Grosse Pointe Farms.
 9
      Transatlantic Real Estate purported to be a real estate company that specialized in the
10
      acquisition and leasing of properties that support the medical cannabis industry.
11
      Transatlantic Real Estate raised $1,020,100 through a crowdfunding offering between
12
      September 2018 and May 2019 (“Transatlantic Real Estate offering”). According to the
13
      offering statement for the Transatlantic Real Estate offering, Birch was the one hundred
14
      percent owner, CEO, chairman, and sole director of the company. On July 9, 2021,
15
      Transatlantic Real Estate filed a Certificate of Cancellation with the California Secretary
16
      of State, which terminated its status as a limited liability company.
17
      28.    Bangi, Inc. (“Bangi”) is a Nevada corporation with its principal place of
18
      business in Grosse Pointe Farms. Bangi is a publicly traded company that purports to
19
      specialize in the acquisition and leasing of properties that support the cannabis industry.
20

21
      Bangi’s common stock trades in the over-the-counter market under the symbol “BNGI.”

22    According to Bangi’s most recent SEC filing, Birch is the CEO of Bangi.

23    29.    The true names and capacities of Defendants DOES 1–20, inclusive, are

24    currently unknown to Plaintiff. Accordingly, Plaintiff sues each and every DOE

25    Defendant by such fictitious names. Each DOE Defendant, individually and collectively,

26    is responsible in some manner for the unlawful acts alleged herein. Plaintiff will seek
27    leave of this Court to amend this Complaint to reflect the true names and capacities of
28    the DOE Defendants when their identities become known.
      30.    Plaintiff alleges that at all times relevant to the events giving rise to this action,
      each and every Defendant was acting as an agent or employee of each of the other


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 1        Defendants. Plaintiff further alleges that at all times relevant to those events, each and
 2        every defendant was acting within the course and scope of that agency or employment at
 3        the direction of or with the full knowledge, permission, or consent of each and every
 4
          other Defendants was made known to, and ratified by each of the other Defendants.
 5

 6
     IV. FACTUAL ALLEGATION
 7
      A. Shumake Explores Various Means to Raise Money through Securities Offerings
 8
          31.     Following his guilty plea, but before the end of his probationary period and the
 9
          court order prohibiting him from having access to other people’s money, Shumake began
10
          taking steps to raise money from the public to enter the cannabis industries. Ultimately,
11
          he pursued crowdfunding offerings as a means to raise funds.
12
          32.    Crowdfunding offerings are governed by the securities transaction registration
13
          provisions of the Securities Act [17 U.S.C. §§ 77(a), et seq.] and Regulation
14
          Crowdfunding thereunder [17 C.F.R. § 227.100, et seq.]. From 2018 through 2020—the
15
          years relevant to this Complaint—these crowdfunding provisions allowed an
16
          unregistered offering of up to $1,070,000 through an intermediary, in this case, a funding
17
          portal registered under Rule 400 of Regulation.
18
          33.    Crowdfunding issuers could offer and sell their securities through
19
          the intermediary’s platform on the internet. Prior to the start of the
20

21
          crowdfunding offering, the issuer was required to file with the SEC a “Form C,” and

22        disclose certain information about the issuer and the offering through the Form C

23        and offering statement. For instance, issuers relying on the crowdfunding registration

24        exemption were required to disclose, among other information, the names of all the

25        issuer’s officers, directors, and persons occupying a similar status or performing a

26        similar function; the purpose and intended use of the offering proceeds; related party
27        transactions with the issuer’s officers and promoters that are, in the aggregate, in excess
28        of five percent of the aggregate capital that the issuer seeks to raise; and any material
          information necessary in order to make the statements made not misleading, in light of
          the circumstances under which they were made. Crowdfunding Regulation also requires


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 1           that the funding portal post the offering statement for each issuer on its internet platform
 2           so that all prospective investors have access to the same information relating to the
 3           issuer’s offering.
 4
             34.      In September 2018, Shumake enlisted Birch, an attorney with whom he was in a
 5
             personal relationship, to form Transatlantic Real Estate, with Birch holding the positions
 6
             of CEO and sole member. Shumake also convinced Birch to raise funds through a
 7
             crowdfunding offering and to hide Shumake’s involvement.
 8
             35.      Transatlantic Real Estate’s mailing address was a UPS store in Grosse Pointe
 9
             Farms, near where Shumake lived, rather than in Georgia where Birch lived.
10
             36.      Shumake set up Bangi in November 2018, while he was working with Birch to
11
             conduct the Transatlantic Real Estate crowdfunding offering. Bangi’s address at the time
12
             was the same UPS store in Grosse Pointe Farms that Transatlantic Real Estate used.
13
             37.      According to its website, Bangi “acquires specialized assets including hemp and
14
             cannabis farms, dispensaries, commercial real estate, industrial real estate, and leases
15
             real estate to the multi-billion dollars and growing cannabis industry.”
16
             38.      Shumake regularly attended and participated in Bangi Board meetings, gave
17
             direction to the company’s officers and directors, and conducted business on behalf of
18
             Bangi. Board minutes identify Shumake as the founder of Bangi. Bangi Directors and
19
             Shumake discussed his criminal history and its potential impact on prospective
20

21
             investors. Despite his involvement in the affairs of Bangi, Shumake elected not to serve

22           as an officer or director of the company. Nor was he listed on Bangi’s website, this was

23           questioned by one of the Director Neil Parsan which effected his immediate resignation

24           thereto.7

25           39.      Shumake explored the possibility of Bangi conducting an offering under SEC

26           Regulation A+ [17 C.F.R. § 230.251, et seq.], which permitted higher fundraising
27           amounts than those allowed under Regulation Crowdfunding. Ultimately, an offering
28           for Bangi never occurred.
             40.      In April 2019, Shumake enlisted Jackson, a friend and Bangi director, to form

     7 Exhibit 7: Email Communication of Dr. Neil Parsan


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 1         420 Real Estate, with Jackson as the CEO and sole member. Shumake convinced
 2         Jackson to utilize 420 Real Estate as a vehicle for raising funds through a crowdfunding
 3         offering (the “420 Real Estate offering”). Shumake also convinced Jackson to hide
 4
           Shumake’s involvement in the 420 Real Estate offering.
 5
           41.    Shumake discussed with Jackson his plans to use money raised through the 420
 6
           Real Estate offering to fund Bangi.
 7
           42.    Shumake’s name was not on any of the offering documents for Transatlantic Real
 8
           Estate or 420 Real Estate. Shumake, Jackson, and Birch all knew that the disclosure of
 9
           Shumake’s criminal past could hinder fundraising.            Therefore, they concealed
10
           Shumake’s involvement, and Birch and Jackson falsely held themselves out as the sole
11
           persons with authority over the offerings.
12

13
     B. The Transatlantic Real Estate Offering and Misuse of Investor Proceeds
14
           43.    Shumake arranged for TruCrowd to serve as the crowdfunding portal for the
15
           Transatlantic Real Estate offering.
16
           44.    Birch, with Petrescu assistance, wrote the Transatlantic Real Estate Form C and
17
           offering statement. Birch and Petrescu kept Shumake informed about the drafting
18
           process by copying him on substantive email discussions about the offering statement.
19
           Birch, Shumake, and Petrescu also each weighed in on the steps necessary to kick off
20

21
           and promote the Transatlantic Real Estate offering to investors.

22         45.    Transatlantic Real Estate filed the Form C and offering statement with the SEC

23         on September 12, 2018. Birch signed the Form C as the company’s sole officer. The

24         Form C and offering statement omitted any mention of Shumake’s involvement in the

25         company or the offering. Rather, to conceal Shumake’s criminal record, his name did not

26         appear on any of the documents associated with the Transatlantic Real Estate offering.
27         Birch falsely held herself out as the sole person with authority over the company and the
28         offering.
           46.    Shumake and Birch knew that disclosure of Shumake’s criminal past could
           hinder fundraising.


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 1    47.     According to the Transatlantic Real Estate offering statement, the company was a
 2    diversified investment vehicle that acquired and leased specialized real estate assets. Its
 3    strategy was to acquire industrial real estate that could be used as medical cannabis
 4
      cultivation facilities.
 5
      48.     The Transatlantic Real Estate offering statement represented that the company
 6
      was offering a maximum of 10,700 convertible notes for $100 each, and that each
 7
      subscription consisted of a “15% convertible Note . . . that mature[d] eighteen months
 8
      from the date of issuance, and, at [the] company’s option, [was] convertible at a 10%
 9
      discount into the public market.”
10
      49.     The Transatlantic Real Estate offering statement represented that, after expenses,
11
      the company intended to use the offering proceeds as follows: (1) $194,740 for
12
      marketing; (2) $97,370 for legal fees; (3) $584,220 for property improvement; and (4)
13
      $97,370 in administrative fees.
14
      50.     The Transatlantic Real Estate offering statement contained several materially
15
      false and misleading statements, including the following:
16
              a.    Transatlantic Real Estate employed a senior management team that had
17
                   significant experience in the real estate industry and sophisticated finance
18
                   and capital markets expertise;
19
              b. Transatlantic Real Estate had contingently acquired a 9-plus acre property
20

21
                   with 80,000 Square Foot Green Houses located in California; and

22            c. Transatlantic Real Estate would use $584,220 of the proceeds for “property

23                 improvement.”

24            d. Transatlantic Real Estate was not a party to any proposed transaction with an

25                 officer, director or promoter of which such party would receive in excess of

26                 5% of the aggregate amount of capital Transatlantic Real Estate intended to
27                 raise in the offering.
28            e. Transatlantic Real Estate only had one individual who was the company’s
                   officer, director, or “person occupying similar status or performing a similar
                   function.” All of these statements were false and misleading.


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 1    51.      Transatlantic Real Estate never acquired any real estate and did not use any of
 2    the offering proceeds to purchase or improve any property.
 3    52.      As for the management of Transatlantic Real Estate, Birch had no experience in
 4
      the real estate industry or sophisticated finance and capital markets expertise and did not
 5
      employ any individuals, let alone a “team” with such experience on behalf of
 6
      Transatlantic Real Estate.
 7
      53.      The offering statement failed to disclose either Shumake’s criminal record or that
 8
      he would be actively involved in raising funds from investors and managing the
 9
      company.
10
      54.      Shumake co-managed Transatlantic Real Estate with Birch and was extensively
11
      involved in the company’s strategic decisions. For instance, Shumake:
12
               f.   directed communications with current and prospective investors;
13
               g.   lined up a transfer agent for Transatlantic Real Estate;
14
               h. helped prepare documents and promote the offering;
15
               i. solicited Transatlantic Real Estate advertisements from third parties and
16
                    drafted advertising scripts for social media; and gave directions to Birch as to
17
                    the disbursement of investor money from Transatlantic Real Estate’s bank
18
                    account.
19
      55.    From September 2018 through May 2019, Transatlantic Real Estate raised
20

21
            $1,020,100 from approximately 2,000 investors in multiple states

22          through TruCrowd’s platform. The convertible notes that Transatlantic Real Estate

23          offered and sold to the investing public through TruCrowd were securities.

24    56.      Birch and Shumake diverted the investors’ money for purposes unrelated to

25    Transatlantic Real Estate, including hundreds of thousands of dollars transferred to Birch

26    and her entity, H.B. Associates, and to Shumake and his entity, Shumoja.
27    57.      Shumake and Birch diverted $358,311–or 35% of the total offering proceeds—to
28    Birch and her firm, H.B. Associates.
      58.      Shumake and Birch diverted $304,709—or 30% of the total offering proceeds—
      to Shumake and his company, Shumoja.


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 1         59.    The Transatlantic Real Estate offering statement disclosed the possibility of
 2         related party transactions, but stated those transactions would be “consistent with the
 3         duties of the management of the Company to its shareholders.”
 4
           60.    Birch and Shumake did not use any investor funds to buy or improve property.
 5
           61.    The Transatlantic Real Estate investors have not received any monetary return on
 6
           their investment.
 7
     C. The 420 Real Estate Offering and Misuse of Investor Proceeds
 8
           62.     Shumake arranged for TruCrowd to serve as the crowdfunding portal for the 420
 9
           Real Estate offering and put Jackson in touch with Petrescu.
10
           63.    Jackson knew little about crowdfunding and relied on Shumake to take the
11
           necessary steps for 420 Real Estate to conduct its crowdfunding offering. Shumake told
12
           Jackson, a Bangi Director, about his plan to use the proceeds raised from the 420 Real
13
           Estate offering to fund Bangi.
14
           64.    While Shumake was deeply involved in arranging the offering, he persuaded
15
           Jackson to hide Shumake’s role with 420 Real Estate because of his criminal history.
16
           65.    Petrescu and others participated in the drafting of the 420 Real Estate Form C
17
           and offering statement. Petrescu and others kept Jackson and Shumake informed about
18
           the drafting process by copying him on substantive email discussions about the Form C
19
           and offering statement.
20

21
           66.    420 Real Estate filed its Form C and offering statement with the SEC on May 7,

22         2019. Jackson signed the Form C as the company’s sole officer.

23         67.     The 420 Real Estate Form C and offering statement omitted any mention of

24         Shumake’s involvement in the company of the offering. Rather, to conceal Shumake’s

25         criminal record, his name did not appear on any of the documents associated with the

26         420 Real Estate offering. Jackson falsely held himself out as the sole person with
27         authority over the company and the offering.
28         68.    Shumake and Jackson knew that disclosure of Shumake’s criminal past could
           hinder fundraising.
           69.    According to its offering statement, 420 Real Estate is a diversified investment


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 1    vehicle that acquires and leases specialized real estate assets. Its strategy is to acquire
 2    industrial real estate that can be used as hemp cultivation facilities.
 3    70.     The 420 Real Estate offering statement represented that the company was
 4
      offering a maximum of 10,700 convertible notes for $100 each, and that
 5
      “each subscription consists of a 15% Convertible Note that mature[d] eighteen
 6
      months from the date of issuance, and at the company’s option, [was] convertible at a
 7
      10% discount into the public market.”
 8
      71.     The 420 Real Estate offering statement represented that, after expenses, 420 Real
 9
      Estate intended to use investor proceeds as follows: (1) $537,450 for marketing; (2)
10
      $97,370 for legal fees; (3) $278,960 for property; and (4) $97,370 in administrative
11
      fees.
12
      72.     The 420 Real Estate offering statement did not mention Bangi or any intent to
13
      use the offering proceeds for Bangi.
14
      73.     Nearly identical to the Transatlantic Real Estate offering statement, the 420 Real
15
      Estate offering statement contained several materially false and misleading statements,
16
      including the following:
17
              a.   420 Real Estate’s employed a senior management team that has significant
18
                   experience in all aspects of the real estate industry, including acquisitions,
19
                   dispositions, leasing, development, management, and finance;
20

21
              b. 4 2 0 R e a l E s t a t e w o u l d u s e $ 2 7 8 , 9 6 0 o f t h e p r o c e e d s f o r

22                 “property improvement;”

23            c. 420 Real Estate was not a party to any proposed transaction with an officer,

24                 director or promoter of which such party would receive in excess of 5% of

25                 the aggregate amount of capital 420 Real Estate intended to raise in the

26                 offering; and
27            d. 420 Real Estate only had one individual who was the company’s officer,
28                 director, or “person occupying similar status or performing a similar
                   function.”
      74.     All of these statements were false and misleading.


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 1    75.      420 Real Estate never used any offering proceeds for “property improvement.”
 2    76.      420 Real Estate did not have a senior management team—only Jackson and
 3    Shumake. Jackson had no experience in the real estate industry. Shumake and Jackson
 4
      concealed Shumake’s criminal record and the fact that Shumake would be actively
 5
      involved in raising funds from investors and managing the company.
 6
      77.      Money received from investors was deposited into an account managed by
 7
      TruCrowd’s escrow agent. Rather than transferring the offering proceeds from the
 8
      escrow agent directly to 420 Real Estate, Shumake arranged for the funds to be
 9
      transferred to an account managed by an attorney he knew. The attorney was responsible
10
      for disbursing the funds and took directions individually from Shumake and Jackson.
11
      78.      Shumake co-managed 420 Real Estate with Jackson and was extensively
12
      involved in the company’s strategic decisions. For instance, Shumake:
13
               a. directed communications with current and prospective investors;
14
               b. helped prepare documents and promote the offering;
15
               c. solicited advertisements from third parties and drafted advertising scripts for
16
                  social media; and
17
               d. gave directions to the attorney as to the disbursement of investor moneys.
18
      79.       From May 2019 through June 2020, 420 Real Estate raised approximately
19
      $888,180 from the sale of convertible notes to approximately 2,000 investors in multiple
20

21
      states through the TruCrowd platform. The convertible notes that 420 Real Estate

22    offered and sold to the investing public through TruCrowd were securities.

23    80.      Pursuant to an agreement, Jackson and Shumake had to give their joint approval

24    for all distributions of funds from the attorney. In fact, however, Shumake and Jackson

25    each individually directed the attorney to distribute the funds without the approval of the

26    other.
27    81.      Jackson and Shumake diverted the investors’ money for purposes unrelated to
28    420 Real Estate, including hundreds of thousands of dollars transferred to Shumake,
      Shumoja, Jackson, and the Jackson Entities.
      82.      Shumake and Jackson diverted $280,608—or 32% of the total offering proceeds


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 1           —to Jackson and the Jackson Entities.
 2           83.    Shumake and Jackson diverted $114,029—or 13% of the total offering proceeds
 3           —to Shumake, Shumoja, and Bangi.
 4
             84.    Jackson and Shumake did not use any investor funds to buy or improve
 5
             property.
 6
             85.    The 420 Real Estate investors have not received any monetary return on their
 7
             investment.
 8

 9
     D. Petrescu and TruCrowd Allowed the Offerings to Proceed Despite Warning Signs of
10
     Fraud
11
             86.    Petrescu owned and, as TruCrowd’s owner and CEO, controlled the activities of
12
             TruCrowd.
13
             87.    Petrescu, acting on behalf of TruCrowd, was responsible for selecting which
14
             issuers and individuals could use TruCrowd’s platform to conduct crowdfunding
15
             offerings.
16
             88.    Petrescu, acting on behalf of TruCrowd, engaged third party escrow agents to
17
             hold investor funds.
18
             89.    In exchange for its services in connection with the Transatlantic Real Estate and
19
             420 Real Estate crowdfunding offerings, TruCrowd received $91,679 and $48,412,
20

21
             respectively.

22           90.    Petrescu, acting on behalf of TruCrowd, assisted issuers and their affiliated

23           individuals with preparing and filing Forms C and offering statements.

24           91.    Petrescu, acting on behalf of TruCrowd, permitted the Transatlantic Real Estate

25           and 420 Real Estate offerings to proceed despite multiple warning signs of possible

26           fraud or other harm to investors.
27           92.    Petrescu, acting on behalf of TruCrowd, worked with both Shumake and Birch to
28           file the Transatlantic Real Estate Form C and offering statement.
             93.    According to Petrescu, Birch told him that she was the sole officer
             of Transatlantic Real Estate and that Shumake only provided marketing services.


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 1    However, Shumake routinely coordinated with Petrescu to address non-
 2    marketing matters for the company, such as investor communications and lining up a
 3    transfer agent.
 4
      94.    Petrescu did not question why the Transatlantic Real Estate offering statement
 5
      omitted any mention of Shumake’s involvement with the company and the offering.
 6
      95.    In November 2018, two months after the Transatlantic Real Estate offering
 7
      opened, Birch forwarded an email to Petrescu from an individual who had provided
 8
      marketing services to Birch and Shumake in connection with the Transatlantic Real
 9
      Estate offering.
10
      96.    This individual’s email to Birch and Shumake complained that they owed him
11
      money for services he had performed on the offering, stated that he had referred
12
      Transatlantic Real Estate for collections, and warned them of the potential impact of
13
      “SEC, Bad Actor Check.”
14
      97.    These emails required action by Petrescu, and through him, by TruCrowd.
15
      Regulation Crowdfunding [17 C.F.R. §§227.301(c)] requires funding portals and their
16
      associated persons to conduct a background and securities enforcement regulatory
17
      history check (commonly referred to as a “bad actor” check) on each issuer and the
18
      issuer’s officers and directors (and any persons      performing a similar function) to
19
      determine if they are subject to disqualification    from participating in crowdfunding
20

21
      under Rule 503 of Regulation Crowdfunding, and to remove an offering from their

22    platform if they become aware of information after they have granted access that causes

23    them to reasonably believe that the issuer or the offering presents the potential for fraud

24    or otherwise raises concerns about investor protection.

25    98.    Even after receiving this email, Petrescu never requested a bad actor check or ran

26    a background check on Shumake. If Petrescu had done so, he would have learned of
27    Shumake’s criminal history.
28    99.    A short time later, in December 2018, while the Transatlantic Real Estate
      offering was still raising funds from investors, Petrescu referred Birch and Shumake to
      an experienced securities attorney, to explore the possibility of a Regulation A offering


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 1    for Bangi.
 2    100.   The securities attorney emailed Petrescu on December 14, 2018, after meeting
 3    with Shumake and Birch:
 4
      101.   The 2017 news article read, in part, as follows:
 5
             a.    “[Michigan Attorney General] Schulte says Shumake was behind a scheme
 6
                   to cheat people who were trying to save their homes from Foreclosure.”
 7
             b. “The attorney general’s office investigated and recommended a warrant for
 8
                   Shumake’s arrest in 2015, but Robert Shumake was in Africa.”
 9
             c. “After filing for personal bankruptcy to the tune of more than $3 million,
10
                   Shumake was busy posting on Facebook about his African humanitarian
11
                   work and even turned up on the Tanzanian TV news as an American investor
12
                   who ran a railroad.”
13
             d. “Last year he was caught in California with $121,000 cash in his trunk and
14
                   large sums of marijuana. He’s got an active arrest warrant in that case.”
15
      102.   Despite admitting that he needed “to search some more,” Petrescu did not follow
16
      up on this red flag. Instead, Petrescu allowed the Transatlantic Real Estate offering to
17
      continue on TruCrowd’s platform.
18
      103.   Then, in or about April 2019, Petrescu agreed to work with Shumake again and
19
      to host the 420 Real Estate offering on TruCrowd’s portal.
20

21
      104.   Petrescu however, did not request a bad actor check on Shumake or otherwise

22    investigate Shumake’s past before agreeing to host the 420 Real Estate offering.

23    105.   The 420 Real Estate offering statement was nearly identical to the Transatlantic

24    Real Estate offering statement.

25    106.   Nevertheless, Petrescu did not question the representations in those documents

26    that Jackson was the issuer’s sole officer or the omission of any mention of Shumake’s
27    involvement with the issuer or the offering.
28    107.   During and after both the Transatlantic Real Estate offering and the 420 Real
      Estate offering, Petrescu, and through him TruCrowd, received a series of investor
      complaints about both the Transatlantic Real Estate and the 420 Real Estate offerings.


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 1    Investors asked whether the offerings were scams. They complained to Petrescu that the
 2    issuers were not responding to inquiries. Some investors complained that they had not
 3    received certificates for their investments.     Others asked for the refund of their
 4
      investments. All these emails should have raised questions for Petrescu whether the
 5
      offerings presented the risk of fraud or investor harm, especially in light of the email
 6
      exchanges described above.
 7
      108.     Petrescu responses to the investor emails was to assure investors that the
 8
      offerings were not scams, and to represent that he had run bad actor checks.
 9
      109.     Petrescu forwarded some of the investor complaints to Shumake, Jackson, and
10
      Birch.
11
      110.     On April 16, 2020, Jackson informed Petrescu that Shumake had acted
12
      improperly. Jackson told Petrescu that it is “very disappointing to learn that you took
13
      direction (without my knowledge) from Robert Shumake to redirect the approval of
14
      funds process for 420 Real Estate crowdfund. He is not a party to my agreement with
15
      you or [TruCrowd].” In a response on the same day copying Petrescu, Shumake stated
16
      that the 420 Real Estate offering was designed to support Bangi, Jackson’s business,
17
      Ebony, and the “263k used by me to seed the operation.” Yet, this email did not prompt
18
      Petrescu to question why Bangi, Ebony, and payments to Shumake were omitted from
19
      the 420 Real Estate Form C and offering statement.
20

21
      111.     On April 16, 2020, when Petrescu received Jackson’s email, more than $20,000

22    of investor funds was being held in escrow. Over the next several weeks, approximately

23    $20,000 in additional investor money was invested and received into the escrow

24    account.

25    112.     On June 8, 2020, Birch told Petrescu that Shumake had allowed a third party

26    access to non-public information related to Transatlantic Real Estate investors, and
27    instructed Petrescu that, going forward, he should only take direction from Birch.
28    Petrescu responded that, until recently, he understood Shumake to be a representative of
      Transatlantic Real Estate and Birch’s agent.
      113.     Despite these red flags, Petrescu permitted the 420 Real Estate offering to


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 1          proceed on the TruCrowd platform until it stopped accepting investors in June 2020.
 2          114.   Petrescu continued to work with Shumake after June 2020. He emailed Shumake
 3          about investor complaints. He also networked with Shumake in an effort to arrange a
 4
            crowdfunding offering by at least one other issuer.
 5
     E. Plaintiff Jeffrey Carter Investment
 6
            115.   On August 8, 2019, the plaintiff Jeffrey Carter signed a subscription contract to
 7
            buy a convertible note from 420 Real Estate LLC. This note is valued at $300. To break
 8
            it down further, a convertible note is a type of financial instrument that can be converted
 9
            into shares of the company's stock at a later date. By entering into this agreement, the
10
            plaintiff essentially agreed to loan $300 to 420 Real Estate LLC with the potential to
11
            convert that debt into ownership shares of the company in the future.8
12
            116.   The convertible note has been set to mature on June 30, 2020. This means that by
13
            this date, the full amount of the note, along with any accrued interest, will be due unless
14
            it has been converted into shares of the company before then. The note accrues interest
15
            at a rate of 15% per year. Additionally, there's a provision known as the Conversion
16
            Option. This allows the holder of the note, upon conversion, to purchase shares at a
17
            discounted rate of 10% compared to the prevailing market price at the time of
18
            conversion. However, it's up to the company's discretion whether or not they choose to
19
            offer this conversion option.
20

21
            117.   In the subscription contract, one of the parties identified as a defendant is the

22          issuer of the note. Specifically, the CEO of 420 Real Estate LLC, Willard Jackson is

23          highlighted as the main representative and primary entity responsible for issuing the

24          note. This means that any obligations, responsibilities, or legal implications related to

25          the note's issuance and terms would primarily fall under the purview of the CEO of 420

26          Real Estate LLC.
27          118.   The complete facts constituting Violations of Section 17(a) of the Securities Act;
28          Violations of Section 10(b) of the Exchange Act and Exchange Act Rule 10b-5;
            Violations of Section 5(a) and (c) of the Securities Act; Violations of Section 5(a) and (c)

                   8 Subscription Agreement of Jeffrey Carter


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 1    of the Securities Act; Aiding and Abetting Violations of Section 17(a) of the Securities
 2    Act; Aiding and Abetting Violations of Section 10(b) of the Exchange Act and Exchange
 3    Act Rule 10b-5; Aiding and Abetting Violations of Sections 5(a) and (c) of the Securities
 4
      Act and Violations of Section 4A(a)(5) of the Securities Act and Rules 301(c)(2)
 5
      thereunder including the fact that the defendants intended to deceive and verifiably
 6
      violated SEC regulations were sufficiently known by Plaintiff Jeffrey Carter when the
 7
      SEC order became public on December 30, 2021.
 8
      119.    As per Merck & Co. v. Reynolds, this was the “critical date” because Plaintiff
 9
      Jeffrey Carter did not have sufficient information to plead scienter until the SEC order
10
      put the company’s prior actions and statements in a new context, revealing that
11
      ostensibly innocuous statements and filings were actually intentional misrepresentations.
12

13
                                 CLASS ACTION ALLEGATIONS
14
      120.    The Class that Plaintiff represents is composed of Jeffrey Carter and all other
15
      individuals similarly situated. Plaintiff reserves the right to amend or supplement
16
      the Class descriptions with greater specificity or further division into subclasses or
17
      limitation to certain issues based on information learned after the filing of this
18
      Complaint or after conducting discovery in this matter.
19
              a.     NUMEROSITY (RULE 23(a)(1)): In the matter at hand, the precise
20

21
      enumeration of the Members encompassed within the Classes remains shrouded in

22    ambiguity and is not explicitly ascertainable to the Plaintiffs. This however, does not

23    obfuscate the inherent impracticability of having each individual plaintiff join the

24    proceedings separately. The nature and scope of the defendant's alleged wrongful

25    conduct are of such magnitude and widespread effect that the mere thought of each

26    aggrieved party independently participating in the litigation is both cumbersome and
27    unrealistic.
28            Delving into the specifics, the defendant's purported fraudulent activities revolve
      around unregistered crowdfunding venture executed through Transatlantic Real Estate,
      purportedly associated with the cannabis industry. Records indicate a staggering


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 1    accumulation of $1,020,100 from thousands of unsuspecting retail investors via this
 2    Real Estate facade. Instead of deploying these funds for the expressly stated objectives,
 3    as articulated to the investors, the defendant is believed to have orchestrated a deceitful
 4
      scheme, channeling significant portions of the investment for personal enrichment.
 5
      Moreover, the defendant's glaring lapses in due diligence become increasingly evident
 6
      upon closer scrutiny.
 7
             Notably, the defendant purportedly overlooked and neglected pivotal red flags,
 8
      notably the dubious criminal background of Shumake, who was intricately intertwined
 9
      with the crowdfunding endeavors. This oversight, combined with a glaring failure to
10
      institute adequate safeguards, has further exacerbated the risk and magnitude of the
11
      alleged fraudulent activities, detrimentally impacting the unsuspecting investors. Given
12
      the intricate web of deceit, the substantial amount involved, and the vast number of
13
      potential aggrieved parties, it is abundantly clear that attempting to consolidate this
14
      litigation without the collective strength of a unified class would be both inefficient and
15
      inequitable. Thus, while the exact numerical extent of the Classes remains
16
      indeterminate, the overarching impracticability of individual joiner remains indisputably
17
      evident.
18

19
             b.      COMMONALITY (RULE 23(a)(2) and 23(b)(3)): In the realm of
20

21
      collective litigation, the cornerstone of a class action lies in the shared questions of law

22    and fact that resonate amongst its members. This unity not only ensures the efficiency of

23    the judicial process but also safeguards against inconsistent adjudications that might

24    arise from fragmented litigation. Herein, it is palpably evident that the Class members,

25    stemming from the defendant's alleged misconduct, are bound together by a tapestry of

26    common concerns.
27           Firstly, a central issue that uniformly affects all members revolves around the
28    defendant's purportedly fraudulent and unregistered crowdfunding initiative facilitated
      through Transatlantic Real Estate, ostensibly linked to the cannabis domain. This
      singular modus operandi led to the accumulation of a substantial sum, amounting to


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 1    $1,020,100, extracted from a multitude of retail investors under the auspices of Real
 2    Estate endeavors.
 3            Secondly, the misdirection and misappropriation of investor funds stand out as a
 4
      pivotal commonality. Rather than prudently allocating these resources in alignment with
 5
      the representations made to the investors, the defendant's alleged actions suggest a
 6
      blatant deviation. Such a breach of trust and fiduciary responsibility resonates uniformly
 7
      amongst all Class members, signifying a shared injury.
 8
              Furthermore, the defendant's alleged negligence and oversight regarding critical
 9
      red flags, especially concerning Shumake's criminal antecedents and his intricate
10
      involvement in the crowdfunding framework, present another layer of commonality.
11
              This oversight, or potentially willful neglect, amplified the inherent risks
12
      associated with the investment, exposing every Class member to undue harm.
13
              In essence, while the nuances of individual experiences might vary, the
14
      overarching narrative remains consistent:
15
              a breach of trust, alleged fraudulent activities, and a shared detriment borne out
16
      of the defendant's actions.
17
              These shared concerns underscore the imperative for a collective and unified
18
      legal strategy, ensuring that justice is not only served but is also perceived as equitable
19
      and uniform for all Class members.
20

21

22            c.     TYPICALITY (Rule 23(a)(3)): Central to the integrity of a class action

23    lawsuit is the concept of typicality, ensuring that the claims of the representative plaintiff

24    resonate with the broader concerns of the entire class.

25            This ensures that the representative's interests are in harmony with those of the

26    class members, thereby reinforcing the collective pursuit of justice.
27            In the present scenario, a meticulous examination of the allegations against the
28    defendant vis-à-vis the claims of the representative plaintiff elucidates a clear pattern of
      typicality.
              The representative plaintiff's grievance, rooted in the defendant's purportedly


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 1    fraudulent and unregistered crowdfunding operation via Transatlantic Real Estate,
 2    mirrors the overarching narrative that binds the entire class.
 3            Specifically, the defendant's alleged orchestration of a deceptive scheme that
 4
      siphoned a considerable sum, precisely $1,020,100, from thousands of unsuspecting
 5
      retail investors under the guise of Real Estate ventures, is emblematic of the harms
 6
      suffered by every class member.
 7
              Furthermore, the crux of the representative plaintiff's claim, which revolves
 8
      around the defendant's egregious misallocation of investor funds for personal gains, is a
 9
      reflection of the broader malfeasance alleged against the defendants.
10
              This misdirection of funds, in stark contradiction to the promises and disclosures
11
      made to the investors, underscores a shared injury that is palpable across the class
12
      spectrum.
13
              Additionally, the defendant's purported negligence, or potential deliberate
14
      oversight, in addressing critical red flags—most notably, Shumake's questionable
15
      criminal past and his intricate involvement in the crowdfunding endeavors—serves as
16
      another testament to the typicality of the representative plaintiff's claim.
17
              This shared experience of being misled and exposed to undue risks due to the
18
      defendant's alleged omissions further solidifies the representative plaintiff's position as a
19
      genuine and resonant voice for the entire class.
20

21
              In summation, the representative plaintiff's allegations, grounded in the

22    defendant's alleged fraudulent actions, misappropriation of funds, and neglect of pivotal

23    red flags, are emblematic of the broader class's experiences and grievances.

24             Such congruence in claims not only underscores the representative's role as an

25    apt spokesperson for the class but also fortifies the foundational principle of typicality

26    essential for the pursuit of collective justice.
27

28            d.      ADEQUACY OF REPRESENTATION (Rule 23(a)(4)): The hallmark
      of a robust class action lawsuit lies not just in the coherence of its claims but also in the
      competence and commitment of its representation.


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 1             Rule 23(a)(4) underscores the necessity for a plaintiff, and by extension, their
 2    legal counsel, to be both willing and capable of championing the interests of the entire
 3    class.
 4
               In the instant case, a detailed examination of the representative plaintiff's
 5
      commitment and the proficiency of their legal representation vis-à-vis the defendant's
 6
      alleged malfeasance paints a compelling picture of adequacy.
 7
               Firstly, the representative plaintiff's unwavering pursuit of justice against the
 8
      defendant, stemming from the purported fraudulent activities involving Transatlantic
 9
      Real Estate, epitomizes a dedication to ensuring that the interests of all class members
10
      are vigorously safeguarded. The egregious act of diverting a substantial amount,
11
      precisely $1,020,100, from retail investors, coupled with the deceptive promise of Real
12
      Estate ventures, demands a representation that is both resolute and astute.
13
               The representative plaintiff's steadfastness in bringing forth these claims
14
      underscores their commitment to the broader class's welfare.
15
               Equally pivotal to the adequacy of representation is the competence and
16
      expertise of the retained legal counsel.
17
               In this regard, the representative plaintiff has exhibited prudence by enlisting
18
      lawyers with a proven track record in navigating the intricacies of complex litigation and
19
      class action suits.
20

21
               Such legal prowess not only ensures that the class's interests are articulated with

22    precision but also reinforces the collective pursuit of justice with the requisite acumen.

23             Furthermore, the multifaceted nature of the defendant's alleged wrongdoing,

24    ranging from misappropriation of funds to a glaring oversight of critical red flags like

25    Shumake's criminal entanglements, necessitates a legal team adept at dissecting intricate

26    details and presenting a cogent argument.
27             The representative plaintiff's choice of lawyer exemplifies a strategic approach
28    aimed at ensuring that every nuance of the defendant's alleged malfeasance is
      meticulously addressed, thereby amplifying the prospects of a favorable outcome for the
      class.


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 1            In essence, when juxtaposed against the backdrop of the defendant's purported
 2    wrongful conduct, the representative plaintiff's unwavering commitment to justice,
 3    coupled with the expertise of their retained legal counsel, unequivocally establishes the
 4
      adequacy of representation mandated by Rule 23(a)(4).
 5
              Such a confluence of dedication and proficiency bodes well for the class,
 6
      instilling confidence that their rights and interests are in capable and committed hands.
 7
      121.    There are no material conflicts between the claims of the representative Plaintiff
 8
      and the members of the Class that would make class certification inappropriate. Counsel
 9
      for the Class will vigorously assert the claims of all Class members. Furthermore, the
10
      representative Plaintiff will consistently communicate and collaborate with various Class
11
      members to ensure alignment in objectives and strategies. The legal team's proactive
12
      approach in establishing open channels of communication with the Class, coupled with
13
      regular updates and feedback sessions, underscores their commitment to inclusivity and
14
      transparency. Additionally, the dedication of the legal team to seeking maximum
15
      restitution and justice for every affected individual within the Class epitomizes the very
16
      essence of zealous representation, thereby reinforcing the appropriateness of class
17
      certification.
18
      122.    This action is properly maintained as a class action pursuant to Rule 23(b) of the
19
      Federal Rules of Civil Procedure for the following reasons:
20

21
              a.       Class Action Status (Rule 23(b)(1)): Initiating separate actions by

22    potential Class members threatens to introduce conflicting standards of conduct for the

23    defendant. Given the defendant's multifaceted fraudulent activities, disparate judgments

24    could foster inconsistencies, undermining the pursuit of justice and clarity.

25            Individual prosecutions by potential Class members pose an acute risk of

26    judgments that might disproportionately influence the broader Class. Such isolated
27    adjudications could jeopardize the rights and interests of other members, potentially
28    hindering their capacity to seek redress or safeguard their claims. Given the
      interconnected nature of the defendant's transgressions, a unified class action approach is
      imperative to ensure cohesive remedies and protect the collective interests of the


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 1    aggrieved investors.
 2            In light of the defendant's deliberate misconduct and the consequential harm
 3    inflicted upon the investors, class action status is unequivocally warranted. Adopting a
 4
      consolidated approach through Rule 23(b)(1) not only streamlines the litigation process
 5
      but also fosters fairness, ensuring that all affected parties have an equitable opportunity
 6
      for recourse.
 7

 8
              b.      Declaratory and Injunctive Relief (Rule 23(b)(2)): Certification under
 9
      Rule 23(b)(2) is unequivocally justified in this instance. The defendant's actions, or lack
10
      thereof, have had broad and overarching implications, affecting the entirety of the
11
      putative Class. As such, it is imperative to secure final injunctive, declaratory, or other
12
      appropriate equitable remedies to redress the collective grievances and to prevent future
13
      harm.
14
              Given the defendant's systematic misconduct and its ramifications on the broader
15
      investor community, declaratory and injunctive relief under Rule 23(b)(2) is not only
16
      appropriate but essential. Such relief serves to restore confidence, rectify injustices, and
17
      ensure that the defendant's injurious practices are decisively curtailed, safeguarding both
18
      present and future investors.
19

20

21
              c.      Superiority (Rule 23(b)(3)): The certification of this action as a class

22    under Rule 23(b)(3) is not only appropriate but also advantageous. Common questions

23    of law and fact permeate the claims of the putative Class members, including the

24    defendant's deceptive practices, the misallocation of investor funds, and the overall harm

25    inflicted. Addressing these shared issues collectively promotes consistency in legal

26    determinations and prevents duplicative litigation.
27            Furthermore, class action treatment stands out as the superior mechanism for the
28    resolution of this controversy. Consolidating the claims of the Class ensures efficiency,
      avoids the potential for conflicting judgments, and provides a streamlined avenue for the
      fair distribution of any recoverable assets or remedies. Given the magnitude and


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 1    interconnected nature of the defendant's transgressions, class action treatment maximizes
 2    judicial economy while preserving the rights and interests of the aggrieved investors.
 3            In light of the defendant's widespread misconduct and the shared challenges
 4
      faced by the putative Class members, certification under Rule 23(b)(3) is both warranted
 5
      and beneficial. Such a consolidated approach ensures equitable treatment, promotes
 6
      efficiency, and underscores the fundamental principles of justice and fairness.
 7
              The Class is ascertainable, and there is a well-defined community of interest in
 8
      the questions of law or fact alleged herein since the rights of each Class member were
 9
      infringed or violated in the same or similar fashion.
10

11

12

13
                                      FIRST CAUSE OF ACTION
14
                           Violations of Section 17(a) of the Securities Act
15
                                         [15 U.S.C. § 77q(a)]
16
                           (Shumake, Jackson, Birch and 420 Real Estate)
17
      123.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
18
      as if fully set forth herein.
19
      124.    By engaging in the conduct described above, Defendants Shumake, Jackson,
20

21
      Birch, and 420 Real Estate violated Section 17(a) of the Securities Act [15 U.S.C. §

22    77q(a)] to wit:

23                     15 U.S. Code § 77q - Fraudulent interstate transactions
                       (a)Use of interstate commerce for purpose of fraud or
24            deceit: It shall be unlawful for any person in the offer or sale of
25            any securities (including security-based swaps) or any security-
              based swap agreement (as defined in section 78c(a)(78) [1] of this
26
              title) by the use of any means or instruments of transportation or
27            communication in interstate commerce or by use of the mails,
              directly or indirectly—
28
                       (1) to employ any device, scheme, or artifice to defraud, or
                       (2) to obtain money or property by means of any untrue
              statement of a material fact or any omission to state a material fact
              necessary in order to make the statements made, in light of the

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 1            circumstances under which they were made, not misleading; or
 2                   (3) to engage in any transaction, practice, or course of
              business which operates or would operate as a fraud or deceit
 3
              upon the purchaser. (Emphasis Supplied)
 4

 5    125.    By engaging in the conduct described above, Defendants Shumake, Jackson,
 6    Birch, and 420 Real Estate, in the offer and sale of securities, by the use of the means
 7    and instruments of transportation or communication in interstate commerce or by use of
 8    the mails, directly or indirectly, have employed devices,      schemes and artifices to
 9    defraud; obtained money and property by means of untrue statements of material facts
10    and omissions to state material facts necessary in order to make the statements made, in
11    light of the circumstances under which they were made, not misleading; and engaged in
12    transactions, practices, and courses of business which operated or would operate as a
13    fraud or deceit upon the purchasers of such securities.
14
      126.    Defendants Shumake, Jackson, Birch, and 420 Real Estate acted knowingly,
15
      recklessly, and/or negligently, in engaging in the conduct described above.
16

17
                                      SECOND CAUSE OF ACTION
18
                           Violations of Section 10(b) of the Exchange Act
19
                                      and Exchange Act Rule 10b-5
20
                             [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
21
                           (Shumake, Jackson, Birch and 420 Real Estate)
22
      127.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
23
      as if fully set forth herein.
24
      128.    Through the foregoing, Defendants Shumake, Jackson, Birch, and 420 Real
25
      Estate violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5
26
      thereunder [17 C.F.R. 240.10b-5] to wit:
27
                    15 U.S. Code § 78j - Manipulative and deceptive devices
28
                    (b) To use or employ, in connection with the purchase or sale of
              any security registered on a national securities exchange or
              any security not so registered, or any securities-
              based swap agreement [1] any manipulative or deceptive device or

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 1           contrivance in contravention of such rules and regulations as
 2           the Commission may prescribe as necessary or appropriate in the public
             interest or for the protection of investors.(Emphasis Supplied)
 3

 4           xxx
                     § 240.10b-5 Employment of manipulative and deceptive devices:
 5
             It shall be unlawful for any person, directly or indirectly, by the use of
 6           any means or instrumentality of interstate commerce, or of the mails or
 7
             of any facility of any national securities exchange,

 8                   (a) To employ any device, scheme, or artifice to defraud,
 9
                     (b) To make any untrue statement of a material fact or to omit to
10           state a material fact necessary in order to make the statements made, in
11           the light of the circumstances under which they were made, not
             misleading, or
12

13                  (c) To engage in any act, practice, or course of business which
             operates or would operate as a fraud or deceit upon any person,
14

15                in connection with the purchase or sale of any security.
16
             (Emphasis Supplied)

17    129.   By engaging in the conduct described above, Defendants Shumake, Jackson,
18    Birch, and 420 Real Estate, in connection with the purchase and sale of securities, by
19    the use of the means and instrumentalities of interstate commerce and by the use of the
20
      mails, directly and indirectly, employed devices, schemes and artifices to defraud; made
21
      untrue statements of material fact and omitted to state material facts necessary in order
22
      to make the statements made, in the light of the circumstances under which they were
23
      made, not misleading; and engaged in acts, practices and courses of business which
24
      operated or would have operated as a fraud and deceit upon purchasers and sellers and
25
      prospective purchasers and sellers of securities.
26
      130.   Defendants Shumake, Jackson, Birch, and 420 Real Estate acted knowingly and/
27
      or recklessly, in engaging in the fraudulent conduct described above.
28




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 1                                      THIRD CAUSE OF ACTION
 2                      Violations of Section 5(a) and (c) of the Securities Act
 3                                       [15 U.S.C. § 77e(a) and (c)]
 4
                         (Shumake and Birch as to Transatlantic Real Estate)
 5
      131.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
 6
      as if fully set forth herein.
 7
      132.    By engaging in the conduct described above, Defendants Shumake and Birch
 8
      violated, and unless restrained and enjoined are reasonably likely to continue to violate
 9
      Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)] To wit:
10
                         15 U.S. Code § 77e - Prohibitions relating to interstate
11            commerce and the mails:
12                       (a)Sale or delivery after sale of unregistered securities Unless
              a registration statement is in effect as to a security, it shall be unlawful
13            for any person, directly or indirectly—
14                       (1) to make use of any means or instruments of transportation or
              communication in interstate commerce or of the mails to sell
15
              such security through the use or medium of any prospectus or otherwise;
16            or
                         (2) to carry or cause to be carried through the mails or
17
              in interstate commerce, by any means or instruments of transportation,
18            any such security for the purpose of sale or for delivery after sale.
19                       (b)Necessity of prospectus meeting requirements of title It shall be
              unlawful for any person, directly or indirectly—
20                       (1)
21                       to make use of any means or instruments of transportation or
              communication in interstate commerce or of the mails to carry or transmit
22
              any prospectus relating to any security with respect to which a registration
23            s t a t e m e n t h a s b e e n f i l e d u n d e r t h i s s u b c h a p t e r, u n l e s s
              such prospectus meets the requirements of section 77j of this title; or
24
                         (2)
25                       to carry or cause to be carried through the mails or in interstate
26
              commerce any such security for the purpose of sale or for delivery after
              sale, unless accompanied or preceded by a prospectus that meets the
27            requirements of subsection (a) of section 77j of this title.
28            (c)Necessity of filing registration statement
              It shall be unlawful for any person, directly or indirectly, to make use of
              any means or instruments of transportation or communication
              in interstate commerce or of the mails to offer to sell or offer to buy


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 1            through the use or medium of any prospectus or otherwise
 2            any security, unless a registration statement has been filed as to
              such security, or while the registration statement is the subject of a
 3
              refusal order or stop order or (prior to the effective date of
 4            the registration statement) any public proceeding or examination
              under section 77h of this title.
 5

 6
      133.    From in or about September 2018 through in or about June 2019, Defendants
 7
      Shumake and Birch directly or indirectly, as to securities of Transatlantic Real Estate:
 8
      (a) made use of the means or instruments of           transportation or communication in
 9
      interstate commerce or of the mails to sell securities through the use or medium of a
10
      prospectus or otherwise; or carried securities or caused such securities to be carried
11
      through the mails or in interstate commerce, by means or instruments of transportation,
12
      for the purpose of sale or        delivery after sale; and (b) made use of the means or
13
      instruments of transportation or communication in interstate commerce or of the mails to
14
      offer to sell or to offer to buy, through the use or medium of any prospectus or
15
      otherwise, securities without a registration statement having been filed with the SEC or
16
      being in effect as to such securities.
17
      134.    No registration statements were filed with the SEC or were in effect
18

19
      in connection with offers or sales of securities of Transatlantic Real Estate

20
      by Defendants Shumake and Birch, and no exemption from the registration requirements

21    applied to Defendant Shumake’s and Birch’s sales.

22                                    FOURTH CAUSE OF ACTION

23                      Violations of Section 5(a) and (c) of the Securities Act

24                                     [15 U.S.C. § 77e(a) and (c)]
25                             (Shumake, Jackson and 420 Real Estate)
26    135.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
27    as if fully set forth herein.
28    136.    By engaging in the conduct described above, Defendants Shumake, Jackson, and
      420 Real Estate violated, and unless restrained and enjoined are reasonably likely to
      continue to violate Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and

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 1    (c)].
 2                       15 U.S. Code § 77e - Prohibitions relating to interstate
 3            commerce and the mails:
                         (a)Sale or delivery after sale of unregistered securities Unless
 4
              a registration statement is in effect as to a security, it shall be unlawful
 5            for any person, directly or indirectly—
                         (1) to make use of any means or instruments of transportation or
 6
              communication in interstate commerce or of the mails to sell
 7            such security through the use or medium of any prospectus or otherwise;
 8
              or
                         (2) to carry or cause to be carried through the mails or
 9            in interstate commerce, by any means or instruments of transportation,
10            any such security for the purpose of sale or for delivery after sale.
                         (b)Necessity of prospectus meeting requirements of section 77j of
11            this titleIt shall be unlawful for any person, directly or indirectly—
12                       (1)
                         to make use of any means or instruments of transportation or
13
              communication in interstate commerce or of the mails to carry or transmit
14            any prospectus relating to any security with respect to which a registration
              s t a t e m e n t h a s b e e n f i l e d u n d e r t h i s s u b c h a p t e r, u n l e s s
15
              such prospectus meets the requirements of section 77j of this title; or
16                       (2)
17                       to carry or cause to be carried through the mails or in interstate
              commerce any such security for the purpose of sale or for delivery after
18            sale, unless accompanied or preceded by a prospectus that meets the
19            requirements of subsection (a) of section 77j of this title.
                         (c)Necessity of filing registration statement
20
              It shall be unlawful for any person, directly or indirectly, to make use of
21            any means or instruments of transportation or communication
              in interstate commerce or of the mails to offer to sell or offer to buy
22
              through the use or medium of any prospectus or otherwise
23            any security, unless a registration statement has been filed as to
24
              such security, or while the registration statement is the subject of a
              refusal order or stop order or (prior to the effective date of
25            the registration statement) any public proceeding or examination
26            under section 77h of this title.

27
      137.    From in or about July 2019 through in or about June 2020, Defendants Shumake,
28
      Jackson and 420 Real Estate, directly or indirectly, as to securities of Defendant 420
      Real Estate: (a) made use of the means or instruments of                              transportation or


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 1    communication in interstate commerce or of the mails to sell securities through the use
 2    or medium of a prospectus or otherwise; or carried securities or caused such securities
 3    to be carried through the mails or in interstate commerce, by means or instruments of
 4
      transportation, for the purpose of sale or delivery after sale; and (b) made use of the
 5
      means or instruments of transportation or communication in interstate commerce or of
 6
      the mails to offer to sell or to offer to buy, through the use or medium of any prospectus
 7
      or otherwise, securities without a registration statement having been filed with the SEC
 8
      or being in effect as to such securities.
 9
      138.    No registration statements were filed with the SEC or were in effect
10
      in connection with offers or sales of securities of Defendant 420 Real Estate
11
      by Defendants Shumake, Jackson or 420 Real Estate, and no exemption from
12
      the registration requirements applied to the sales by Defendant Shumake, Jackson,
13
      and 420 Real Estate.
14

15
                                        FIFTH CAUSE OF ACTION
16
                                      Aiding and Abetting Violations of
17
                                      Section 17(a) of the Securities Act
18
                                             [15 U.S.C. § 77q(a)]
19
                                                 (Shumake)
20

21
      139.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs

22    as if fully set forth herein.

23    140.    As described above, Defendants Jackson and Birch, in the offer and           sale of

24    securities, respectfully, of 420 Real Estate and Transatlantic Real Estate, by the use of

25    the means and instruments of transportation or communication in interstate commerce

26    or by use of the mails, directly or indirectly, have employed          devices, schemes and
27    artifices to defraud; obtained money and property by means of untrue statements of
28    material facts and omissions to state material facts          necessary in order to make the
      statements made, in light of the circumstances           under which they were made, not
      misleading; and engaged in transactions,          practices, and courses of business which


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 1    operated or would operate as a fraud or deceit upon the purchasers of such securities.
 2    141.     By engaging in the conduct described, Defendants Jackson and Birch violated
 3    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].             Defendant Shumake
 4
      knowingly and/or recklessly provided substantial assistance to Defendants Jackson and
 5
      Birch.
 6
      142.     By reason of the foregoing, Defendant Shumake aided and abetted the violations
 7
      of Section 17(a) of the Securities Act, by Defendants Jackson and Birch and, pursuant to
 8
      Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)], Defendant Shumake is liable to
 9
      the same extent as Defendants Jackson and Birch for their violations of Section 17(a) of
10
      the Securities Act.
11
                        15 U.S. Code § 77q - Fraudulent interstate transactions
12                      (a)Use of interstate commerce for purpose of fraud or
13             deceit: It shall be unlawful for any person in the offer or sale of
               any securities (including security-based swaps) or any security-
14
               based swap agreement (as defined in section 78c(a)(78) [1] of this
15             title) by the use of any means or instruments of transportation or
               communication in interstate commerce or by use of the mails,
16
               directly or indirectly—
17                      (1)to employ any device, scheme, or artifice to defraud, or
18
                        (2)to obtain money or property by means of any untrue
               statement of a material fact or any omission to state a material fact
19             necessary in order to make the statements made, in light of the
20             circumstances under which they were made, not misleading; or
                        (3)to engage in any transaction, practice, or course of
21             business which operates or would operate as a fraud or deceit
22             upon the purchaser. (Emphasis Supplied)
23

24                                   SIXTH CAUSE OF ACTION
25                                Aiding and Abetting Violations of
26                                Section 10(b) of the Exchange Act
27                                  and Exchange Act Rule 10b-5
28                          [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
                                              (Shumake)
      143.     Plaintiffs reallege and incorporates herein by reference all preceding paragraphs

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 1    as if fully set forth herein.
 2    144.    By engaging in the conduct described, Defendants Jackson and Birch violated
 3    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17
 4
      C.F.R. 240.10b-5].
 5
                      15 U.S. Code § 78j - Manipulative and deceptive devices
 6                    (b)
                      To use or employ, in connection with the purchase or sale of
 7
              any security registered on a national securities exchange or
 8            any security not so registered, or any securities-
 9
              based swap agreement [1] any manipulative or deceptive device or
              contrivance in contravention of such rules and regulations as
10            the Commission may prescribe as necessary or appropriate in the public
11            interest or for the protection of investors. (Emphasis Supplied)

12
                      17 CFR § 240.10b-5 - Employment of manipulative and deceptive
13            devices: It shall be unlawful for any person, directly or indirectly, by the
              use of any means or instrumentality of interstate commerce, or of the
14
              mails or of any facility of any national securities exchange,
15                    (a) To employ any device, scheme, or artifice to defraud,
                      (b) To make any untrue statement of a material fact or to omit to
16
              state a material fact necessary in order to make the statements made, in
17            the light of the circumstances under which they were made, not
18            misleading, or
                      (c) To engage in any act, practice, or course of business which
19            operates or would operate as a fraud or deceit upon any person,
20                    in connection with the purchase or sale of any security.

21
      145.    As described above, Defendants Jackson and Birch in connection with            the
22
      purchase and sale of securities, respectfully, of 420 Real Estate and Transatlantic Real
23
      Estate, by the use of the means and instrumentalities of interstate commerce and by the
24
      use of the mails, directly and indirectly, employed devices, schemes and artifices to
25

26
      defraud; made untrue statements of material fact and omitted to state material facts

27
      necessary in order to make the statements made, in the light of the circumstances under

28    which they were made, not misleading; and engaged in acts, practices and courses of
      business which operated or would have operated as a fraud and deceit upon purchasers
      and sellers and prospective purchasers and sellers of securities.


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 1    146.    Defendant Shumake knowingly and/or recklessly provided substantial assistance
 2    to Defendants Jackson and Birch.
 3    147.    By reason of the foregoing, Defendant Shumake aided and abetted the violations
 4
      of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder by Defendants Jackson
 5
      and Birch and, pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)],
 6
      Defendant Shumake is liable to the same extent as Defendants Jackson and Birch for
 7
      their violations of Sections 10(b) of the Exchange Act and Rule 10b-5 thereunder.
 8

 9
                                      SEVENTH CAUSE OF ACTION
10
                                      Aiding and Abetting Violations of
11
                               Sections 5(a) and (c) of the Securities Act
12
                                        [15 U.S.C. §§ 77e(a) and (c)]
13
                                                 (Shumake)
14
      148.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
15
      as if fully set forth herein.
16
      149.    By engaging in the conduct described, Defendants Jackson and Birch violated
17
      Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)].
18
                      15 U.S. Code § 77e - Prohibitions relating to interstate commerce
19
              and the mails:
20            (a)Sale or delivery after sale of unregistered securities Unless
21            a registration statement is in effect as to a security, it shall be unlawful
              for any person, directly or indirectly—
22

23            -xxx-

24
               (c)Necessity of filing registration statement
25            It shall be unlawful for any person, directly or indirectly, to make use of
              any means or instruments of transportation or communication
26
              in interstate commerce or of the mails to offer to sell or offer to buy
27            through the use or medium of any prospectus or otherwise
28
              any security, unless a registration statement has been filed as to
              such security, or while the registration statement is the subject of a
              refusal order or stop order or (prior to the effective date of
              the registration statement) any public proceeding or examination
              under section 77h of this title. (Emphasis Supplied)

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 1

 2    150.    As described, Defendants Jackson and Birch offered and sold securities of,
 3    respectfully, 420 Real Estate and Transatlantic Real Estate, when no registration
 4
      statements were filed with the SEC or were in effect in connection with offers or sales of
 5
      securities of either issuer, and no exemption from the registration requirements applied
 6
      to Defendants’ sales.
 7

 8
      151.    Defendant Shumake knowingly and/or recklessly provided substantial assistance
 9
      to the unregistered offers and sales by Defendants Jackson and Birch. 135. By reason of
10
      the foregoing, Defendant Shumake aided and abetted the violations of Section 5(a) and
11
      5(c) of the Securities Act, by Defendants Jackson and Birch and, pursuant to Section
12
      15(b) of the Securities Act [15 U.S.C. § 77o(b)], Defendant Shumake is liable to the
13
      same extent as Defendants Jackson and Birch for their violations of Sections 5(a) and (c)
14
      of the Securities Act.
15

16
                                      EIGHTH CAUSE OF ACTION
17
                       Violations of Section 4A(a)(5) of the Securities Act and
18
                                       Rules 301(c)(2) Thereunder
19
                 [15 U.S.C. § 77d–1(a)(5) and 17 C.F.R. 17 C.F.R. § 227.301(c)(2)]
20

21
                                        (Petrescu and TruCrowd)

22    152.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs

23    as if fully set forth herein.

24    153.    In connection with the Transatlantic Real Estate and 420 Real

25    Estate crowdfunding offerings, Defendant TruCrowd was an intermediary, and

26    Petrescu was an associated person of an intermediary, for purposes of Section 4A of
27    the Securities Act [15 U.S.C. § 77d–1] and Rules 300(c)(1) and 300(c)(3) thereunder [17
28    C.F.R. §§ 227.300(c)(1) and 227.300(c)(3)].




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 1           17 CFR § 227.300 - Intermediaries.
 2           (c) Definitions. For purposes of this part:
 3           (1) Associated person of a funding portal or person associated with a
 4           funding portal means any partner, officer, director or manager of a
             funding portal (or any person occupying a similar status or performing
 5
             similar functions), any person directly or indirectly controlling or
 6           controlled by such funding portal, or any employee of a funding portal,
             except that any person associated with a funding portal whose functions
 7
             are solely clerical or ministerial shall not be included in the meaning of
 8           such term for purposes of section 15(b) of the Exchange Act (15 U.S.C.
 9           78o(b)) (other than paragraphs (4) and (6) of section 15(b) of the
             Exchange Act).
10
             -xxx-
11
             (3) Intermediary means a broker registered under section 15(b) of
12
             the Exchange Act (15 U.S.C. 78o(b)) or a funding portal registered
13           under § 227.400 and includes, where relevant, an associated person of
             the registered broker or registered funding portal.
14

15

16
      154.   As described above, Defendants Petrescu and TruCrowd allowed Defendants

17
      access to TruCrowd’s crowdfunding platform in connection with the Transatlantic Real

18    Estate and 420 Real Estate crowdfunding offerings.

19    155.   As described in Paragraphs 75 through 104, above, Defendants Petrescu and

20    TruCrowd (1) had a reasonable basis for believing that the Transatlantic Real Estate and

21    420 Real Estate crowdfunding offerings presented the potential for fraud and otherwise

22    raised concerns about investor protection; (2)       reasonably believed, or should have
23    reasonably believed, that they were unable to adequately or effectively assess the risk of
24    fraud associated with the Transatlantic Real Estate and 420 Real Estate crowdfunding
25    offerings; and (3) became aware of information, after they had granted access to the
26    TruCrowd crowdfunding platform for the Transatlantic Real Estate and 420 Real Estate
27    crowdfunding offerings, that caused them to reasonably believe, or in the exercise of
28    reasonable care should have caused them to reasonably believe, that the Transatlantic
      Real Estate and 420    Real Estate crowdfunding offerings presented the potential for
      fraud and otherwise raised concerns about investor protection.

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 1    156.    As described above, Defendants Petrescu and TruCrowd failed to deny access to
 2    TruCrowd’s crowdfunding platform and failed to promptly remove the Transatlantic
 3    Real Estate and 420 Real Estate offerings from TruCrowd’s crowdfunding platform,
 4
      cancel the offerings, and return and direct the return of any funds that had been
 5
      committed by investors in the offerings.
 6
      157.    By reason of the foregoing, Defendants TruCrowd and Petrescu have violated,
 7
      and unless restrained and enjoined are reasonably likely to continue to violate, Section
 8
      4A(a)(5) of the Securities Act [15 U.S.C. § 77d–1(a)(5)] and Rule 301(c)(2) thereunder
 9
      [17 C.F.R. § 227.301(c)(2)].
10

11
                                 NINTH CAUSE OF ACTION
12
                                      (Breach of Contract)
13

14
      158.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
15

16    as if fully set forth herein.
17
      159.     In the esteemed jurisdiction of California and under federal law, the integrity
18
      and sanctity of contractual obligations are held in paramount regard. The foundation of
19
      our legal system is predicated upon the principle that agreements, once entered into,
20
      should be upheld with the utmost fidelity. Given the circumstances surrounding the
21
      defendant's actions, a comprehensive examination and subsequent allegation for breach
22
      of contract is both warranted and compelling.
23
      160.    It is evident that an implicit contract was established between the defendant and
24
      the retail investors. By virtue of the defendant's actions in conducting a crowdfunding
25
      offering through Transatlantic Real Estate, a nexus of trust and reliance was formed.
26
      This trust, although potentially implied, underscored an understanding that the raised
27
      funds would be utilized for the disclosed purposes and in alignment with the
28
      representations made to the investors.
      161.    The crux of the breach lies in the defendant's egregious diversion of investor


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 1    funds for personal enrichment. Instead of honoring the implicit or explicit terms of the
 2    agreement – which presumably obligated the defendant to utilize the raised $1,020,100
 3    for the stated purposes – the defendant chose a path marred by deception and self-
 4
      interest. Such a blatant deviation from the agreed-upon terms unequivocally signifies a
 5
      breach of the contractual obligations owed to the investors.
 6
      162.    The repercussions of the defendant's breach are multifaceted. Beyond the direct
 7
      financial ramifications of the misappropriated funds, the investors have suffered
 8
      reputational harm, emotional distress, and potential legal consequences due to their
 9
      unwitting association with the defendant's fraudulent scheme. The gravity of these
10
      damages cannot be understated, and they stand as a testament to the profound impact of
11
      the defendant's contractual transgressions.
12
      163.    Further exacerbating the breach are the defendant's glaring omissions and
13
      oversights. The failure to address critical red flags, notably Shumake's criminal history
14
      and questionable involvement in the crowdfunding offerings, reveals a wanton disregard
15
      for the safety, rights, and interests of the investors. Such negligence not only amplifies
16
      the breach but also underscores a pattern of deceit and negligence, warranting
17
      heightened scrutiny and accountability.
18
      164.    In conclusion, under the esteemed tenets of California law and federal law, the
19
      defendant's actions, characterized by deception, misappropriation, and negligence,
20

21
      unequivocally culminate in a compelling cause of action for breach of contract. The

22    investors, having placed their trust and resources in the defendant's hands, deserve not

23    only restitution but also the affirmation that such egregious breaches of trust will be met

24    with the full force of the law.

25

26                               TENTH CAUSE OF ACTION
27                              (Fraudulent Misrepresentation)
28    165.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs

      as if fully set forth herein.



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 1    166.   In the esteemed jurisdiction of California and in federal courts, the pillars of
 2    justice and honesty are integral to our legal framework. The principle that individuals
 3    and entities should not be deceived or misled in matters of significant consequence is a
 4
      cornerstone of our legal edifice. Given the events surrounding the defendant's actions, an
 5
      in-depth analysis and subsequent assertion for fraudulent misrepresentation under both
 6
      California and federal law are not only warranted but are also imperative to uphold the
 7
      integrity of our legal system.
 8
      167.   The defendant, in orchestrating a crowdfunding offering through Transatlantic
 9
      Real Estate, implicitly or explicitly conveyed representations to the retail investors
10
      regarding the utilization of the raised funds. These representations, given their
11
      significance, can be deemed material to the investment decision-making process of the
12
      investors.
13
      168.   It is evident that the defendant, at the time of making these representations, was
14
      aware of their falsity. The diversion of investor funds for personal gain, instead of the
15
      purported purposes, starkly contradicts the assurances and promises made to the
16
      investors. This deliberate act of deception underscores the defendant's conscious
17
      awareness of the misinformation being disseminated.
18
      169.   The very act of conducting an unregistered and fraudulent crowdfunding
19
      offering, coupled with the conscious decision to divert funds, reflects an intent on the
20

21
      defendant's part to deceive the investors. By doing so, the defendant aimed to induce the

22    investors into parting with their funds under false pretenses, thereby gaining an undue

23    advantage.

24    170.   The investors, relying on the defendant's misrepresentations, entrusted their

25    resources, amounting to $1,020,100, with the belief that their investments would be

26    utilized as disclosed. This reliance, stemming from the defendant's deceptive practices,
27    led to tangible and intangible harm, including financial losses, reputational damage, and
28    emotional distress.
      171.   The defendant's failure to address glaring red flags, especially concerning
      Shumake's criminal history and dubious involvement, further underscores the fraudulent


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 1    nature of the misrepresentations. Such omissions not only facilitated the deception but
 2    also exacerbated the risks and vulnerabilities faced by the unsuspecting investors.
 3    172.    In summation, under the venerable principles of both federal and California law,
 4
      the defendant's actions, marked by deceit, intentional misrepresentations, and a
 5
      conscious effort to defraud investors, unequivocally culminate in a robust cause of
 6
      action for fraudulent misrepresentation. The investors, having been ensnared in a web of
 7
      deceit, deserve not only recompense but also the assurance that such malicious and
 8
      fraudulent conduct will be met with the full brunt of legal scrutiny and accountability.
 9

10
                                  ELEVENTH CAUSE OF ACTION
11
                                      (Breach of Fiduciary Duty)
12
      173.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
13

14    as if fully set forth herein.

15
      174.     In both federal and California jurisdictions, the fiduciary relationship stands as a
16
      testament to the highest standard of trust, confidence, and loyalty between parties. Such
17
      relationships are founded on an implicit understanding that one party (the fiduciary) will
18
      act in the best interests of another party (the beneficiary), prioritizing their interests
19
      above all else. When this sacrosanct duty is breached, the ramifications are profound,
20
      warranting rigorous legal scrutiny and intervention. Given the defendant's actions, an
21
      assertion for breach of fiduciary duty under federal and California law is not only
22
      justifiable but imperative to safeguard the principles of trust and integrity.
23
      175.    The defendant, in conducting the crowdfunding offering through Transatlantic
24
      Real Estate and subsequently raising $1,020,100 from retail investors, assumed a
25
      fiduciary role vis-à-vis the investors. This role inherently imposed upon the defendant an
26
      obligation to act with the utmost good faith, loyalty, and candor, placing the investors'
27
      interest’s paramount.
28
      176.    The gravamen of the breach lies in the defendant's diversion of investor funds for
      personal enrichment, in contravention of the purposes disclosed and the investors'


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 1    expectations. Such a deviation from the fiduciary's duty to act in the beneficiaries' best
 2    interests is not only a betrayal of trust but also a blatant disregard for the fiduciary
 3    obligations owed.
 4
      177.    The defendant's failure to address and act upon evident red flags, especially
 5
      pertaining to Shumake's criminal history and questionable involvement, underscores a
 6
      conscious disregard for the investors' well-being. A fiduciary, when confronted with
 7
      such critical information, is duty-bound to act prudently, transparently, and in a manner
 8
      that mitigates risks to the beneficiaries. The defendant's omissions and inactions signify
 9
      a grave dereliction of this duty.
10
      178.    The investors, entrusting their resources based on the defendant's fiduciary
11
      obligations, have suffered significant harm, both pecuniary and non-pecuniary. The
12
      misappropriation of funds, coupled with the heightened risks due to the defendant's
13
      negligence, has resulted in tangible financial losses, reputational damage, and emotional
14
      distress for the investors.
15
      179.    The defendant's overarching pattern of deception, marked by the fraudulent
16
      crowdfunding offering and the conscious decision to prioritize personal gains over
17
      fiduciary duties, accentuates the severity of the breach. Such calculated actions not only
18
      undermine the foundational principles of fiduciary relationships but also warrant
19
      enhanced judicial scrutiny and accountability.
20

21
      180.    In conclusion, under the venerable tenets of both federal and California law, the

22    defendant's actions, characterized by a profound breach of fiduciary duties, deception,

23    and neglect, unequivocally establish a robust cause of action for breach of fiduciary

24    duty. The investors, having reposed trust and confidence in the defendant's fiduciary

25    obligations, deserve not only restitution but also the reaffirmation that such egregious

26    breaches will be met with resolute legal consequences and accountability.
27

28




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 1                                    TWELFTH CAUSE OF ACTION
 2                                     (Unlawful Business Practice:)
 3    181.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
 4
      as if fully set forth herein.
 5

 6    182.    In the robust legal landscapes of both federal and California law, the integrity
 7    and fairness of business practices are held in the highest esteem. The government’s
 8    stringent regulations and jurisprudence are designed to protect consumers and investors
 9    alike from deceptive, unfair, and fraudulent business activities. Given the egregious
10    actions of the defendant, a cause of action for unlawful business practice under
11    California's Unfair Competition Law (UCL) is both warranted and pivotal to uphold the
12    state's commitment to ethical commerce and investor protection.
13    183.    The defendant's orchestration of a fraudulent and unregistered crowdfunding
14    offering through Transatlantic Real Estate lays the foundation for unlawful business
15
      practices. Such actions contravene established norms, regulations, and statutes
16
      governing securities offerings, thereby constituting a foundational violation of the UCL.
17
      184.    The defendant's misrepresentation and diversion of investor funds for personal
18
      use, juxtaposed against the purported purposes disclosed to investors, epitomize
19
      deceptive business practices. By intentionally misleading investors and breaching the
20
      implicit trust reposed in them, the defendant engaged in acts that are inherently unfair
21
      within the purview of the UCL.
22
      185.    Beyond overt acts of deception, the defendant's failure to address conspicuous
23
      red flags, notably Shumake's criminal history and dubious involvement, signifies a
24
      neglectful business approach that exposes investors to undue risks. Such omissions,
25
      when viewed in the broader context of the crowdfunding offering, underscore a pattern
26
      of negligent business practices that jeopardize consumer interests and violate the
27
      principles enshrined in the UCL.
28
      186.    The investors, as a direct consequence of the defendant's unlawful business
      practices, have suffered substantial harm. The misallocation of funds, combined with the


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 1    heightened risks emanating from the defendant's negligence, has precipitated financial
 2    losses, reputational harm, and emotional anguish for the aggrieved parties.
 3    187.    The defendant's calculated and deliberate actions, designed to prioritize personal
 4
      gains at the expense of investors' interests, accentuate the gravity of the unlawful
 5
      business practices. Such a blatant disregard for ethical norms and regulatory compliance
 6
      not only undermines the integrity of the financial markets but also warrants enhanced
 7
      judicial intervention and accountability.
 8
      188.    In summation, under the distinguished tenets of California's legal framework, the
 9
      defendant's actions, characterized by deceptive practices, neglect, and a brazen disregard
10
      for investor protection, unequivocally establish a compelling cause of action for
11
      unlawful business practices under the UCL. The investors, having been ensnared in a
12
      web of deceit and misconduct, merit not only restitution but also the assurance that
13
      California's commitment to ethical business conduct and consumer protection remains
14
      unwavering and resolute.
15

16
                                 THIRTEENTH CAUSE OF ACTION
17
                                             (Negligence)
18
      189.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
19

20    as if fully set forth herein.
21
      190.      In the intricate tapestry of California's legal framework, the principle of
22
      negligence serves as a beacon, illuminating the duties and responsibilities that
23
      individuals and entities owe to others. Grounded in the bedrock of reasonableness and
24
      prudence, negligence claims arise when one's actions, or lack thereof, fall below the
25
      established standard of care, resulting in harm or damage to another party. Given the
26
      detailed facts pertaining to the defendant's actions, a cause of action for negligence
27
      under California law is both evident and compelling.
28
      191.    The defendant, by virtue of initiating and overseeing the crowdfunding offering
      through Transatlantic Real Estate, assumed a duty of care to the retail investors. This


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 1    duty encompassed an obligation to act with reasonable care, diligence, and foresight,
 2    ensuring that the investors' interests and investments were safeguarded against
 3    foreseeable harm.
 4
      192.   The defendant's diversion of investor funds for personal use, in contravention of
 5
      the disclosed purposes, represents a clear breach of the duty of care owed to the
 6
      investors. Such misallocation and misappropriation of funds not only deviated from the
 7
      established standards of prudent financial management but also exposed the investors to
 8
      undue risks and vulnerabilities.
 9
      193.   The defendant's failure to address glaring red flags, including Shumake's
10
      criminal history and questionable involvement, underscores a lack of due diligence and
11
      oversight equating to a breach of the duty of the Defendants. This omission, when
12
      viewed in conjunction with the fraudulent nature of the crowdfunding offering,
13
      establishes a nexus between the defendant's actions (or omissions) and the resultant
14
      harm suffered by the investors. The harm, therefore, was foreseeable and directly
15
      attributable to the defendant's negligent conduct.
16
      194.   As a direct consequence of the defendant's negligence, the investors have
17
      incurred significant financial losses, reputational damage, and emotional distress. These
18
      damages, stemming from the defendant's failure to uphold the requisite standard of care,
19
      underscore the tangible and intangible repercussions of the defendant's actions.
20

21
      195.   The defendant's deliberate disregard for regulatory compliance, coupled with a

22    conscious choice to prioritize personal gains over the investors' interests, amplifies the

23    gravity of the negligence. Such calculated actions not only undermine the foundational

24    principles of trust and transparency but also warrant heightened judicial scrutiny and

25    accountability.

26    196.   In conclusion, under the tenets of both federal and California law, the defendant's
27    actions, characterized by a profound breach of the duty of care, foreseeable harm, and
28    resultant damages, unequivocally establish a robust cause of action for negligence. The
      investors, having entrusted their resources based on the defendant's duty-bound
      assurances, merit not only restitution but also the reaffirmation that such breaches of


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 1    trust will be met with resolute legal consequences and accountability.
 2

 3                              FOURTEENTH CAUSE OF ACTION
 4
                                            (Conversion)
 5
      197.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
 6
      as if fully set forth herein.
 7
      198.    In the jurisprudential realm of California, the tort of conversion serves as a
 8
      potent legal remedy, designed to address the wrongful deprivation of another's property
 9
      rights. Rooted in principles of equity and fairness, this cause of action seeks to redress
10
      situations where one party wrongfully exercises control over another's property, thereby
11
      depriving them of their rightful possession or use. Given the intricate details associated
12
      with the defendant's conduct, there emerges a compelling cause of action alleging
13
      conversion under California law.
14
      199.    The defendant's initiation of a crowdfunding offering through Transatlantic Real
15
      Estate resulted in the aggregation of funds amounting to $1,020,100 from retail
16
      investors. These funds, entrusted to the defendant, remained the rightful property of the
17
      investors, subject to the specific investment purposes disclosed.
18
      200.    The defendant's diversion of these investor funds for personal use, in
19
      contravention of the disclosed purposes and without the explicit consent of the investors,
20

21
      represents a wrongful exercise of control. By appropriating these funds for personal

22    enrichment, the defendant deprived the investors of their rightful possession and use of

23    their property.

24    201.    The essence of conversion lies in the wrongful deprivation of another's property

25    rights. In this instance, the defendant's actions resulted in a tangible and unjust

26    deprivation for the investors, who, in the absence of the defendant's wrongful conduct,
27    would have retained full control and use of their funds in line with the disclosed
28    investment objectives.
      202.    As a direct consequence of the defendant's conversion, the investors have
      suffered quantifiable damages, including the loss of their investment and any potential


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 1    returns or benefits that would have accrued from a legitimate use of the funds. The
 2    defendant's wrongful actions, which disrupted the investors' property rights, resulted in
 3    tangible financial harm, underscoring the gravity of the conversion.
 4
      203.    The defendant's calculated scheme, marked by deliberate misappropriation of
 5
      investor funds, intentional non-disclosures, and a flagrant disregard for property rights,
 6
      accentuates the severity of the alleged conversion. Such egregious conduct not only
 7
      underscores the wrongful nature of the defendant's actions but also warrants heightened
 8
      judicial intervention and redress.
 9
      204.    In conclusion, under California's venerable legal traditions, the defendant's
10
      actions, characterized by the wrongful exercise of control over investor funds,
11
      deprivation of property rights, and tangible financial harm, unequivocally establish a
12
      robust cause of action for conversion. The aggrieved investors, having been unjustly
13
      deprived of their rightful property, merit not only restitution but also the assurance that
14
      California's commitment to upholding property rights and ensuring justice remains
15
      unwavering and resolute.
16

17
                                  FIFTEENTH CAUSE OF ACTION
18
                                 (Civil Conspiracy to Commit Fraud)
19

20

21
      205.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs

22    as if fully set forth herein.

23    206.    In the esteemed legal corridors of California, the tort of civil conspiracy stands as

24    a testament to the recognition that wrongful collaborations can often amplify harm,

25    warranting collective liability. The essence of civil conspiracy lies in the collaborative

26    agreement between two or more parties to commit an unlawful act or to achieve a lawful
27    end through unlawful means, resulting in damages to another party. Given the intricacies
28    surrounding the defendant's conduct, there emerges a compelling cause of action
      alleging civil conspiracy under California law.
      207.    The crux of civil conspiracy hinges upon the existence of an agreement between


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 1    two or more parties to undertake an unlawful act. In this scenario, the defendant's
 2    orchestration of a fraudulent and unregistered crowdfunding offering through
 3    Transatlantic Real Estate suggests a premeditated plan. Such conduct, when viewed in
 4
      conjunction with the subsequent diversion of investor funds for personal gain, hints at a
 5
      concerted effort, whether explicit or implicit, to commit wrongful acts.
 6
      208.   The defendant's actions, encompassing the fraudulent offering and the
 7
      subsequent misappropriation of investor funds, signify an unlawful objective. The
 8
      collaboration, manifesting in the pooling of funds and their subsequent diversion,
 9
      showcases a shared intent to deceive investors and unjustly enrich the defendant,
10
      constituting the unlawful end sought through the alleged conspiracy.
11
      209.   Civil conspiracy not only demands an agreement but also necessitates overt acts
12
      in furtherance of the conspiracy. The defendant's actions, from the initiation of the
13
      crowdfunding offering to the subsequent misuse of funds, represent tangible
14
      manifestations of the alleged conspiracy. Furthermore, the defendant's failure to address
15
      red flags and mitigate risks, especially concerning Shumake's involvement, underscores
16
      a collective neglect and shared responsibility in perpetuating the alleged wrongdoing.
17
      210.   As a direct consequence of the alleged conspiracy, the investors have suffered
18
      significant damages, both financially and reputational. The collaborative efforts of the
19
      defendant, marked by deceit, diversion, and neglect, have precipitated tangible harm,
20

21
      emphasizing the collective responsibility inherent in civil conspiracy.

22    211.   The defendant's calculated and collaborative scheme, characterized by

23    intentional non-compliance, misappropriation of funds, and a collective neglect of

24    investor interests, accentuates the gravity of the alleged civil conspiracy. Such concerted

25    efforts not only magnify the harm inflicted but also underscore the need for stringent

26    legal redressed and accountability.
27    212.   In conclusion, under California's esteemed legal traditions, the defendant's
28    alleged collaboration, marked by shared intent, overt acts, and resulting harm,
      unequivocally establishes a robust cause of action for civil conspiracy. The aggrieved
      investors, having been ensnared in a web of collaborative deceit and misconduct, merit


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 1    not only restitution but also the assurance that California's commitment to upholding
 2    justice and accountability remains unwavering and resolute.
 3

 4
                                  SIXTEENTH CAUSE OF ACTION
 5
                                (Constructive Trust or Equitable Lien)
 6
      213.    Plaintiffs reallege and incorporates herein by reference all preceding paragraphs
 7
      as if fully set forth herein.
 8
      214.    Within the sophisticated and equitable framework of California jurisprudence,
 9
      the doctrines of constructive trust and equitable lien serve as indispensable tools,
10
      ensuring that wrongdoers do not unjustly benefit from their malfeasance at the expense
11
      of others. These equitable remedies aim to prevent unjust enrichment and to secure
12
      restitution for those who have been wronged. Given the intricate facts surrounding the
13
      defendant's actions, there emerges a compelling cause of action alleging the imposition
14
      of a constructive trust or equitable lien under California law.
15
      215.    At the heart of the matter lies the defendant's diversion of investor funds for
16
      personal gain, contrary to the disclosed purposes and the expectations of the investors.
17
      Such actions have resulted in the defendant's unjust enrichment, as they have retained
18
      and utilized funds that rightfully belong to the investors, without valid justification.
19
      216.    The defendant's role in conducting the crowdfunding offering imbued them with
20

21
      fiduciary responsibilities towards the investors. By misappropriating funds and failing to

22    act in the investors' best interests, the defendant breached their fiduciary duties, further

23    underscoring the need for equitable intervention.

24    217.    The raised amount of $1,020,100 from retail investors can be distinctly traced to

25    the defendant's actions and subsequent misappropriation. This traceability provides a

26    clear nexus between the diverted funds and the defendant's wrongful conduct,
27    strengthening the basis for the imposition of an equitable remedy.
28    218.    The imposition of a constructive trust or equitable lien seeks to preserve assets
      that have been wrongfully obtained or retained. In this instance, imposing such a remedy
      would ensure that the defendant does not dissipate or unjustly benefit from the


                         SECOND AMENDED CLASS ACTION COMPLAINT
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 1         misappropriated funds, safeguarding the interests of the aggrieved investors.
 2         219.    The defendant's calculated scheme, marked by intentional non-disclosures,
 3         diversion of funds, and neglect of investor interests, accentuates the gravity of the
 4
           situation. Such egregious conduct not only warrants restitution but also underscores the
 5
           imperative of an equitable remedy to rectify the wrongful enrichment and to ensure
 6
           justice prevails.
 7
           220.    In conclusion, under California's esteemed legal traditions, the defendant's
 8
           actions, characterized by unjust enrichment, breach of fiduciary duties, and intentional
 9
           misappropriation, unequivocally establish a compelling cause of action for the
10
           imposition of a constructive trust or equitable lien. The aggrieved investors, having been
11
           unjustly deprived of their rightful assets, merit not only restitution but also the
12
           reaffirmation that both California and The United States maintain a commitment to
13
           equity, justice, and the protection of rights remains unyielding and steadfast.
14

15
                                           PRAYER FOR RELIEF
16
           WHEREFORE, Plaintiff, individually and on behalf of all others similarly-situated,
17
     respectfully requests that the Court enter judgement in its favor and against Defendant and
18
     award the following relief:
19
           1.      Requests that this Court:    Permanently enjoin Defendants Shumake, Jackson,
20

21
           Birch, and 420 Real Estate, their officers, agents, servants, employees, attorneys and

22         those persons in active concert or participation with Defendants who receive actual

23         notice of the order of this Court, by personal service or otherwise, and each of them

24         from, directly or indirectly, engaging in the transactions, acts, practices or courses of

25         business described above, or in conduct of similar purport and object, in violation of

26         Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)]; Section 10(b) of the Exchange
27         Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 CFR § 240.10b 5]; and Section
28         5 of the Securities Act [15 U.S.C. § 77e];
           2.      Permanently enjoin Defendants Petrescu and TruCrowd, their officers, agents,
           servants, employees, attorneys and those persons in active concert or participation with


                               SECOND AMENDED CLASS ACTION COMPLAINT
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 1    Defendants who receive actual notice of the order of this Court, by personal service or
 2    otherwise, and each of them from, directly or indirectly, engaging in the transactions,
 3    acts, practices or courses of business described above, or in conduct of similar purport
 4
      and object, in violation of Section 4A of the Securities Act [15 U.S.C. § 77d–1] and
 5
      Rules 300(c)(1) and 300(c)(3) thereunder [17 C.F.R. §§ 227.300(c)(1) and 227.300(c)
 6
      (3)];
 7
      3.      Ordering Defendants to disgorge all ill-gotten gains and/or unjust enrichment
 8
      received directly or indirectly, with pre-judgment interest thereon, as a result of the
 9
      alleged violations, pursuant to Exchange Act Sections 21(d)(5) and 21(d)(7) [15 U.S.C.
10
      §§ 78u(d)(5) and 78u(d)(7)];
11
      4.      Order Defendants to pay civil penalties pursuant to Section 20(d) of
12
      the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act
13
      [15 U.S.C. § 78u(d)(3)];
14
      5.      Enter an Order, pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. §
15
      78u(d)(2)] permanently prohibiting Defendants Shumake, Jackson, and Birch from
16
      serving as an officer or director of any issuer that has a class of securities registered
17
      pursuant to Section 12 [15 U.S.C. § 78l] of the Exchange Act or that is required to file
18
      reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)];
19
      6.      Actual damages for economic and non-economic harm in an amount to be
20

21
      determined at trial;

22    7.      Statutory damages in an amount to be determined at trial;

23    8.      Equitable relief in the form of monetary damages, restitution, and disgorgement;

24    9.      Pre-judgement interest;

25    10.     Post-judgment interest;

26    11.     Reasonable attorneys’ fees and costs of suit incurred by their attorneys, in
27    recognition of the spirit of the consumer protection statutes at issue, which encourage
28    holding businesses to account for unfair business practices;
      12.     Treble damages allowable under applicable laws;
      13.     Punitive damages allowable under applicable laws;


                        SECOND AMENDED CLASS ACTION COMPLAINT
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 1           14.        Exemplary damages allowable under applicable laws; and
 2           15.        Grant any other relief this Court deems appropriate.
 3

 4
                                                    JURY DEMAND
 5
     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands that this case be
 6
     tried to a jury.
 7

 8
             Dated: December 23, 2023
 9

10
                                                             Respectfully Submitted,
11



                                                             Anthony Bell
12

13

14                                                           ANTHONY BELL (Bar No. 349401)
                                                             Superheroes At Law, P.C.
15
                                                             info@superheroesatlaw.com
16                                                           8383 Wilshire Blvd, Suite 935
17
                                                             Beverly Hills, California 90211
                                                             855-694-3762
18                                                           Attorney for Plaintiff
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                         “EXHIBIT 1”
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
                                                  Case No. 21-cv-12193
                      Plaintiff,                  Hon.

                      v.
                                                   JURY TRIAL DEMANDED
ROBERT SAMUEL SHUMAKE, JR.,
WILLARD L. JACKSON,
NICOLE T. BIRCH,
420 REAL ESTATE, LLC,
VICENT PETRESCU
aka VINCENT PETRESCU, and
TRUCROWD, INC. dba FUNDANNA,

               Defendants.
_____________________________________/

                                   COMPLAINT

      Plaintiff, the United States Securities and Exchange Commission (“SEC”),

alleges as follows:

                               SUMMARY OF ACTION

      1.     The SEC brings this action to remedy two fraudulent crowdfunding

offerings conducted by Defendants Robert Samuel Shumake. Jr. (“Shumake”),

Willard L. Jackson (“Jackson”), and Nicole T. Birch (“Birch).




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      2.     The issuers of the securities that were fraudulently sold to members of

the public were Defendant 420 Real Estate, LLC (“420 Real Estate”) and a now

defunct company named Transatlantic Real Estate, LLC (“Transatlantic Real

Estate”).

      3.     Transatlantic Real Estate and 420 Real Estate raised funds through

offerings on a crowdfunding platform hosted by Defendant TruCrowd, Inc.

(“TruCrowd”). TruCrowd’s CEO, Defendant Vicent Petrescu, aka Vincent

Petrescu (“Petrescu”), was responsible for selecting which issuers could use

TruCrowd’s platform to conduct crowdfunding offerings. Under the SEC’s

crowdfunding regulations, Petrescu and TruCrowd served as gatekeepers and, as

such, were responsible for taking measures to reduce the risk of fraud.

      4.     Shumake and Birch offered and sold securities of Transatlantic Real

Estate from September 2018 through May 2019. Shumake and Jackson offered

and sold securities of 420 Real Estate from May 2019 through June 2020.

      5.     Shumake was the driving force behind the both offerings, but he kept

his participation secret in order to hide a past criminal conviction arising from a

mortgage fraud scheme. Shumake convinced Birch to act as the chief executive

officer and sole member of Transatlantic Real Estate and convinced Jackson to act

in the same roles for 420 Real Estate.




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      6.     Shumake, along with Birch and Jackson, marketed both offerings as

opportunities for investors to share in bountiful profits from the cannabis industry,

by acquiring real estate and leasing it to companies engaged in the business of

growing cannabis.

      7.     Shumake, Birch, and Jackson made multiple false and misleading

representations and omissions to investors in connection with the crowdfunding

offerings. Among other things, they concealed Shumake’s past criminal history

and his leading role in both offerings. And to make matters worse, they diverted

hundreds of thousands of dollars from the offering proceeds for their personal

benefit. None of the money raised in either offering was used to acquire or

improve cannabis real estate. None of the investors in either crowdfunding

offering has received any return on their investment, and few investors have

recovered any of the funds they invested.

                         JURISDICTION AND VENUE

      8.     The Court has jurisdiction over this action pursuant to Sections 20(b)

and 22(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77t(b) and

77v(a)], and Sections 21(d) and 27(a) of the Securities Exchange Act of 1934

(“Exchange Act”) [15 U.S.C. §§78u(d) and 78aa(a)].

      9.     Venue is proper in this judicial district pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15


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U.S.C. § 78aa(a)], because many of the acts, transactions and courses of business

constituting the violations alleged in this Complaint occurred within the

jurisdiction of this district.

       10.    In connection with the conduct alleged in this Complaint, the

Defendants, directly and indirectly, have made use of the mails and/or means or

instrumentalities of transportation or communication in interstate commerce.

                                  DEFENDANTS

       11.    Robert S. Shumake, age 53, resides in Bloomfield Hills. In

December 2017, Shumake pled guilty to two misdemeanor violations of the

Michigan Credit Services Protection Act, and on behalf of his business, to two

felony counts of obtaining money by false pretense, for improperly taking upfront

fees for mortgage audit services that he promised, but failed to deliver (People v.

Shumake, et al., Mich. 46th Jud. Dist. (Feb. 15, 2017)). The presiding court

sentenced Shumake to a probationary period of 18 months, during which time

Shumake was forbidden to work in a position where he could have “direct control

over, or access to, another person’s money.” Shumake ignored the terms of his

probation sentence. Before his probation ended in May 2019, he conducted the

Transatlantic Real Estate offering with Birch and set in motion the 420 Real Estate

offering with Jackson. Shumake owns and controls Shumoja Media Group, LLC




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(“Shumoja”), a purported marketing services company, which received money in

connection with the crowdfunding offerings.

      12.    Willard L. Jackson, age 57, resides in Houston, Texas. Jackson

serves as the CEO and the sole director of 420 Real Estate. Jackson previously

served as a director of Bangi, Inc., described below. Jackson also held ownership

interests in WLJ Group, LLC and Ebony Media Holdings, LLC, (collectively, the

“Jackson Entities”). Jackson facilitated the payment of money from the 420 Real

Estate offering to the Jackson Entities.

      13.    Nicole T. Birch, age 46, resides in Gainesville, Georgia. Birch is a

licensed attorney in Georgia and has her own law practice, H.B. Associates P.C.

(“H.B. Associates”). Birch has served as CEO and sole director of both

Transatlantic Real Estate and Bangi, Inc. Birch facilitated the payment of money

from the Transatlantic Real Estate offering to herself and to H.B. Associates.

      14.    420 Real Estate, LLC is a Texas limited liability company formed in

April 2019 with its principal place of business in Houston, Texas. 420 Real Estate

purports to be a real estate company that specializes in the acquisition and leasing

of properties that support the hemp industry. 420 Real Estate is owned by Willard

Jackson. 420 Real Estate raised $888,180 through a crowdfunding offering

between May 2019 and June 2020 (“420 Real Estate offering”).




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      15.    TruCrowd, Inc. dba Fundanna is a Delaware corporation with its

principal place of business in Chicago, Illinois. TruCrowd is an SEC-registered

funding portal for crowdfunding offerings. TruCrowd hosted the crowdfunding

offerings for Transatlantic Real Estate and 420 Real Estate through its platform.

      16.    Vicent Petrescu, aka Vincent Petrescu, age 49, resides in

Algonquin, Illinois. Petrescu, a licensed CPA, is the founder and CEO of

TruCrowd. Petrescu granted Transatlantic Real Estate and 420 Real Estate access

to TruCrowd’s platform to conduct the crowdfunding offerings.

                              RELATED ENTITIES

      17.    Transatlantic Real Estate, LLC was a California limited liability

company formed in August 2018 with its principal place of business in Grosse

Pointe Farms. Transatlantic Real Estate purported to be a real estate company that

specialized in the acquisition and leasing of properties that support the medical

cannabis industry. Transatlantic Real Estate raised $1,020,100 through a

crowdfunding offering between September 2018 and May 2019 (“Transatlantic

Real Estate offering”). According to the offering statement for the Transatlantic

Real Estate offering, Birch was the one hundred percent owner, CEO, chairman,

and sole director of the company. On July 9, 2021, Transatlantic Real Estate filed

a Certificate of Cancellation with the California Secretary of State, which

terminated its status as a limited liability company.


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      18.      Bangi, Inc. (“Bangi”) is a Nevada corporation with its principal place

of business in Grosse Pointe Farms. Bangi is a publicly traded company that

purports to specialize in the acquisition and leasing of properties that support the

cannabis industry. Bangi’s common stock trades in the over-the-counter market

under the symbol “BNGI.” According to Bangi’s most recent SEC filing, Birch is

the CEO of Bangi.

                                        FACTS

    Shumake Explores Various Means to Raise Money through Securities

                                       Offerings

      19.      Following his guilty plea, but before the end of his probationary

period and the court order prohibiting him from having access to other people’s

money, Shumake began taking steps to raise money from the public to enter the

cannabis industries. Ultimately, he pursued crowdfunding offerings as a means to

raise funds.

      20.      Crowdfunding offerings are governed by the securities transaction

registration provisions of the Securities Act [17 U.S.C. §§ 77(a), et seq.] and

Regulation Crowdfunding thereunder [17 C.F.R. § 227.100, et seq.]. From 2018

through 2020—the years relevant to this Complaint—these crowdfunding

provisions allowed an unregistered offering of up to $1,070,000 through an

intermediary, in this case, a funding portal registered under Rule 400 of Regulation


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Crowdfunding. Issuers could offer and sell their securities through the

intermediary’s platform on the internet. Prior to the start of the crowdfunding

offering, the issuer was required to file with the SEC a “Form C,” and disclose

certain information about the issuer and the offering through the Form C and

offering statement. For instance, issuers relying on the crowdfunding registration

exemption were required to disclose, among other information, the names of all the

issuer’s officers, directors, and persons occupying a similar status or performing a

similar function; the purpose and intended use of the offering proceeds; related-

party transactions with the issuer’s officers and promoters that are, in the

aggregate, in excess of five percent of the aggregate capital that the issuer seeks to

raise; and any material information necessary in order to make the statements made

not misleading, in light of the circumstances under which they were made.

Regulation Crowdfunding also requires that the funding portal post the offering

statement for each issuer on its internet platform so that all prospective investors

have access to the same information relating to the issuer’s offering.

      21.    In September 2018, Shumake enlisted Birch, an attorney with whom

he was in a personal relationship, to form Transatlantic Real Estate, with Birch

holding the positions of CEO and sole member. Shumake also convinced Birch to

raise funds through a crowdfunding offering and to hide Shumake’s involvement.




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      22.    Transatlantic Real Estate’s mailing address was a UPS store in Grosse

Pointe Farms, near where Shumake lived, rather than in Georgia where Birch lived.

      23.    Shumake set up Bangi in November 2018, while he was working with

Birch to conduct the Transatlantic Real Estate crowdfunding offering. Bangi’s

address at the time was the same UPS store in Grosse Pointe Farms that

Transatlantic Real Estate used.

      24.    According to its website, Bangi “acquires specialized assets including

hemp and cannabis farms, dispensaries, commercial real estate, industrial real

estate, and leases real estate to the multi-billion dollar and growing cannabis

industry.”

      25.    Shumake regularly attended and participated in Bangi Board

meetings, gave direction to the company’s officers and directors, and conducted

business on behalf of Bangi. Board minutes identify Shumake as the founder of

Bangi. Bangi Directors and Shumake discussed his criminal history and its

potential impact on prospective investors. Despite his involvement in the affairs of

Bangi, Shumake elected not to serve as an officer or director of the company. Nor

was he listed on Bangi’s website.

      26.    Shumake explored the possibility of Bangi conducting an offering

under SEC Regulation A+ [17 C.F.R. § 230.251, et seq.], which permitted higher




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fundraising amounts than those allowed under Regulation Crowdfunding.

Ultimately, an offering for Bangi never occurred.

      27.    In April 2019, Shumake enlisted Jackson, a friend and Bangi director,

to form 420 Real Estate, with Jackson as the CEO and sole member. Shumake

convinced Jackson to utilize 420 Real Estate as a vehicle for raising funds through

a crowdfunding offering (the “420 Real Estate offering”). Shumake also

convinced Jackson to hide Shumake’s involvement in the 420 Real Estate offering.

      28.    Shumake discussed with Jackson his plans to use money raised

through the 420 Real Estate offering to fund Bangi.

      29.    Shumake’s name was not on any of the offering documents for

Transatlantic Real Estate or 420 Real Estate. Shumake, Jackson, and Birch all

knew that the disclosure of Shumake’s criminal past could hinder fundraising.

Therefore, they concealed Shumake’s involvement, and Birch and Jackson falsely

held themselves out as the sole persons with authority over the offerings.

   The Transatlantic Real Estate Offering and Misuse of Investor Proceeds

      30.    Shumake arranged for TruCrowd to serve as the crowdfunding portal

for the Transatlantic Real Estate offering.

      31.    Birch, with Petrescu’s assistance, wrote the Transatlantic Real Estate

Form C and offering statement. Birch and Petrescu kept Shumake informed about

the drafting process by copying him on substantive email discussions about the


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offering statement. Birch, Shumake, and Petrescu also each weighed in on the

steps necessary to kick off and promote the Transatlantic Real Estate offering to

investors.

       32.   Transatlantic Real Estate filed the Form C and offering statement with

the SEC on September 12, 2018. Birch signed the Form C as the company’s sole

officer.

       33.   The Form C and offering statement omitted any mention of

Shumake’s involvement in the company or the offering. Rather, to conceal

Shumake’s criminal record, his name did not appear on any of the documents

associated with the Transatlantic Real Estate offering. Birch falsely held herself

out as the sole person with authority over the company and the offering.

       34.   Shumake and Birch knew that disclosure of Shumake’s criminal past

could hinder fundraising.

       35.   According to the Transatlantic Real Estate offering statement, the

company was a diversified investment vehicle that acquired and leased specialized

real estate assets. Its strategy was to acquire industrial real estate that could be

used as medical cannabis cultivation facilities.

       36.   The Transatlantic Real Estate offering statement represented that the

company was offering a maximum of 10,700 convertible notes for $100 each, and

that each subscription consisted of a “15% convertible Note . . . that mature[d]


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eighteen months from the date of issuance, and, at [the] company’s option, [was]

convertible at a 10% discount into the public market.”

      37.   The Transatlantic Real Estate offering statement represented that,

after expenses, the company intended to use the offering proceeds as follows: (1)

$194,740 for marketing; (2) $97,370 for legal fees; (3) $584,220 for property

improvement; and (4) $97,370 in administrative fees.

      38.   The Transatlantic Real Estate offering statement contained several

materially false and misleading statements, including the following:

            a. Transatlantic Real Estate employed a senior management team that

                had significant experience in the real estate industry and

                sophisticated finance and capital markets expertise;

            b. Transatlantic Real Estate had contingently acquired a 9-plus acre

                property with 80,000 Square Foot Green Houses located in

                California; and

            c. Transatlantic Real Estate would use $584,220 of the proceeds for

                “property improvement.”

            d. Transatlantic Real Estate was not a party to any proposed

                transaction with an officer, director or promoter of which such

                party would receive in excess of 5% of the aggregate amount of

                capital Transatlantic Real Estate intended to raise in the offering.


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             e. Transatlantic Real Estate only had one individual who was the

                company’s officer, director, or “person occupying similar status or

                performing a similar function.”

      39.    All of these statements were false and misleading.

      40.    Transatlantic Real Estate never acquired any real estate and did not

use any of the offering proceeds to purchase or improve any property.

      41.    As for the management of Transatlantic Real Estate, Birch had no

experience in the real estate industry or sophisticated finance and capital markets

expertise and did not employ any individuals, let alone a “team” with such

experience on behalf of Transatlantic Real Estate.

      42.    The offering statement failed to disclose either Shumake’s criminal

record or that he would be actively involved in raising funds from investors and

managing the company.

      43.    Shumake co-managed Transatlantic Real Estate with Birch and was

extensively involved in the company’s strategic decisions. For instance, Shumake:

             a. directed communications with current and prospective investors;

             b. lined up a transfer agent for Transatlantic Real Estate;

             c. helped prepare documents and promote the offering;

             d. solicited Transatlantic Real Estate advertisements from third

                parties and drafted advertising scripts for social media; and


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             e. gave directions to Birch as to the disbursement of investor money

                from Transatlantic Real Estate’s bank account.

      44.    From September 2018 through May 2019, Transatlantic Real Estate

raised $1,020,100 from approximately 2,000 investors in multiple states through

TruCrowd’s platform. The convertible notes that Transatlantic Real Estate offered

and sold to the investing public through TruCrowd were securities.

      45.    Birch and Shumake diverted the investors’ money for purposes

unrelated to Transatlantic Real Estate, including hundreds of thousands of dollars

transferred to Birch and her entity, H.B. Associates, and to Shumake and his entity,

Shumoja.

      46.    Shumake and Birch diverted $358,311–or 35% of the total offering

proceeds—to Birch and her firm, H.B. Associates.

      47.    Shumake and Birch diverted $304,709—or 30% of the total offering

proceeds—to Shumake and his company, Shumoja.

      48.    The Transatlantic Real Estate offering statement disclosed the

possibility of related party transactions, but stated those transactions would be

“consistent with the duties of the management of the Company to its shareholders.”

      49.    Birch and Shumake did not use any investor funds to buy or improve

property.




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      50.    The Transatlantic Real Estate investors have not received any

monetary return on their investment.

        The 420 Real Estate Offering and Misuse of Investor Proceeds

      51.    Shumake arranged for TruCrowd to serve as the crowdfunding portal

for the 420 Real Estate offering and put Jackson in touch with Petrescu.

      52.    Jackson knew little about crowdfunding and relied on Shumake to

take the necessary steps for 420 Real Estate to conduct its crowdfunding offering.

Shumake told Jackson, a Bangi Director, about his plan to use the proceeds raised

from the 420 Real Estate offering to fund Bangi.

      53.    While Shumake was deeply involved in arranging the offering, he

persuaded Jackson to hide Shumake’s role with 420 Real Estate because of his

criminal history.

      54.    Petrescu and others participated in the drafting of the 420 Real Estate

Form C and offering statement. Petrescu and others kept Jackson and Shumake

informed about the drafting process by copying him on substantive email

discussions about the Form C and offering statement.

      55.    420 Real Estate filed its Form C and offering statement with the SEC

on May 7, 2019. Jackson signed the Form C as the company’s sole officer.

      56.    The 420 Real Estate Form C and offering statement omitted any

mention of Shumake’s involvement in the company of the offering. Rather, to


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conceal Shumake’s criminal record, his name did not appear on any of the

documents associated with the 420 Real Estate offering. Jackson falsely held

himself out as the sole person with authority over the company and the offering.

       57.    Shumake and Jackson knew that disclosure of Shumake’s criminal

past could hinder fundraising.

       58.    According to its offering statement, 420 Real Estate is a diversified

investment vehicle that acquires and leases specialized real estate assets. Its

strategy is to acquire industrial real estate that can be used as hemp cultivation

facilities.

       59.    The 420 Real Estate offering statement represented that the company

was offering a maximum of 10,700 convertible notes for $100 each, and that “each

subscription consists of a 15% Convertible Note that mature[d] eighteen months

from the date of issuance, and at the company’s option, [was] convertible at a 10%

discount into the public market.”

       60.    The 420 Real Estate offering statement represented that, after

expenses, 420 Real Estate intended to use investor proceeds as follows: (1)

$537,450 for marketing; (2) $97,370 for legal fees; (3) $278,960 for property; and

(4) $97,370 in administrative fees.

       61.    The 420 Real Estate offering statement did not mention Bangi or any

intent to use the offering proceeds for Bangi.


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      62.   Nearly identical to the Transatlantic Real Estate offering statement,

the 420 Real Estate offering statement contained several materially false and

misleading statements, including the following:

            a. 420 Real Estate’s employed a senior management team that has

                significant experience in all aspects of the real estate industry,

                including acquisitions, dispositions, leasing, development,

                management, and finance;

            b. 420 Real Estate would use $278,960 of the proceeds for “property

                improvement;”

            c. 420 Real Estate was not a party to any proposed transaction with

                an officer, director or promoter of which such party would receive

                in excess of 5% of the aggregate amount of capital 420 Real Estate

                intended to raise in the offering; and

            d. 420 Real Estate only had one individual who was the company’s

                officer, director, or “person occupying similar status or performing

                a similar function.”

      63.   All of these statements were false and misleading.

      64.   420 Real Estate never used any offering proceeds for “property

improvement.”




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      65.   420 Real Estate did not have a senior management team—only

Jackson and Shumake. Jackson had no experience in the real estate industry.

Shumake and Jackson concealed Shumake’s criminal record and the fact that

Shumake would be actively involved in raising funds from investors and managing

the company.

      66.   Money received from investors was deposited into an account

managed by TruCrowd’s escrow agent. Rather than transferring the offering

proceeds from the escrow agent directly to 420 Real Estate, Shumake arranged for

the funds to be transferred to an account managed by an attorney he knew. The

attorney was responsible for disbursing the funds and took directions individually

from Shumake and Jackson.

      67.   Shumake co-managed 420 Real Estate with Jackson and was

extensively involved in the company’s strategic decisions. For instance, Shumake:

            a. directed communications with current and prospective investors;

            b. helped prepare documents and promote the offering;

            c. solicited advertisements from third parties and drafted advertising

                scripts for social media; and

            d. gave directions to the attorney as to the disbursement of investor

                moneys.




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      68.    From May 2019 through June 2020, 420 Real Estate raised

approximately $888,180 from the sale of convertible notes to approximately 2,000

investors in multiple states through the TruCrowd platform. The convertible notes

that 420 Real Estate offered and sold to the investing public through TruCrowd

were securities.

      69.    Pursuant to an agreement, Jackson and Shumake had to give their

joint approval for all distributions of funds from the attorney. In fact, however,

Shumake and Jackson each individually directed the attorney to distribute the

funds without the approval of the other.

      70.    Jackson and Shumake diverted the investors’ money for purposes

unrelated to 420 Real Estate, including hundreds of thousands of dollars

transferred to Shumake, Shumoja, Jackson, and the Jackson Entities.

      71.    Shumake and Jackson diverted $280,608—or 32% of the total

offering proceeds—to Jackson and the Jackson Entities.

      72.    Shumake and Jackson diverted $114,029—or 13% of the total

offering proceeds—to Shumake, Shumoja, and Bangi.

      73.    Jackson and Shumake did not use any investor funds to buy or

improve property.

      74.    The 420 Real Estate investors have not received any monetary return

on their investment.


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 Petrescu and TruCrowd Allowed the Offerings to Proceed Despite Warning

                                  Signs of Fraud

      75.    Petrescu owned and, as TruCrowd’s owner and CEO, controlled the

activities of TruCrowd.

      76.    Petrescu, acting on behalf of TruCrowd, was responsible for selecting

which issuers and individuals could use TruCrowd’s platform to conduct

crowdfunding offerings.

      77.    Petrescu, acting on behalf of TruCrowd, engaged third party escrow

agents to hold investor funds.

      78.    In exchange for its services in connection with the Transatlantic Real

Estate and 420 Real Estate crowdfunding offerings, TruCrowd received $91,679

and $48,412, respectively.

      79.    Petrescu, acting on behalf of TruCrowd, assisted issuers and their

affiliated individuals with preparing and filing Forms C and offering statements.

      80.    Petrescu, acting on behalf of TruCrowd, permitted the Transatlantic

Real Estate and 420 Real Estate offerings to proceed despite multiple warning

signs of possible fraud or other harm to investors.

      81.    Petrescu, acting on behalf of TruCrowd, worked with both Shumake

and Birch to file the Transatlantic Real Estate Form C and offering statement.




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         82.    According to Petrescu, Birch told him that she was the sole officer of

Transatlantic Real Estate and that Shumake only provided marketing services.

However, Shumake routinely coordinated with Petrescu to address non-marketing

matters for the company, such as investor communications and lining up a transfer

agent.

         83.    Petrescu did not question why the Transatlantic Real Estate offering

statement omitted any mention of Shumake’s involvement with the company and

the offering.

         84.    In November 2018, two months after the Transatlantic Real Estate

offering opened, Birch forwarded an email to Petrescu from an individual who had

provided marketing services to Birch and Shumake in connection with the

Transatlantic Real Estate offering.

         85.    This individual’s email to Birch and Shumake complained that they

owed him money for services he had performed on the offering, stated that he had

referred Transatlantic Real Estate for collections, and warned them of the potential

impact of “SEC, Bad Actor Check.”

         86.    These emails required action by Petrescu, and through him, by

TruCrowd. Regulation Crowdfunding [17 C.F.R. §§227.301(c)] requires funding

portals and their associated persons to conduct a background and securities

enforcement regulatory history check (commonly referred to as a “bad actor”


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check) on each issuer and the issuer’s officers and directors (and any persons

performing a similar function) to determine if they are subject to disqualification

from participating in crowdfunding under Rule 503 of Regulation Crowdfunding,

and to remove an offering from their platform if they become aware of information

after they have granted access that causes them to reasonably believe that the issuer

or the offering presents the potential for fraud or otherwise raises concerns about

investor protection.

      87.    Even after receiving this email, Petrescu never requested a bad actor

check or ran a background check on Shumake. If Petrescu had done so, he would

have learned of Shumake’s criminal history.

      88.    A short time later, in December 2018, while the Transatlantic Real

Estate offering was still raising funds from investors, Petrescu referred Birch and

Shumake to an experienced securities attorney, to explore the possibility of a

Regulation A offering for Bangi.

      89.    The securities attorney emailed Petrescu on December 14, 2018, after

meeting with Shumake and Birch:




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      90.   The email linked to a 2017 news article, which discussed the criminal

charges filed by the Michigan Attorney General against Shumake and his business

Mortgage Auditors of America. A few hours later, Petrescu replied:




      91.   The 2017 news article read, in part, as follows:




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             a. “[Michigan Attorney General] Schuette says Shumake was behind

                a scheme to cheat people who were trying to save their homes from

                Foreclosure.”

             b. “The attorney general’s office investigated and recommended a

                warrant for Shumake’s arrest in 2015, but Robert Shumake was in

                Africa.”

             c. “After filing for personal bankruptcy to the tune of more than $3

                million, Shumake was busy posting on Facebook about his African

                humanitarian work and even turned up on the Tanzanian TV news

                as an American investor who ran a railroad.”

             d. “[L]ast year he was caught in California with $121,000 cash in his

                trunk and large sums of marijuana. He’s got an active arrest

                warrant in that case.”

      92.    Despite admitting that he needed “to search some more,” Petrescu did

not follow up on this red flag. Instead, Petrescu allowed the Transatlantic Real

Estate offering to continue on TruCrowd’s platform.

      93.    Then, in or about April 2019, Petrescu agreed to work with Shumake

again and to host the 420 Real Estate offering on TruCrowd’s portal.




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      94.    Petrescu however, did not request a bad actor check on Shumake or

otherwise investigate Shumake’s past before agreeing to host the 420 Real Estate

offering.

      95.    The 420 Real Estate offering statement was nearly identical to the

Transatlantic Real Estate offering statement.

      96.    Nevertheless, Petrescu did not question the representations in those

documents that Jackson was the issuer’s sole officer or the omission of any

mention of Shumake’s involvement with the issuer or the offering.

      97.    During and after both the Transatlantic Real Estate offering and the

420 Real Estate offering, Petrescu, and through him TruCrowd, received a series of

investor complaints about both the Transatlantic Real Estate and the 420 Real

Estate offerings. Investors asked whether the offerings were scams. They

complained to Petrescu that the issuers were not responding to inquiries. Some

investors complained that they had not received certificates for their investments.

Others asked for the refund of their investments. All these emails should have

raised questions for Petrescu whether the offerings presented the risk of fraud or

investor harm, especially in light of the email exchanges described above.

      98.    Petrescu’s responses to the investor emails was to assure investors that

the offerings were not scams, and to represent that he had run bad actor checks.




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      99.    Petrescu forwarded some of the investor complaints to Shumake,

Jackson, and Birch.

      100. On April 16, 2020, Jackson informed Petrescu that Shumake had

acted improperly. Jackson told Petrescu that it is “very disappointing to learn that

you took direction (without my knowledge) from Robert Shumake to redirect the

approval of funds process for 420 Real Estate crowdfund. He is not a party to my

agreement with you or [TruCrowd].” In a response on the same day copying

Petrescu, Shumake stated that the 420 Real Estate offering was designed to support

Bangi, Jackson’s business, Ebony, and the “263k used by me to seed the

operation.” Yet, this email did not prompt Petrescu to question why Bangi, Ebony,

and payments to Shumake were omitted from the 420 Real Estate Form C and

offering statement.

      101. On April 16, 2020, when Petrescu received Jackson’s email, more

than $20,000 of investor funds was being held in escrow. Over the next several

weeks, approximately $20,000 in additional investor money was invested and

received into the escrow account.

      102. On June 8, 2020, Birch told Petrescu that Shumake had allowed a

third party access to non-public information related to Transatlantic Real Estate

investors, and instructed Petrescu that, going forward, he should only take




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direction from Birch. Petrescu responded that, until recently, he understood

Shumake to be a representative of Transatlantic Real Estate and Birch’s agent.

      103. Despite these red flags, Petrescu permitted the 420 Real Estate

offering to proceed on the TruCrowd platform until it stopped accepting investors

in June 2020.

      104. Petrescu continued to work with Shumake after June 2020. He

emailed Shumake about investor complaints. He also networked with Shumake in

an effort to arrange a crowdfunding offering by at least one other issuer.

                                    COUNT I
                 Violations of Section 17(a) of the Securities Act
                               [15 U.S.C. § 77q(a)]
                 (Shumake, Jackson, Birch and 420 Real Estate)

      105. Paragraphs 1 through 104 are realleged and incorporated by reference

as though fully set forth herein.

      106. By engaging in the conduct described above, Defendants Shumake,

Jackson, Birch, and 420 Real Estate, in the offer and sale of securities, by the use

of the means and instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly, have employed devices,

schemes and artifices to defraud; obtained money and property by means of untrue

statements of material facts and omissions to state material facts necessary in order

to make the statements made, in light of the circumstances under which they were

made, not misleading; and engaged in transactions, practices, and courses of
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business which operated or would operate as a fraud or deceit upon the purchasers

of such securities.

      107. Defendants Shumake, Jackson, Birch, and 420 Real Estate acted

knowingly, recklessly, and/or negligently, in engaging in the conduct described

above.

      108. By engaging in the conduct described above, Defendants Shumake,

Jackson, Birch, and 420 Real Estate violated Section 17(a) of the Securities Act

[15 U.S.C. § 77q(a)].

                                    COUNT II
                 Violations of Section 10(b) of the Exchange Act
                          and Exchange Act Rule 10b-5
                   [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
                 (Shumake, Jackson, Birch and 420 Real Estate)

      109. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

      110. By engaging in the conduct described above, Defendants Shumake,

Jackson, Birch, and 420 Real Estate, in connection with the purchase and sale of

securities, by the use of the means and instrumentalities of interstate commerce and

by the use of the mails, directly and indirectly, employed devices, schemes and

artifices to defraud; made untrue statements of material fact and omitted to state

material facts necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; and engaged in acts,


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practices and courses of business which operated or would have operated as a fraud

and deceit upon purchasers and sellers and prospective purchasers and sellers of

securities.

       111. Defendants Shumake, Jackson, Birch, and 420 Real Estate acted

knowingly and/or recklessly, in engaging in the fraudulent conduct described

above.

       112. Through the foregoing, Defendants Shumake, Jackson, Birch, and 420

Real Estate violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and

Rule 10b-5 thereunder [17 C.F.R. 240.10b-5].

                                   COUNT III
              Violations of Section 5(a) and (c) of the Securities Act
                            [15 U.S.C. § 77e(a) and (c)]
              (Shumake and Birch as to Transatlantic Real Estate)

       113. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

       114. From in or about September 2018 through in or about June 2019,

Defendants Shumake and Birch directly or indirectly, as to securities of

Transatlantic Real Estate: (a) made use of the means or instruments of

transportation or communication in interstate commerce or of the mails to sell

securities through the use or medium of a prospectus or otherwise; or carried

securities or caused such securities to be carried through the mails or in interstate

commerce, by means or instruments of transportation, for the purpose of sale or
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delivery after sale; and (b) made use of the means or instruments of transportation

or communication in interstate commerce or of the mails to offer to sell or to offer

to buy, through the use or medium of any prospectus or otherwise, securities

without a registration statement having been filed with the SEC or being in effect

as to such securities.

      115. No registration statements were filed with the SEC or were in effect in

connection with offers or sales of securities of Transatlantic Real Estate by

Defendants Shumake and Birch, and no exemption from the registration

requirements applied to Defendant Shumake’s and Birch’s sales.

      116. By engaging in the conduct described above, Defendants Shumake

and Birch violated, and unless restrained and enjoined are reasonably likely to

continue to violate Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a)

and (c)].

                                    COUNT IV
              Violations of Section 5(a) and (c) of the Securities Act
                            [15 U.S.C. § 77e(a) and (c)]
                    (Shumake, Jackson and 420 Real Estate)

      117. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

      118. From in or about July 2019 through in or about June 2020, Defendants

Shumake, Jackson and 420 Real Estate, directly or indirectly, as to securities of

Defendant 420 Real Estate: (a) made use of the means or instruments of
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transportation or communication in interstate commerce or of the mails to sell

securities through the use or medium of a prospectus or otherwise; or carried

securities or caused such securities to be carried through the mails or in interstate

commerce, by means or instruments of transportation, for the purpose of sale or

delivery after sale; and (b) made use of the means or instruments of transportation

or communication in interstate commerce or of the mails to offer to sell or to offer

to buy, through the use or medium of any prospectus or otherwise, securities

without a registration statement having been filed with the SEC or being in effect

as to such securities.

      119. No registration statements were filed with the SEC or were in effect in

connection with offers or sales of securities of Defendant 420 Real Estate by

Defendants Shumake, Jackson or 420 Real Estate, and no exemption from the

registration requirements applied to the sales by Defendant Shumake, Jackson, and

420 Real Estate.

      120. By engaging in the conduct described above, Defendants Shumake,

Jackson, and 420 Real Estate violated, and unless restrained and enjoined are

reasonably likely to continue to violate Sections 5(a) and (c) of the Securities Act

[15 U.S.C. §§ 77e(a) and (c)].

                                    COUNT V
                         Aiding and Abetting Violations of
                         Section 17(a) of the Securities Act
                                [15 U.S.C. § 77q(a)]
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                                     (Shumake)

      121. Paragraphs 1 through 74 above74104 are realleged and incorporated

by reference.

      122. As described above, Defendants Jackson and Birch, in the offer and

sale of securities, respectfully, of 420 Real Estate and Transatlantic Real Estate, by

the use of the means and instruments of transportation or communication in

interstate commerce or by use of the mails, directly or indirectly, have employed

devices, schemes and artifices to defraud; obtained money and property by means

of untrue statements of material facts and omissions to state material facts

necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and engaged in transactions,

practices, and courses of business which operated or would operate as a fraud or

deceit upon the purchasers of such securities.

      123. By engaging in the conduct described, Defendants Jackson and Birch

violated Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

      124.      Defendant Shumake knowingly and/or recklessly provided

substantial assistance to Defendants Jackson and Birch.

      125. By reason of the foregoing, Defendant Shumake aided and abetted the

violations of Section 17(a) of the Securities Act, by Defendants Jackson and Birch

and, pursuant to Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)],


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Defendant Shumake is liable to the same extent as Defendants Jackson and Birch

for their violations of Section 17(a) of the Securities Act.

                                    COUNT VI
                        Aiding and Abetting Violations of
                        Section 10(b) of the Exchange Act
                          and Exchange Act Rule 10b-5
                   [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
                                    (Shumake)

      126. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

      127. As described above, Defendants Jackson and Birch in connection with

the purchase and sale of securities, respectfully, of 420 Real Estate and

Transatlantic Real Estate, by the use of the means and instrumentalities of

interstate commerce and by the use of the mails, directly and indirectly, employed

devices, schemes and artifices to defraud; made untrue statements of material fact

and omitted to state material facts necessary in order to make the statements made,

in the light of the circumstances under which they were made, not misleading; and

engaged in acts, practices and courses of business which operated or would have

operated as a fraud and deceit upon purchasers and sellers and prospective

purchasers and sellers of securities.

      128. By engaging in the conduct described, Defendants Jackson and Birch

violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [17 C.F.R. 240.10b-5].
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      129. Defendant Shumake knowingly and/or recklessly provided substantial

assistance to Defendants Jackson and Birch.

      130. By reason of the foregoing, Defendant Shumake aided and abetted the

violations of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder by

Defendants Jackson and Birch and, pursuant to Section 20(e) of the Exchange Act

[15 U.S.C. § 78t(e)], Defendant Shumake is liable to the same extent as Defendants

Jackson and Birch for their violations of Sections 10(b) of the Exchange Act and

Rule 10b-5 thereunder.

                                   COUNT VII
                       Aiding and Abetting Violations of
                    Sections 5(a) and (c) of the Securities Act
                           [15 U.S.C. §§ 77e(a) and (c)]
                                   (Shumake)

      131. Paragraphs 1 through 104 are realleged and incorporated by reference.

      132. As described, Defendants Jackson and Birch offered and sold

securities of, respectfully, 420 Real Estate and Transatlantic Real Estate, when no

registration statements were filed with the SEC or were in effect in connection with

offers or sales of securities of either issuer, and no exemption from the registration

requirements applied to Defendants’ sales.

      133. By engaging in the conduct described, Defendants Jackson and Birch

violated Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)].




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      134. Defendant Shumake knowingly and/or recklessly provided substantial

assistance to the unregistered offers and sales by Defendants Jackson and Birch.

      135. By reason of the foregoing, Defendant Shumake aided and abetted the

violations of Section 5(a) and 5(c) of the Securities Act, by Defendants Jackson

and Birch and, pursuant to Section 15(b) of the Securities Act [15 U.S.C. §

77o(b)], Defendant Shumake is liable to the same extent as Defendants Jackson

and Birch for their violations of Sections 5(a) and (c) of the Securities Act.

                                 COUNT VIII
            Violations of Section 4A(a)(5) of the Securities Act and
                          Rules 301(c)(2) Thereunder
       [15 U.S.C. § 77d–1(a)(5) and 17 C.F.R. 17 C.F.R. § 227.301(c)(2)]
                           (Petrescu and TruCrowd)

      136. Paragraphs 1 through 104 are realleged and incorporated by reference.

      137. In connection with the Transatlantic Real Estate and 420 Real Estate

crowdfunding offerings, Defendant TruCrowd was an intermediary, and Petrescu

was an associated person of an intermediary, for purposes of Section 4A of the

Securities Act [15 U.S.C. § 77d–1] and Rules 300(c)(1) and 300(c)(3) thereunder

[17 C.F.R. §§ 227.300(c)(1) and 227.300(c)(3)].

      138. As described above, Defendants Petrescu and TruCrowd allowed

Defendants access to TruCrowd’s crowdfunding platform in connection with the

Transatlantic Real Estate and 420 Real Estate crowdfunding offerings.




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      139. As described in Paragraphs 75 through 104, above, Defendants

Petrescu and TruCrowd (1) had a reasonable basis for believing that the

Transatlantic Real Estate and 420 Real Estate crowdfunding offerings presented

the potential for fraud and otherwise raised concerns about investor protection; (2)

reasonably believed, or should have reasonably believed, that they were unable to

adequately or effectively assess the risk of fraud associated with the Transatlantic

Real Estate and 420 Real Estate crowdfunding offerings; and (3) became aware of

information, after they had granted access to the TruCrowd crowdfunding platform

for the Transatlantic Real Estate and 420 Real Estate crowdfunding offerings, that

caused them to reasonably believe, or in the exercise of reasonable care should

have caused them to reasonably believe, that the Transatlantic Real Estate and 420

Real Estate crowdfunding offerings presented the potential for fraud and otherwise

raised concerns about investor protection.

      140. As described above, Defendants Petrescu and TruCrowd failed to

deny access to TruCrowd’s crowdfunding platform and failed to promptly remove

the Transatlantic Real Estate and 420 Real Estate offerings from TruCrowd’s

crowdfunding platform, cancel the offerings, and return and direct the return of any

funds that had been committed by investors in the offerings.

      141. By reason of the foregoing, Defendants TruCrowd and Petrescu have

violated, and unless restrained and enjoined are reasonably likely to continue to


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violate, Section 4A(a)(5) of the Securities Act [15 U.S.C. § 77d–1(a)(5)] and Rule

301(c)(2) thereunder [17 C.F.R. § 227.301(c)(2)].

                              RELIEF REQUESTED

      THEREFORE, the SEC requests that this Court:

                                           I.

      Permanently enjoin Defendants Shumake, Jackson, Birch, and 420 Real

Estate, their officers, agents, servants, employees, attorneys and those persons in

active concert or participation with Defendants who receive actual notice of the

order of this Court, by personal service or otherwise, and each of them from,

directly or indirectly, engaging in the transactions, acts, practices or courses of

business described above, or in conduct of similar purport and object, in violation

of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)]; Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 CFR § 240.10b-

5]; and Section 5 of the Securities Act [15 U.S.C. § 77e];

                                          II.

      Permanently enjoin Defendants Petrescu and TruCrowd, their officers,

agents, servants, employees, attorneys and those persons in active concert or

participation with Defendants who receive actual notice of the order of this Court,

by personal service or otherwise, and each of them from, directly or indirectly,

engaging in the transactions, acts, practices or courses of business described above,


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or in conduct of similar purport and object, in violation of Section 4A of the

Securities Act [15 U.S.C. § 77d–1] and Rules 300(c)(1) and 300(c)(3) thereunder

[17 C.F.R. §§ 227.300(c)(1) and 227.300(c)(3)];

                                          III.

      Ordering Defendants to disgorge all ill-gotten gains and/or unjust

enrichment received directly or indirectly, with pre-judgment interest thereon, as a

result of the alleged violations, pursuant to Exchange Act Sections 21(d)(5) and

21(d)(7) [15 U.S.C. §§ 78u(d)(5) and 78u(d)(7)];

                                          IV.

      Order Defendants to pay civil penalties pursuant to Section 20(d) of the

Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15

U.S.C. § 78u(d)(3)];

                                          V.

      Enter an Order, pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C.

§ 78u(d)(2)] permanently prohibiting Defendants Shumake, Jackson, and Birch

from serving as an officer or director of any issuer that has a class of securities

registered pursuant to Section 12 [15 U.S.C. § 78l] of the Exchange Act or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. §

78o(d)]; and




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                                      VI.

     Grant any other relief this Court deems appropriate.




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                                 JURY DEMAND

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands that this case be tried to a jury.


Dated: September 20, 2021        Respectfully Submitted,

                                 UNITED STATES SECURITIES
                                 AND EXCHANGE COMMISSION

                                  s/John E. Birkenheier
                                 John E. Birkenheier, Illinois Bar No. 6270993
                                 Jerrold H. Kohn, Illinois Bar No. 6188085
                                 Dante A. Roldàn, Illinois Bar No. 6316972

                                 U.S. Securities and Exchange Commission
                                 Chicago Regional Office
                                 175 West Jackson Blvd., Suite 1450
                                 Chicago, Illinois 60604
                                 (312) 353-7390
                                 (312) 353-7398 (facsimile)
                                 BirkenheierJ@sec.gov
                                 KohnJ@sec.gov
                                 RoldanD@sec.gov

                                 Saima S. Mohsin, Acting United States Attorney
                                 Peter A. Caplan, Assistant United States Attorney
                                 211 W. Fort Street, Suite 2001
                                 Detroit, MI 48226
                                 (313) 226-9784
                                 P-30643
                                 Peter.Caplan@usdoj.gov

                                 Attorneys for Plaintiff




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                   Plaintiff,                       Case No. 21-cv-12193
                                                    Hon. Arthur J. Tarnow
                   v.

ROBERT SAMUEL SHUMAKE, JR.,                         JURY TRIAL DEMANDED
WILLARD L. JACKSON,
NICOLE T. BIRCH,
420 REAL ESTATE, LLC,
VICENT PETRESCU
aka VINCENT PETRESCU, and
TRUCROWD, INC. dba FUNDANNA,

                   Defendants.
                                              /

       FINAL JUDGMENT AS TO DEFENDANT NICOLE T. BIRCH

      The Securities and Exchange Commission having filed a Complaint and

Defendant Nicole T. Birch (“Defendant”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph VIII); waived findings of fact and conclusions of law;

and waived any right to appeal from this Final Judgment:

                                         I.

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      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly,

Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5],

by using any means or instrumentality of interstate commerce, or of the mails, or

of any facility of any national securities exchange, in connection with the purchase

or sale of any security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         II.


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      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 17(a)

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the

offer or sale of any security by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make

      the statements made, in light of the circumstances under which they were

      made, not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

operates or would operate as a fraud or deceit upon the purchaser.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         III.


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      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 5 of

the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:

      (a)    Unless a registration statement is in effect as to a security, making use

             of any means or instruments of transportation or communication in

             interstate commerce or of the mails to sell such security through the

             use or medium of any prospectus or otherwise;

      (b)    Unless a registration statement is in effect as to a security, carrying or

             causing to be carried through the mails or in interstate commerce, by

             any means or instruments of transportation, any such security for the

             purpose of sale or for delivery after sale; or

      (c)    Making use of any means or instruments of transportation or

             communication in interstate commerce or of the mails to offer to sell

             or offer to buy through the use or medium of any prospectus or

             otherwise any security, unless a registration statement has been filed

             with the Commission as to such security, or while the registration

             statement is the subject of a refusal order or stop order or (prior to the

             effective date of the registration statement) any public proceeding or

             examination under Section 8 of the Securities Act [15 U.S.C. § 77h].


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      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                          IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and

Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited

from acting as an officer or director of any issuer that has a class of securities

registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)].

                                          V.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is liable for disgorgement of $600,712, representing net profits

gained as a result of the conduct alleged in the Complaint, together with

prejudgment interest thereon in the amount of $78,314, and a civil penalty in the

amount of $200,000 pursuant to Section 20(d) of the Securities Act [15 U.S.C.


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§ 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].

Defendant shall satisfy this obligation by paying $879,026 to the Securities and

Exchange Commission within 30 days after entry of this Final Judgment.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request. Payment

may also be made directly from a bank account via Pay.gov through the SEC

website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by

certified check, bank cashier’s check, or United States postal money order payable

to the Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Birch as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this

action. By making this payment, Defendant relinquishes all legal and equitable

right, title, and interest in such funds and no part of the funds shall be returned to

Defendant.

      The Commission may enforce the Court’s judgment for disgorgement and

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prejudgment interest by using all collection procedures authorized by law,

including, but not limited to, moving for civil contempt at any time after 30 days

following entry of this Final Judgment.

      The Commission may enforce the Court’s judgment for penalties by the use

of all collection procedures authorized by law, including the Federal Debt

Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil

contempt for the violation of any Court orders issued in this action. Defendant

shall pay post judgment interest on any amounts due after 30 days of the entry of

this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the

funds, together with any interest and income earned thereon (collectively, the

“Fund”), pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act

of 2002. The Court shall retain jurisdiction over the administration of any

distribution of the Fund and the Fund may only be disbursed pursuant to an Order

of the Court.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To


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preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that she is

entitled to, nor shall she further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant’s payment

of a civil penalty in this action (“Penalty Offset”). If the court in any Related

Investor Action grants such a Penalty Offset, Defendant shall, within 30 days after

entry of a final order granting the Penalty Offset, notify the Commission’s counsel

in this action and pay the amount of the Penalty Offset to the United States

Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not

be deemed an additional civil penalty and shall not be deemed to change the

amount of the civil penalty imposed in this Judgment. For purposes of this

paragraph, a “Related Investor Action” means a private damages action brought

against Defendant by or on behalf of one or more investors based on substantially

the same facts as alleged in the Complaint in this action.

                                          VI.

      Birch shall pay the total of disgorgement, prejudgment interest, and penalty

due of $879,026 to the Commission within 30 days of entry of this Final Judgment.

Payments shall be deemed made on the date they are received by the Commission

and shall be applied first to post judgment interest, which accrues pursuant to 28


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U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of Final

Judgment. Prior to making the final payment set forth herein, Birch shall contact

the staff of the Commission for the amount due for the final payment.

          If Birch fails to make any payment by the date agreed and/or in the

amount agreed according to the schedule set forth above, all outstanding payments

under this Final Judgment, including post-judgment interest, minus any payments

made, shall become due and payable immediately at the discretion of the staff of

the Commission without further application to the Court.

                                        VII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                        VIII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy

Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by

Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Final Judgment or any other

judgment, order, consent order, decree or settlement agreement entered in


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connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                         IX.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.

                                          X.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.

Dated: December 23, 2021
                                        s/Arthur J. Tarnow
                                        UNITED STATES DISTRICT JUDGE




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                   Plaintiff,                       Case No. 21-cv-12193
                                                    Hon. Arthur J. Tarnow
                   v.

ROBERT SAMUEL SHUMAKE, JR.,                         JURY TRIAL DEMANDED
WILLARD L. JACKSON,
NICOLE T. BIRCH,
420 REAL ESTATE, LLC,
VICENT PETRESCU
aka VINCENT PETRESCU, and
TRUCROWD, INC. dba FUNDANNA,

                   Defendants.
                                               /

      FINAL JUDGMENT AS TO DEFENDANT VICENT PETRESCU

      The Securities and Exchange Commission having filed a Complaint and

Defendant Vicent Petrescu aka Vincent Petrescu (“Defendant”) having entered a

general appearance; consented to the Court’s jurisdiction over Defendant and the

subject matter of this action; consented to entry of this Final Judgment without

admitting or denying the allegations of the Complaint (except as to jurisdiction and

except as otherwise provided herein in paragraph V); waived findings of fact and

conclusions of law; and waived any right to appeal from this Final Judgment:



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                                          I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 4A of the Securities

Act of 1933 (the “Securities Act”) [15 U.S.C. § 77d] and Rule 301(c)(2) [17 C.F.R.

§ 227.301] promulgated thereunder by, directly or indirectly, when acting as an

intermediary or person associated with an intermediary, allowing issuers access to

a crowdfunding platform in connection with crowdfunding offerings, when they:

(1) have a reasonable basis for believing that the crowdfunding offerings present

the potential for fraud or otherwise raise concerns about investor protection; (2)

reasonably believe, or should reasonably believe, that they are unable to adequately

or effectively assess the risk of fraud associated with the crowdfunding offerings;

or (3) become aware of information, after they have granted issuers access to a

crowdfunding platform for crowdfunding offerings, that cause them to reasonably

believe, or in the exercise of reasonable care should cause them to reasonably

believe, that the crowdfunding offerings present the potential for fraud or

otherwise raise concerns about investor protection; and (4) fail to deny the issuers

access to a crowdfunding platform or fail to promptly remove the offerings from a

crowdfunding platform, cancel the offerings, and return and direct the return of any

funds that had been committed by investors in the offerings.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as


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  Case                      ECFDocument
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provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is liable for a civil penalty in the amount of $9,700 pursuant to

Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)]. Defendant shall satisfy

this obligation by paying $9,700 to the Securities and Exchange Commission

within 30 days after entry of this Final Judgment.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request. Payment

may also be made directly from a bank account via Pay.gov through the SEC

website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by

certified check, bank cashier’s check, or United States postal money order payable

to the Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

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and name of this Court; Petrescu as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this

action. By making this payment, Defendant relinquishes all legal and equitable

right, title, and interest in such funds and no part of the funds shall be returned to

Defendant.

      The Commission may enforce the Court’s judgment for penalties by the use

of all collection procedures authorized by law, including the Federal Debt

Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil

contempt for the violation of any Court orders issued in this action. Defendant

shall pay post judgment interest on any amounts due after 30 days of the entry of

this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the

funds, together with any interest and income earned thereon (collectively, the

“Fund”), pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act

of 2002. The Court shall retain jurisdiction over the administration of any

distribution of the Fund and the Fund may only be disbursed pursuant to an Order


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of the Court.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To

preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that he is

entitled to, nor shall he further benefit by, offset or reduction of such compensatory

damages award by the amount of any part of Defendant’s payment of a civil

penalty in this action (“Penalty Offset”). If the court in any Related Investor

Action grants such a Penalty Offset, Defendant shall, within 30 days after entry of

a final order granting the Penalty Offset, notify the Commission’s counsel in this

action and pay the amount of the Penalty Offset to the United States Treasury or to

a Fair Fund, as the Commission directs. Such a payment shall not be deemed an

additional civil penalty and shall not be deemed to change the amount of the civil

penalty imposed in this Judgment. For purposes of this paragraph, a “Related

Investor Action” means a private damages action brought against Defendant by or

on behalf of one or more investors based on substantially the same facts as alleged

in the Complaint in this action.




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  Case                      ECFDocument
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                                         III.

      Defendant shall pay the penalty due of $9,700 to the Commission within 30

days of entry of this Final Judgment. Payments shall be deemed made on the date

they are received by the Commission and shall be applied first to post judgment

interest, which accrues pursuant to 28 U.S.C. § 1961 on any unpaid amounts due

after 30 days of the entry of Final Judgment. Prior to making the final payment set

forth herein, Petrescu shall contact the staff of the Commission for the amount due

for the final payment.

      If Defendant fails to make any payment by the date agreed and/or in the

amount agreed according to the schedule set forth above, all outstanding payments

under this Final Judgment, including post-judgment interest, minus any payments

made, shall become due and payable immediately at the discretion of the staff of

the Commission without further application to the Court.

                                                IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.




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                                          V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy

Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by

Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Final Judgment or any other

judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                         VI.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.

                                         VII.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.

Dated: December 23, 2021
                                        s/Arthur J. Tarnow
                                        UNITED STATES DISTRICT JUDGE

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                           “EXHIBIT 4”
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                   Plaintiff,                       Case No. 21-cv-12193
                                                    Hon. Arthur J. Tarnow
                   v.

ROBERT SAMUEL SHUMAKE, JR.,                         JURY TRIAL DEMANDED
WILLARD L. JACKSON,
NICOLE T. BIRCH,
420 REAL ESTATE, LLC,
VICENT PETRESCU
aka VINCENT PETRESCU, and
TRUCROWD, INC. dba FUNDANNA,

                   Defendants.
                                               /

       FINAL JUDGMENT AS TO DEFENDANT TRUCROWD, INC.

      The Securities and Exchange Commission having filed a Complaint and

Defendant TruCrowd, Inc. (“Defendant”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction); waived findings of fact and

conclusions of law; and waived any right to appeal from this Final Judgment:




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                                          I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 4A of the Securities

Act of 1933 (the “Securities Act”) [15 U.S.C. § 77d] and Rule 301(c)(2) [17 C.F.R.

§ 227.301] promulgated thereunder by, directly or indirectly, when acting as an

intermediary or person associated with an intermediary, allowing issuers access to

a crowdfunding platform in connection with crowdfunding offerings, when they:

(1) have a reasonable basis for believing that the crowdfunding offerings present

the potential for fraud or otherwise raise concerns about investor protection; (2)

reasonably believe, or should reasonably believe, that they are unable to adequately

or effectively assess the risk of fraud associated with the crowdfunding offerings;

or (3) become aware of information, after they have granted issuers access to a

crowdfunding platform for crowdfunding offerings, that cause them to reasonably

believe, or in the exercise of reasonable care should cause them to reasonably

believe, that the crowdfunding offerings present the potential for fraud or

otherwise raise concerns about investor protection; and (4) fail to deny the issuers

access to a crowdfunding platform or fail to promptly remove the offerings from a

crowdfunding platform, cancel the offerings, and return and direct the return of any

funds that had been committed by investors in the offerings.




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      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is liable for disgorgement of $129,380, representing net profits

gained as a result of the conduct alleged in the Complaint, together with

prejudgment interest thereon in the amount of $16,867, and a civil penalty in the

amount of $97,500 pursuant to Section 20(d) of the Securities Act [15 U.S.C.

§ 77t(d)]. Defendant shall satisfy this obligation by paying $243,747 to the

Securities and Exchange Commission within 30 days after entry of this Final

Judgment.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request. Payment

may also be made directly from a bank account via Pay.gov through the SEC

website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by

certified check, bank cashier’s check, or United States postal money order payable


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to the Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; TruCrowd, Inc. as a defendant in this action; and

specifying that payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this

action. By making this payment, Defendant relinquishes all legal and equitable

right, title, and interest in such funds and no part of the funds shall be returned to

Defendant.

      The Commission may enforce the Court’s judgment for disgorgement and

prejudgment interest by using all collection procedures authorized by law,

including, but not limited to, moving for civil contempt at any time after 30 days

following entry of this Final Judgment.

      The Commission may enforce the Court’s judgment for penalties by the use

of all collection procedures authorized by law, including the Federal Debt

Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil

contempt for the violation of any Court orders issued in this action. Defendant

shall pay post judgment interest on any amounts due after 30 days of the entry of

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this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the

funds, together with any interest and income earned thereon (collectively, the

“Fund”), pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act

of 2002. The Court shall retain jurisdiction over the administration of any

distribution of the Fund and the Fund may only be disbursed pursuant to an Order

of the Court.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To

preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that it is

entitled to, nor shall it further benefit by, offset or reduction of such compensatory

damages award by the amount of any part of Defendant’s payment of a civil

penalty in this action (“Penalty Offset”). If the court in any Related Investor

Action grants such a Penalty Offset, Defendant shall, within 30 days after entry of

a final order granting the Penalty Offset, notify the Commission’s counsel in this


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action and pay the amount of the Penalty Offset to the United States Treasury or to

a Fair Fund, as the Commission directs. Such a payment shall not be deemed an

additional civil penalty and shall not be deemed to change the amount of the civil

penalty imposed in this Judgment. For purposes of this paragraph, a “Related

Investor Action” means a private damages action brought against Defendant by or

on behalf of one or more investors based on substantially the same facts as alleged

in the Complaint in this action.

                                         III.

      Defendant shall pay the total of disgorgement, prejudgment interest, and

penalty due of $243,747 to the Commission within 30 days of entry of this Final

Judgment. Payments shall be deemed made on the date they are received by the

Commission and shall be applied first to post judgment interest, which accrues

pursuant to 28 U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry

of Final Judgment. Prior to making the final payment set forth herein, TruCrowd,

Inc. shall contact the staff of the Commission for the amount due for the final

payment.

           If Defendant fails to make any payment by the date agreed and/or in the

amount agreed according to the schedule set forth above, all outstanding payments

under this Final Judgment, including post-judgment interest, minus any payments




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made, shall become due and payable immediately at the discretion of the staff of

the Commission without further application to the Court.

                                         IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                          V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.

                                         VI.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.

Dated: December 23, 2021



                                        s/Arthur J. Tarnow
                                        UNITED STATES DISTRICT JUDGE




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                          “EXHIBIT 5”
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                                   UNITED STATES OF AMERICA
                                            Before the
                              SECURITIES AND EXCHANGE COMMISSION

SECURITIES EXCHANGE ACT OF 1934
Release No. 93882 / December 30, 2021

ADMINISTRATIVE PROCEEDING
File No. 3-20692

                                                          :
                                                          :
In the Matter of                                          :         ORDER INSTITUTING
                                                          :         PUBLIC ADMINISTRATIVE
                                                          :         PROCEEDINGS PURSUANT TO RULE
           NICOLE T. BIRCH, Esq.,                         :         102(e) OF THE COMMISSION’S RULES OF
                                                          :         PRACTICE, MAKING FINDINGS, AND
                     Respondent.                          :         IMPOSING REMEDIAL SANCTIONS
                                                          :
                                                          :


                                                              I.

        The Securities and Exchange Commission (“Commission”) deems it appropriate and in the
public interest that public administrative proceedings be, and hereby are, instituted against Nicole
T. Birch (“Respondent” or “Birch”) pursuant to Rule 102(e)(3)(i) of the Commission’s Rules of
Practice.1

                                                              II.

        In anticipation of the institution of these proceedings, Respondent has submitted an Offer
of Settlement (the “Offer”) which the Commission has determined to accept. Solely for the purpose
of these proceedings and any other proceedings brought by or on behalf of the Commission, or to
which the Commission is a party, and without admitting or denying the findings herein, except as
to the Commission’s jurisdiction over her and the subject matter of these proceedings, and the
findings contained in Section III.2 below, which are admitted, Respondent consents to the entry of

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    Rule 102(e)(3)(i) provides, in relevant part, that:

          The Commission, with due regard to the public interest and without preliminary hearing, may, by order, . . .
suspend from appearing or practicing before it any attorney . . . who has been by name (A) [p]ermanently enjoined
by any court of competent jurisdiction, by reason of his or her misconduct in an action brought by the Commission,
from violating or aiding and abetting the violation of any provision of the Federal securities laws or of the rules and
regulations thereunder; or (B) [f]ound by any court of competent jurisdiction in an action brought by the
Commission to which he or she is a party … to have violated (unless the violation was found not to have been
willful) or aided and abetted the violation of any provision of the Federal securities laws or of the rules and
regulations thereunder.
   Case 1:23-cv-01775-KES-SAB Document 6 Filed 01/08/24 Page 127 of 151




this Order Instituting Administrative Proceedings Pursuant to Rule 102(e) of the Commission’s
Rules of Practice, Making Findings, and Imposing Remedial Sanctions (“Order”), as set forth
below.

                                                 III.

       On the basis of this Order and Respondent’s Offer, the Commission finds that:

       1.       Birch, age 46, resides in Gainesville, Georgia. Birch is a member of the Georgia
State Bar. Birch has never held any securities licenses and is not registered with the Commission in
any capacity.

        2.      On September 20, 2021, the Commission filed a complaint against Birch in SEC v.
Robert Samuel Shumake, Jr., et al. (Civil Action No. 21-cv-12193), in the United States District
Court for the Eastern District of Michigan. On December 23, 2021, the court entered an order
permanently enjoining Birch, by consent, from future violations of Sections 5(a), 5(c), and 17(a) of
the Securities Act of 1933, and Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-
5 thereunder.

        3.      The Commission’s complaint alleged, among other things, that Birch, along with
others, conducted a fraudulent and unregistered crowdfunding offering through a cannabis
company, raising over $1 million from thousands of investors. Birch, with the assistance of others,
prepared the offering statement for the company which misrepresented the use of proceeds from the
offering. In addition, the offering statement falsely stated that the company employed an
experienced management team and that it had contingently acquired certain real estate. The offering
statement also omitted the significant involvement in the offering of an individual with a past
criminal conviction. Finally, Birch diverted offering proceeds to herself and to her law firm.

                                                 IV.

      In view of the foregoing, the Commission deems it appropriate and in the public interest to
impose the sanction agreed to in Respondent Birch’s Offer.

       Accordingly, it is hereby ORDERED pursuant to Rule 102(e)(3)(i) of the Commission’s
Rules of Practice, effective immediately, that:

Birch is suspended from appearing or practicing before the Commission as an attorney.

       By the Commission.




                                                        Vanessa A. Countryman
                                                        Secretary
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                           “EXHIBIT 6”
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                                   UNITED STATES OF AMERICA
                                            Before the
                              SECURITIES AND EXCHANGE COMMISSION

SECURITIES EXCHANGE ACT OF 1934
Release No. 93884 / December 30, 2021

ACCOUNTING AND AUDITING ENFORCEMENT
Release No. 4278 / December 30, 2021

ADMINISTRATIVE PROCEEDING
File No. 3-20693

                                                          :
                                                          :
In the Matter of                                          :         ORDER INSTITUTING
                                                          :         PUBLIC ADMINISTRATIVE
                                                          :         PROCEEDINGS PURSUANT TO RULE
           Vicent C. Petrescu, aka Vincent                :         102(e) OF THE COMMISSION’S RULES OF
           Petrescu, CPA,                                 :         PRACTICE, MAKING FINDINGS, AND
                                                          :         IMPOSING REMEDIAL SANCTIONS
                          Respondent.                     :
                                                          :
                                                          :


                                                              I.

        The Securities and Exchange Commission (“Commission”) deems it appropriate and in the
public interest that public administrative proceedings be, and hereby are, instituted against Vicent
C. Petrescu, aka Vincent Petrescu, CPA (“Respondent” or “Petrescu”) pursuant to Rule
102(e)(3)(i) of the Commission’s Rules of Practice.1

                                                              II.

        In anticipation of the institution of these proceedings, Respondent has submitted an Offer
of Settlement (the “Offer”) which the Commission has determined to accept. Solely for the purpose
of these proceedings and any other proceedings brought by or on behalf of the Commission, or to
which the Commission is a party, and without admitting or denying the findings herein, except as
to the Commission’s jurisdiction over him and the subject matter of these proceedings, and the
1
    Rule 102(e)(3)(i) provides, in relevant part, that:

          The Commission, with due regard to the public interest and without preliminary hearing, may, by order, . . .
suspend from appearing or practicing before it any . . . accountant . . . who has been by name . . . permanently
enjoined by any court of competent jurisdiction, by reason of his or her misconduct in an action brought by the
Commission, from violating or aiding and abetting the violation of any provision of the Federal securities laws or of
the rules and regulations thereunder.
   Case 1:23-cv-01775-KES-SAB Document 6 Filed 01/08/24 Page 130 of 151



findings contained in Section III.2 below, which are admitted, Respondent consents to the entry of
this Order Instituting Administrative Proceedings Pursuant to Rule 102(e) of the Commission’s
Rules of Practice, Making Findings, and Imposing Remedial Sanctions (“Order”), as set forth
below.

                                                 III.

       On the basis of this Order and Respondent’s Offer, the Commission finds that:

        1.       Petrescu, age 49, resides in Algonquin, Illinois. Petrescu has held an active CPA
license in Illinois since October 2018. Petrescu also held a CPA license in Indiana that expired in
June 2021. As of August 2021, Petrescu owns an accounting firm, CPA Wit, LLC, an Illinois
limited liability company. Petrescu is the founder and CEO of TruCrowd, Inc. (“TruCrowd”), an
SEC-registered funding portal.

        2.      On September 20, 2021, the Commission filed a complaint against Petrescu in SEC
v. Robert Samuel Shumake, Jr., et al. (Civil Action No. 21-cv-12193), in the United States District
Court for the Eastern District of Michigan. On December 23, 2021, the court entered an order
permanently enjoining Petrescu, by consent, from future violations of Section 4A(a)(5) of the
Securities Act of 1933 and Rule 301(c)(2) thereunder.

        3.       The Commission’s complaint alleged, among other things, that Petrescu permitted
two issuers to conduct fraudulent crowdfunding offerings through TruCrowd’s platform despite
multiple warning signs of possible fraud or other harm to investors. Petrescu assisted these issuers
and their affiliated individuals with preparing and filing Forms C and offering statements. Petrescu
never questioned why the Forms C and offering statements omitted any mention of another
individual with a criminal record who was actively involved with the offerings and the
management of the issuers. Petrescu also failed to address a series of red flags concerning
possible fraud and investor harm, including but not limited to complaints and concerns raised by
investors, an attorney, and individuals affiliated with the issuers.

                                                 IV.

      In view of the foregoing, the Commission deems it appropriate and in the public interest to
impose the sanction agreed to in Respondent Petrescu’s Offer.

       Accordingly, it is hereby ORDERED, effective immediately, that:

       A.      Petrescu is suspended from appearing or practicing before the Commission as an
accountant.

        B.      After three years from the date of the Order, Respondent may request that the
Commission consider Respondent’s reinstatement by submitting an application to the attention of
the Office of the Chief Accountant.


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        C.      In support of any application for reinstatement to appear and practice before the
Commission as a preparer or reviewer, or a person responsible for the preparation or review, of
financial statements of a public company to be filed with the Commission, other than as a member
of an audit committee, as that term is defined in Section 3(a)(58) of the Securities Exchange Act of
1934 (“Exchange Act”), Respondent shall submit a written statement attesting to an undertaking to
have Respondent’s work reviewed by the independent audit committee of any public company for
which Respondent works or in some other manner acceptable to the Commission, as long as
Respondent practices before the Commission in this capacity and will comply with any
Commission or other requirements related to the appearance and practice before the Commission
as an accountant.

        D.      In support of any application for reinstatement to appear and practice before the
Commission as a member of an audit committee, as that term is defined in Section 3(a)(58) of the
Exchange Act, as a preparer or reviewer, or as a person responsible for the preparation or review,
of any public company’s financial statements that are filed with the Commission, Respondent shall
submit a statement prepared by the audit committee(s) with which Respondent will be associated,
including the following information:

               1. A summary of the responsibilities and duties of the specific audit committee(s)
                  with which Respondent will be associated;

               2. A description of Respondent’s role on the specific audit committee(s) with
                  which Respondent will be associated;

               3. A description of any policies, procedures, or controls designed to mitigate any
                  potential risk to the Commission by such service;

               4. A description relating to the necessity of Respondent’s service on the specific
                  audit committee; and

               5. A statement noting whether Respondent will be able to act unilaterally on behalf
                  of the Audit Committee as a whole.

       E.      In support of any application for reinstatement to appear and practice before the
Commission as an independent accountant (auditor) before the Commission, Respondent must be
associated with a public accounting firm registered with the Public Company Accounting
Oversight Board (the “PCAOB”) and Respondent shall submit the following additional
information:

               1. A statement from the public accounting firm (the “Firm”) with which
                  Respondent is associated, stating that the firm is registered with the PCAOB in
                  accordance with the Sarbanes-Oxley Act of 2002;

               2. A statement from the Firm with which the Respondent is associated that the
                  Firm has been inspected by the PCAOB and that the PCAOB did not identify

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                    any criticisms of or potential defects in the Firm’s quality control system that
                    would indicate that Respondent will not receive appropriate supervision; and

               3. A statement from Respondent indicating that the PCAOB has taken no
                  disciplinary actions against Respondent since seven (7) years prior to the date of
                  the Order other than for the conduct that was the basis for the Order.

       F.      In support of any application for reinstatement, Respondent shall provide
documentation showing that Respondent is currently licensed as a certified public accountant
(“CPA”) and that Respondent has resolved all other disciplinary issues with any applicable state
boards of accountancy. If Respondent is not currently licensed as a CPA, Respondent shall provide
documentation showing that Respondent’s licensure is dependent upon reinstatement by the
Commission.

       G.      In support of any application for reinstatement, Respondent shall also submit a
signed affidavit truthfully stating, under penalty of perjury:

               1.      That Respondent has complied with the Commission suspension Order, and
                       with any related orders and undertakings, including any orders in SEC v.
                       Robert Samuel Shumake, Jr., et al. (Civil Action No. 21-cv-12193), in the
                       United States District Court for the Eastern District of Michigan, or any
                       related Commission proceedings, including any orders requiring payment of
                       disgorgement or penalties;

               2.      That Respondent undertakes to notify the Commission immediately in
                       writing if any information submitted in support of the application for
                       reinstatement becomes materially false or misleading or otherwise changes
                       in any material way while the application is pending;

               3.      That Respondent, since the entry of the Order, has not been convicted of a
                       felony or a misdemeanor involving moral turpitude that would constitute a
                       basis for a forthwith suspension from appearing or practicing before the
                       Commission pursuant to Rule 102(e)(2);

               4.      That Respondent, since the entry of the Order:

                       a. has not been charged with a felony or a misdemeanor involving moral
                          turpitude as set forth in Rule 102(e)(2) of the Commission’s Rules of
                          Practice, except for any charge concerning the conduct that was the
                          basis for the Order;

                       b. has not been found by the Commission or a court of the United States to
                          have committed a violation of the federal securities laws, and has not
                          been enjoined from violating the federal securities laws, except for any


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                           finding or injunction concerning the conduct that was the basis for the
                           Order;

                       c. has not been charged by the Commission or the United States with a
                          violation of the federal securities laws, except for any charge concerning
                          the conduct that was the basis for the Order;

                       d. has not been found by a court of the United States (or any agency of the
                          United States) or any state, territory, district, commonwealth, or
                          possession, or any bar thereof to have committed an offense (civil or
                          criminal) involving moral turpitude, except for any finding concerning
                          the conduct that was the basis for the Order; and

                       e. has not been charged by the United States (or any agency of the United
                          States) or any state, territory, district, commonwealth, or possession,
                          civilly or criminally, with having committed an act of moral turpitude,
                          except for any charge concerning the conduct that was the basis for the
                          Order.

              5.       That Respondent’s conduct is not at issue in any pending investigation of
                       the Commission’s Division of Enforcement, the PCAOB’s Division of
                       Enforcement and Investigations, any criminal law enforcement
                       investigation, or any pending proceeding of a State Board of Accountancy,
                       except to the extent that such conduct concerns that which was the basis
                       for the Order.

              6.       That Respondent has complied with any and all orders, undertakings, or
                       other remedial, disciplinary, or punitive sanctions resulting from any action
                       taken by any State Board of Accountancy, or other regulatory body.
       H.     Respondent shall also provide a detailed description of:

              1. Respondent’s professional history since the imposition of the Order, including

                   (a) all job titles, responsibilities and role at any employer;

                   (b) the identification and description of any work performed for entities
                   regulated by the Commission, and the persons to whom Respondent reported for
                   such work; and

              2. Respondent’s plans for any future appearance or practice before the
                 Commission.

         I.     The Commission may conduct its own investigation to determine if the foregoing
attestations are accurate.

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        J.       If Respondent provides the documentation and attestations required in this Order
and the Commission (1) discovers no contrary information therein, and (2) determines that
Respondent truthfully and accurately attested to each of the items required in Respondent’s
affidavit, and the Commission discovers no information, including under Paragraph I, indicating
that Respondent has violated a federal securities law, rule or regulation or rule of professional
conduct applicable to Respondent since entry of the Order (other than by conduct underlying
Respondent’s original Rule 102(e) suspension), then, unless the Commission determines that
reinstatement would not be in the public interest, the Commission shall reinstate the respondent for
cause shown.

         K.     If Respondent is not able to provide the documentation and truthful and accurate
attestations required in this Order or if the Commission has discovered contrary information,
including under Paragraph I, the burden shall be on the Respondent to provide an explanation as to
the facts and circumstances pertaining to the matter setting forth why Respondent believes cause
for reinstatement nonetheless exists and reinstatement would not be contrary to the public interest.
The Commission may then, in its discretion, reinstate the Respondent for cause shown.

        L.     If the Commission declines to reinstate Respondent pursuant to Paragraphs J and K,
it may, at Respondent’s request, hold a hearing to determine whether cause has been shown to
permit Respondent to resume appearing and practicing before the Commission as an accountant.


       By the Commission.



                                                      Vanessa A. Countryman
                                                      Secretary




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                         “EXHIBIT 7”
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                         “EXHIBIT 8”
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                                                          EXHIBIT A

                                              FORM OF CONVERTIBLE NOTE

THIS NOTE (the “SECURITIES”) HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS
AMENDED (THE “SECURITIES ACT”), OR THE SECURITIES LAWS OF ANY STATE, AND IS BEING OFFERED AND
SOLD PURSUANT TO AN EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT
AND SUCH LAWS. THIS SECURITY MAY NOT BE SOLD OR TRANSFERRED EXCEPT PURSUANT TO AN
EFFECTIVE REGISTRATION STATEMENT UNDER THE SECURITIES ACT OR PURSUANT TO AN AVAILABLE
EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT OR SUCH OTHER LAWS.

Company: 420 Real Estate, LLC

Maturity Date: June 30, 2020.

Principal Amount: $300.00

Interest Rate: 15% per annum

Conversion Option: 10% Share Purchase Discount to Public Market at Company’s Election.

420 Real Estate, LLC, a Texas limited liability company, (the “Company’) and any successor or resulting corporation by way
of merger, consolidation, sale or exchange of all or substantially all of the assets or otherwise (the “Company”), for value
received, hereby promises to pay to the Holder (as such term is hereinafter defined), or such other Person (as such term is
hereinafter defined) upon order of the Holder, on the Maturity Date, the Principal Amount (as such term is hereinafter defined),
as such sum may be adjusted pursuant to Article 3, and to pay interest thereon from the Closing Date, at the rate of 15% per
annum (the “Note Interest Rate”), payable at maturity. All interest payable on the Principal Amount of this Note shall be
calculated on the basis of a 360-day year for the actual number of days elapsed. Payment of principal or interest of this Note
shall be in cash or, at the option of the Company and if Holder elects, in Securities of Common Stock of the Company as more
fully set forth herein.

                                                        DEFINITIONS

Definitions. The terms defined in this Article whenever used in this Note have the following respective meanings:

“Affiliate” has the meaning ascribed to such term in Rule 12b-2 under the Securities Exchange Act of 1934, as amended.

“Bankruptcy Code” means the United States Bankruptcy Code of 1986, as amended (11 U.S.C. §§ 101 et. Seq.).

“Business Day” means a day other than Saturday, Sunday or any day on which banks located in the State of Florida are
authorized or obligated to close.

“Capital Securities” means the Common Stock and any other Securities of any other class or series of capital stock, whether
now or hereafter authorized and however designated, which have the right to participate in the distribution of earnings and
assets (upon dissolution, liquidation or winding-up) of the Company.

“Common Securities” or “Common Stock” means Securities of the Company’s Common Stock.

“Common Stock Issued at Conversion”, when used with reference to the securities deliverable upon conversion of this
Note, means all Common Securities now or hereafter outstanding and securities of any other class or series into which this
Note hereafter shall have been changed or substituted, whether now or hereafter created and however designated.

“Conversion” or “conversion” means the repayment by the Company of the Principal Amount and interest of this Note by
the delivery of Common Stock on the terms provided in Section 3.2, and “convert,” “converted,” “convertible” and like
words shall have a corresponding meaning.

“Conversion Date” means any day on which all or any portion of the Principal Amount or interest of this Note is converted in
accordance with the provisions hereof.

“Conversion Notice” means a written notice of conversion substantially in the form annexed hereto as Exhibit B1.

“Conversion Ratio” on any date of determination means the applicable ratio for the conversion of this Note into Common
Securities on such day as set forth in Section 3.1.

“Note” or “Notes” means this Convertible Note of the Company or such other convertible Note(s) exchanged therefor as
provided in Section 2.1.

“Event of Default” has the meaning set forth in Section 6.1.
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“Holder” means the person or entity to which this Note is issued, any successor thereto, or any Person to whom this Note is
subsequently transferred in accordance with the provisions hereof.

“Maximum Rate” has the meaning set forth in Section 6.3.

“Outstanding” when used with reference to Common Securities or Capital Securities (collectively, “Securities”) means, on
any date of determination, all issued and outstanding Securities, and includes all such Securities issuable in respect of
outstanding scrip or any certificates representing fractional interests in such Securities; provided, however, that any such
Securities directly or indirectly owned or held by or for the account of the Company or any Subsidiary of the Company shall
not be deemed “Outstanding” for purposes hereof.

“Person” means an individual, a corporation, a partnership, an association, a limited liability company, an unincorporated
business organization, a trust or other entity or organization, and any government or political subdivision or any agency or
instrumentality thereof.

“Principal Amount” means, for any date of calculation, the principal sum set forth in the first paragraph of this Note.

“SEC” means the United States Securities and Exchange Commission.

“Securities Act” means the Securities Act of 1933, as amended, and the rules and regulations of the SEC thereunder, all as
in effect at the time.

“Subsidiary” means any entity of which securities or other ownership interests having ordinary voting power to elect a
majority of the board of directors or other persons performing similar functions are owned directly or indirectly by the
Company.

All references to “cash” or “$” herein means currency of the United States of America.

                                                    ARTICLE 2
                                       EXCHANGES, TRANSFER AND REPAYMENT

SECTION 2.1 Registration of Transfer of Notes. This Note, when presented for registration of transfer, shall (if so required
by the Company) be duly endorsed, or be accompanied by a written instrument of transfer in form reasonably satisfactory to
the Company duly executed, by the Holder duly authorized in writing.

SECTION 2.2 Loss, Theft, Destruction of Note. Upon receipt of evidence satisfactory to the Company of the loss, theft,
destruction or mutilation of this Note and, in the case of any such loss, theft or destruction, upon receipt of indemnity or
security reasonably satisfactory to the Company, or, in the case of any such mutilation, upon surrender and cancellation of
this Note, the Company shall make, issue and deliver, in lieu of such lost, stolen, destroyed or mutilated Note, a new Note of
like tenor and unpaid Principal Amount dated as of the date hereof. This Note shall be held and owned upon the express
condition that the provisions of this Section 2.2 are exclusive with respect to the replacement of a mutilated, destroyed, lost or
stolen Note and shall preclude any and all other rights and remedies notwithstanding any law or statute existing or hereafter
enacted to the contrary with respect to the replacement of negotiable instruments or other securities without the surrender
thereof.

SECTION 2.3 Who Deemed Absolute Owner. The Company may deem the Person in whose name this Note shall be
registered upon the registry books of the Company to be, and may treat it as, the absolute owner of this Note (whether or not
this Note shall be overdue) for the purpose of receiving payment of or on account of the Principal Amount of this Note, for the
conversion of this Note and for all other purposes, and the Company shall not be affected by any notice to the contrary. All
such payments and such conversions shall be valid and effectual to satisfy and discharge the liability upon this Note to the
extent of the sum or sums so paid or the conversion or conversions so made.

SECTION 2.4 Repayment of Interest. Interest shall accrue at the rate of fifteen percent (15%) per annum payable in
arrears at maturity.

SECTION 2.5 Repayment at Maturity. At the Maturity Date, the Company shall repay the outstanding Principal Amount
plus accrued interest or, at the option of the Holder, shall convert all or any portion of the outstanding Principal Amount of this
Note and accrued and unpaid interest thereon, into Securities of the Company’s common stock, as provided for herein.

                                                        ARTICLE 3
                                                    CONVERSION OF NOTE

SECTION 3.1 Conversion; Conversion Ratio; Valuation Event. At the option of the Company and Holder’s election if
offered at maturity, this Note may be converted, either in whole or in part, up to the full Principal Amount plus accrued interest
hereof into Common Securities (calculated as to each such conversion to the nearest whole share, at any time and from time
to time on any Business Day, subject to compliance with Section 3.2.) The number of Common Securities into which this Note
may be converted is equal to the number of Securities that may be purchased at a 10% Share purchase discount. In the event
of any recapitalization or reorganization, the Conversion Ratio shall be adjusted accordingly.
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SECTION 3.2 Exercise of Conversion Privilege. (a) Conversion of this Note may be exercised, if offered by Company, at
Maturity Date by the Holder by telecopying an executed and completed Conversion Notice to the Company (the “Conversion
Date”). The Company shall convert this Note and issue the Common Stock Issued at Conversion in the manner provided
below in this Section 3.2, and all voting and other rights associated with the beneficial ownership of the Common Stock
Issued at Conversion shall vest with the Holder, effective as of the Conversion Date at the time specified in the Conversion
Notice. The Conversion Notice also shall state the name or names (with addresses) of the persons who are to become the
holders of the Common Stock Issued at Conversion in connection with such conversion. As promptly as practicable after the
receipt of the Conversion Notice as aforesaid, but in any event not more than five(5) Business Days after Holder’s delivery of
such Conversion Notice, the Company shall (i) issue the Common Stock Issued at Conversion in accordance with the
provisions of this Article 3 and (ii) cause to be mailed for delivery by overnight courier a certificate or certificate(s) representing
the number of Common Securities to which the Holder is entitled by virtue of such conversion, and cash, as provided in
Section 3.3, as applicable, representing the amount of accrued and unpaid interest on this Note as of the Conversion Date.
Such conversion shall be deemed to have been effected at the time at which the Conversion Notice indicates, and at such
time the rights of the Holder of this Note, as such (except if and to the extent that any Principal Amount thereof remains
unconverted), shall cease and the Person and Persons in whose name or names the Common Stock Issued at Conversion
shall be issuable shall be deemed to have become the holder or holders of record of the Common Securities represented
thereby, and all voting and other rights associated with the beneficial ownership of such Common Securities shall at such
time vest with such Person or Persons. The Conversion Notice shall constitute a contract between the Holder and the
Company, whereby the Holder shall be deemed to subscribe for the number of Common Securities which it will be entitled to
receive upon such conversion and, in payment and satisfaction of such subscription to surrender this Note and to release the
Company from all liability thereon (except if and to the extent that any Principal Amount thereof remains unconverted).

SECTION 3.3 Fractional Securities. No fractional Common Securities or scrip representing fractional Common Securities
shall be delivered upon conversion of this Note. Instead of any fractional Common Securities which otherwise would be
delivered upon conversion of this Note, the Company shall round up to the next whole share. No cash payment of less than
$1.00 shall be required to be given unless specifically requested by the Holder.

SECTION 3.4 Adjustments. The Conversion Ratio and the number of Securities deliverable upon conversion of this Note
are subject to adjustment from time to time as follows:

Reclassification, Etc. In case the Company shall reorganize its capital, reclassify its capital stock, consolidate or merge with
or into another entity (where the Company is not the survivor or where there is a change in or distribution with respect to the
Common Stock of the Company), sell, convey, transfer or otherwise dispose of all or substantially all its property, assets or
business to another Person, or effectuate a transaction or series of related transactions in which more than fifty percent (50%)
of the voting power of the Company is disposed of (each, a “Fundamental Corporate Change”) and, pursuant to the terms
of such Fundamental Corporate Change, Securities of common stock of the successor or acquiring corporation, or any cash,
Securities of stock or other securities or property of any nature whatsoever (including warrants or other subscription or
purchase rights) in addition to or in lieu of common stock of the successor or acquiring corporation (“Other Property”) are to
be received by or distributed to the holders of Common Stock of the Company, then the Holder of this Note shall have the
right thereafter, at its sole option, to (a) receive the number of Securities of common stock of the successor or acquiring
corporation or of the Company, if it is the surviving corporation, and Other Property as is receivable upon or as a result of such
Fundamental Corporate Change by a holder of the number of Securities of Common Stock into which the outstanding portion
of this Note may be converted at the Conversion Ratio applicable immediately prior to such Fundamental Corporate Change
or (c) require the Company, or such successor, resulting or purchasing corporation, as the case may be, to, without benefit of
any additional consideration therefor, execute and deliver to the Holder a Note with substantial identical rights, privileges,
powers, restrictions and other terms as this Note in an amount equal to the amount outstanding under this Note immediately
prior to such Fundamental Corporate Change. For purposes hereof, “common stock of the successor or acquiring
corporation” shall include stock of such corporation of any class which is not preferred as to dividends or assets over any
other class of stock of such corporation and which is not subject to prepayment and shall also include any evidences of
indebtedness, Securities of stock or other securities which are convertible into or exchangeable for any such stock, either
immediately or upon the arrival of a specified date or the happening of a specified event and any warrants or other rights to
subscribe for or purchase any such stock. The foregoing provisions shall similarly apply to successive Fundamental
Corporate Changes.

SECTION 3.5 Surrender of Notes. Upon any redemption of this Note or upon maturity, the Holder shall either deliver this
Note by hand to the Company at its principal executive offices or surrender the same to the Company at such address by
nationally recognized overnight courier. Payment of the redemption price or the amount due on maturity shall be made by the
Company to the Holder against receipt of this Note (unless converted and paid in common stock) by wire transfer of
immediately available funds to such account(s) as the Holder shall specify by written notice to the Company (if the Company
has not elected to pay this Note with Securities of its Common Stock.

                                                             ARTICLE 4

                                          STATUS: RESTRICTIONS ON TRANSFER

SECTION 4.1 Status of Note. This Note constitutes a legal, valid and binding obligation of the Company, enforceable in
accordance with its terms subject, as to enforceability, to general principles of equity and to principles of bankruptcy,
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insolvency, reorganization and other similar laws of general applicability relating to or affecting creditors’ rights and remedies
generally.

SECTION 4.2 Restrictions on Transfer. This Note, and any Common Securities deliverable upon the conversion hereof,
have not been registered under the Securities Act. The Holder by accepting this Note agrees that this Note and the Securities
of Common Stock to be acquired as interest on and upon conversion of this Note may not be assigned or otherwise
transferred unless and until (i) the Company has received the opinion of counsel for the Holder that this Note or such
Securities may be sold pursuant to an exemption from registration under the Securities Act or (ii) a registration statement
relating to this Note or such Securities has been filed by the Company and declared effective by the SEC.

Each certificate for Securities of Common Stock deliverable by hereunder shall bear a legend as follows unless and until
such securities have been sold pursuant to an effective registration statement under the Securities Act:

“The securities represented by this certificate have not been registered under the Securities Act of 1933, as amended (the
“Securities Act”). The securities may not be offered for sale, sold or otherwise transferred except (i) pursuant to an effective
registration statement under the Securities Act or (ii) pursuant to an exemption from registration under the Securities Act in
respect of which the issuer of this certificate has received an opinion of counsel satisfactory to the issuer of this certificate to
such effect. Copies of the agreement covering both the purchase of the securities and restrictions on their transfer may be
obtained at no cost by written request made by the holder of record of this certificate to the Secretary of the issuer of this
certificate at the principal executive offices of the issuer of this certificate.”

                                                             ARTICLE V.

                                                            COVENANTS

SECTION 5.1 Compliance with Laws. So long as this Note shall be outstanding, the Company shall comply with all
applicable laws, ordinances, rules, regulations and requirements of governmental authorities, except for such noncompliance
which would not have a material adverse effect on the business, properties, prospects, condition (financial or otherwise) or
results of operations of the Company and the Subsidiaries.

SECTION 5.2 Inspection of Property, Books and Records. So long as this Note shall be outstanding, the Company shall
keep proper books of record and account in which full, true and correct entries shall be made of all material dealings and
transactions in relation to its business and activities and shall permit representatives of the Holder at the Holder’s expense to
visit and inspect any of its respective properties, to examine and make abstracts from any of its respective books and records,
not reasonably deemed confidential by the Company, and to discuss its respective affairs, finances and accounts with its
respective officers and independent public accountants, all at such reasonable times and as often as may reasonably be
desired.

                                                       ARTICLE VI.
                                               EVENTS OF DEFAULT; REMEDIES

SECTION 6.1       Events of Default. “Event of Default” wherever used herein means any one of the following events:

A. The Company shall default in the payment of principal or interest on this Note as and when the same shall be due and
payable and, such default shall continue for ten (10) Business Days after the date such payment was due, or the Company
shall fail to perform or observe any other covenant, agreement, term, provision, undertaking or commitment under this Note,
and such default shall continue for a period of ten (10) Business Days after the delivery to the Company of written notice that
the Company is in default hereunder or thereunder;

B. Any of the representations or warranties made by the Company herein, shall be false or misleading in a material respect
on the Closing Date;

C (i)The Company or any Subsidiary admits in writing its inability to pay its debts generally or makes a general assignment
for the benefit of creditors, (ii.) institutes or has instituted against it any proceeding seeking to adjudicate it a bankrupt or
insolvent, (iii.) liquidation, winding-up, reorganization, arrangement, adjustment, protection, relief or composition of it or its
debts under any law relating to bankruptcy, insolvency, reorganization or relief of debtors including any plan of compromise or
arrangement or other corporate proceeding involving or affecting its creditors or (iv) the entry of an order for relief or the
appointment of a receiver, trustee or other similar person for it or for any substantial part of its properties and assets, and in the
case of any such official proceeding instituted against it (but not instituted by it), either the proceeding remains undismissed or
unstayed for a period of sixty (60) calendar days, or any of the actions sought in such proceeding (including the entry of an
order for relief against it or the appointment of a receiver, trustee, custodian or other similar official for it or for any substantial
part of its properties and assets) occurs or (v) takes any corporate action to authorize any of the above actions;

      D. The entry of a decree or order by a court having jurisdiction in the premises adjudging the Company or any
Subsidiary a bankrupt or insolvent, or approving as properly filed a petition seeking reorganization, arrangement, adjustment
or composition of or in respect of the Company under the Bankruptcy Code or any other applicable Federal or state law, or
appointing a receiver, liquidator, assignee, trustee or sequestrator (or other similar official) of the Company or of any
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substantial part of its property, or ordering the winding-up or liquidation of its affairs, and any such decree or order continues
and is unstayed and in effect for a period of sixty (60) calendar days;

       E. The institution by the Company or any Subsidiary of proceedings to be adjudicated a bankrupt or insolvent, or the
consent by it to the institution of bankruptcy or insolvency proceedings against it, or the filing by it of a petition or answer or
consent seeking reorganization or relief under the Bankruptcy Code or any other applicable federal or state law, or the
consent by it to the filing of any such petition or to the appointment of a receiver, liquidator, assignee, trustee or sequestrator
(or other similar official) of the Company or of any substantial part of its property, or the making by it of an assignment for the
benefit of creditors, or the admission by it in writing of its inability to pay its debts generally as and when they become due, or
the taking of corporate action by the Company in furtherance of any such action;

        F. A final judgment or final judgments for the payment of money shall have been entered by any court or courts of
competent jurisdiction against the Company and remains undischarged for a period (during which execution shall be
effectively stayed) of thirty (30) days, provided that the aggregate amount of all such judgments at any time outstanding (to the
extent not paid or to be paid, as evidenced by a written communication to that effect from the applicable insurer, by insurance)
exceeds One Hundred Thousand Dollars ($100,000); or

       G. It becomes unlawful for the Company to perform or comply with its obligations under this Note in any respect;

SECTION 6.2 Acceleration of Maturity; Rescission and Annulment. If an Event of Default occurs and is continuing, then
and in every such case the Holder may, by a notice in writing to the Company, rescind any outstanding Conversion Notice
and declare that all amounts owing or otherwise outstanding under this Note are immediately due and payable and upon any
such declaration this Note shall become immediately due and payable in cash or common stock together with all accrued and
unpaid interest thereon at the option of the Holder.

SECTION 6.3 Maximum Interest Rate. In the event of a Default, the Default Interest Rate shall be 15% per annum.
Notwithstanding anything herein to the contrary, if at any time the applicable interest rate as provided for herein shall exceed
the maximum lawful rate which may be contracted for, charged, taken or received by the Holder in accordance with any
applicable law (the “Maximum Rate”), the rate of interest applicable to this Note shall be limited to the Maximum Rate. To
the greatest extent permitted under applicable law, the Company hereby waives and agrees not to allege or claim that any
provisions of this Note could give rise to or result in any actual or potential violation of any applicable usury laws.

SECTION 6.4 Remedies Not Waived. No course of dealing between the Company and the Holder or any delay in
exercising any rights hereunder shall operate as a waiver by the Holder.

SECTION 6.5 Remedies. The Company acknowledges that a breach by it of its obligations hereunder will cause irreparable
harm to the Holder, by vitiating the intent and purpose of the transaction contemplated hereby. Accordingly, the Company
acknowledges that the remedy at law for a breach of its obligations under this Note will be inadequate and agrees, in the
event of a breach or threatened breach by the Company of the provisions of this Note, that the Holder shall be entitled to all
other available remedies at law or in equity, and in addition to the penalties assessable herein, to an injunction or injunctions
restraining, preventing or curing any breach of this Note and to enforce specifically the terms and provisions thereof, without
the necessity of showing economic loss and without any bond or other security being required.

                                                         ARTICLE VII.
                                                       MISCELLANEOUS

SECTION 7.1 Notice of Certain Events. In the case of the occurrence of any event described in Section 3.4 of this Note, the
Company shall cause to be mailed to the Holder of this Note at its last address as it appears in the Company’s security
registry, at least twenty (20) days prior to the applicable record, effective or expiration date hereinafter specified (or, if such
twenty (20) days’ notice is not possible, at the earliest possible date prior to any such record, effective or expiration date), a
notice thereof, including, if applicable, a statement of (1) the date on which a record is to be taken for the purpose of such
dividend, distribution, issuance or granting of rights, options or warrants, or if a record is not to be taken, the date as of which
the holders of record of Common Stock to be entitled to such dividend, distribution, issuance or granting of rights, options or
warrants are to be determined or (2) the date on which such reclassification, consolidation, merger, sale, transfer, dissolution,
liquidation or winding-up is expected to become effective, and the date as of which it is expected that holders of record of
Common Stock will be entitled to exchange their Securities for securities, cash or other property deliverable upon such
reclassification, consolidation, merger, sale transfer, dissolution, liquidation or winding-up.

SECTION 7.2 Withholding. To the extent required by applicable law, the Company may withhold amounts for or on
account of any taxes imposed or levied by or on behalf of any taxing authority in the United States having jurisdiction over the
Company from any payments made pursuant to this Note.

SECTION 7.3 Transmittal of Notices. Except as may be otherwise provided herein, any notice or other communication or
delivery required or permitted hereunder shall be in writing and shall be delivered personally, or sent by telecopier machine
or by a nationally recognized overnight courier service, and shall be deemed given when so delivered personally, or by
telecopier machine or overnight courier to the Company at its principal place of business or to the Holder as indicated on the
Subscription Agreement.
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Each Holder or the Company may change the foregoing address by notice given pursuant to this Section 7.3.

SECTION 7.4 Governing Law. This Note shall be governed by, and construed in accordance with, the laws of the State of
Texas (without giving effect to conflicts of laws principles). With respect to any suit, action or proceedings relating to this
Note, the Company irrevocably submits to the exclusive jurisdiction of the courts of the State of Texas sitting in Santa Barbara
County and the United States District Court located in the Santa Barbara, California, Florida and hereby waives, to the fullest
extent permitted by applicable law, any claim that any such suit, action or proceeding has been brought in an inconvenient
forum. Subject to applicable law, the Company agrees that final judgment against it in any legal action or proceeding arising
out of or relating to this Note shall be conclusive and may be enforced in any other jurisdiction within or outside the United
States by suit on the judgment, a certified copy of which judgment shall be conclusive evidence thereof and the amount of its
indebtedness, or by such other means provided by law.

SECTION 7.5 Waiver of Jury Trial. To the fullest extent permitted by law, each of the parties hereto hereby knowingly,
voluntarily and intentionally waives its respective rights to a jury trial of any claim or cause of action based upon or arising out
of this Note or any other document or any dealings between them relating to the subject matter of this Note and other
documents. Each party hereto (i) certifies that neither of their respective representatives, agents or attorneys has represented,
expressly or otherwise, that such party would not, in the event of litigation, seek to enforce the foregoing waivers and (ii)
acknowledges that it has been induced to enter into this Note by, among other things, the mutual waivers and certifications
herein.

SECTION 7.6 Headings. The headings of the Articles and Sections of this Note are inserted for convenience only and do not
constitute a part of this Note.

SECTION 7.7 Payment Dates. Whenever any payment hereunder shall be due on a day other than a Business Day, such
payment shall be made on the next succeeding Business Day.

SECTION 7.8 Binding Effect. Each Holder by accepting this Note agrees to be bound by and comply with the terms and
provisions of this Note.

SECTION 7.9 No Stockholder Rights. Except as otherwise provided herein, this Note shall not entitle the Holder to any of the
rights of a stockholder of the Company, including, without limitation, the right to vote, to receive dividends and other
distributions, or to receive any notice of, or to attend, meetings of stockholders or any other proceedings of the Company,
unless and to the extent converted into Securities of Common Stock in accordance with the terms hereof.

IN WITNESS WHEREOF, the Company has caused this Note to be signed by its duly authorized officer on the date of this
Note.



420 Real Estate, LLC




Issuer:

WILLARD L JACKSON JR
Name:         WILLARD L JACKSON JR
Email:        wjackson@ebony.com
Company: 420 REAL ESTATE LLC
Title:        CEO
Signature ID: 99947f94-df2e-43d4-8484-cce56e932587



COUNTERPART SIGNATURE PAGE TO FORM OF PROMISSORY NOTE

The undersigned desires to loan the Company the Principal Amount shown and indicated on the Subscription Page. The
Subscription Page is attached hereto but not incorporated herein. The undersigned agrees to abide by all the terms and
conditions of the Note as reflected in the Form of Note purchased by the undersigned hereby.



IN WITNESS WHEREOF, the undersigned has executed this counterpart signature page to the Form of the Note as of the last
date written below.
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Subscriber:

Jeffrey Carter
Name:         Jeffrey Carter
Email:        j.m.carter2021@gmail.com
Date:         August 8, 2019, 1:23:39PM EDT
Signature ID: 6b0eea47-da1a-412d-873b-17d2e4dbf659




                                                      EXHIBIT A1
                                               NOTE CONVERSION NOTICE

                                                   FOR COMMON STOCK

TO:    420 Real Estate, LLC (the “Company”)

       The undersigned hereby irrevocably exercises its option offered by Company to convert $__________ Principal
Amount and $______________ Interest of the Note into ____________ Securities of Common Stock in accordance with the
terms of the Note at the Conversion Ratio then in effect.

The number of Securities of common stock to be received on conversion is calculated as follows:

____________________________________________________

The Common Stock and certificates therefor deliverable upon conversion, the Note reissued in the Principal Amount not
being surrendered for conversion hereby, [the check or Securities of Common Stock in payment of the accrued and unpaid
interest thereon to the date of this Notice,] shall be registered in the name of and/or delivered to the name set forth below
unless a different name has been provided to the Company. All capitalized terms used and not defined herein have the
respective meanings assigned to them in the Note. The conversion pursuant hereto shall be deemed to have been effected
at the date and time specified below, and at such time the rights of the Holder of the Principal Amount of the Note set forth
above shall cease and the Person or Persons in whose name or names the Common Stock Issued at Conversion shall be
registered shall be deemed to have become the holder or holders of record of the Common Securities represented thereby
and all voting and other rights associated with the beneficial ownership of such Common Securities shall at such time vest
with such Person or Persons.



Date and time: __________________



By: ___________________________



Title: _________________________



Fill in for registration of Note:
Please print name and address:



________________________________________________________________________
(including ZIP code number):
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                                                          EXHIBIT C

                                               SUBSCRIPTION AGREEMENT

The undersigned (hereinafter “Subscriber”) hereby confirms his/her/its subscription for the purchase of a 420 Real Estate
LLC (the “Company”, “we” “our”) Convertible Note (the “Note” or the “Securities”) in an amount as more fully set forth on the
Signature Page.

In connection with this subscription, Subscriber and the Company agree as follows:

1.     Purchase and Sale of the Note.

        (a)    The Company hereby agrees to issue and to sell to Subscriber, and Subscriber hereby agrees to purchase from
the Company, a Note for the aggregate subscription amount set forth on the signature page hereto. The Subscriber
understands that this subscription is not binding upon the Company until it is accepted by the Company. The Subscriber
acknowledges and understands that acceptance of this Subscription will be made only by a duly authorized representative of
the Company executing and mailing or otherwise delivering to the Subscriber at the Subscriber’s address set forth herein, a
counterpart copy of the signature page to this Subscription Agreement indicating the Company’s acceptance of this
Subscription. The Company reserves the right, in its sole discretion for any reason whatsoever, to accept or reject this
subscription in whole or in part. Following the acceptance of this Subscription Agreement by the Company, the Company
shall issue and deliver to Subscriber the Note subscribed for hereunder against payment in U.S. Dollars of the Purchase
Price (as defined below). If this subscription is rejected, the Company and the Subscriber shall thereafter have no further
rights or obligations to each other under or in connection with this Subscription Agreement. If this subscription is not accepted
by the Company, this subscription shall be deemed rejected.

       (b)     Subscriber has hereby delivered and paid concurrently herewith the aggregate purchase price for the Note set
forth on the signature page hereof in an amount required to purchase and pay for the Note subscribed for hereunder (the
“Purchase Price”), which amount has been paid in U.S. Dollars by wire transfer or check, subject to collection, to the order of
Prime Trust, LLC as the Escrow Agent for 420 Real Estate, LLC.

2.     Representations and Warranties of Subscriber. Subscriber represents and warrants to the Company as follows:

       (a)    Subscriber acknowledges that the proceeds from the sale of the Note will be used to enter into the hemp
industry and that hemp remains a controlled substance under federal law and that the cultivation, possession of distribution of
hemp is a felony.

        (b)  Subscriber acknowledges that the Company has never generated revenues and that there is a substantial risk
that the Company will default on its obligations under the Convertible Note (the “Note”).

      (c)     Subscriber acknowledge that neither the Note nor the Securities of common stock that may be received on
conversion of the Note will be registered under the Act on the ground that the issuance thereof is exempt under either
Regulation D and/or Section 4(2) of the Act as a transaction by an issuer not involving any public offering.

        (d)     Subscriber is purchasing the Note subscribed for hereby for investment purposes and not with a view to
distribution or resale.

       (e)    Subscriber acknowledges that there is no market for the Company’s Note or the Securities of common stock
that may be issued on conversion. As a result, the Securities must be held indefinitely.

       (e)     Subscriber acknowledges that Subscriber has had the opportunity to ask questions of, and receive answers
from the Company or any authorized person acting on its behalf concerning the Company and its business and to obtain any
additional information, to the extent possessed by the Company (or to the extent it could have been acquired by the Company
without unreasonable effort or expense) necessary to verify the accuracy of the information received by Subscriber. The
Subscriber has had the opportunity to discuss the Company’s business, management and financial affairs with the
Company’s management or any authorized person acting on its behalf. Subscriber has received and reviewed all the
information concerning the Company both written and oral, that Subscriber desires. Without limiting the generality of the
foregoing, Subscriber has been furnished with or has had the opportunity to acquire, and to review: all information that
Subscriber desires with respect to the Company’s business, management, financial affairs and prospects.

     (f)    Subscriber acknowledges that the Subscriber has reviewed the Company’s information as provided. That the
Company is a new company with limited assets.

     (g)    Subscriber has all requisite legal and other power and authority to execute and deliver this Subscription
Agreement and to carry out and perform Subscriber’s obligations under the terms of this Subscription Agreement.

       (h)     Subscriber has carefully considered and has discussed with the Subscriber’s legal, tax, accounting and
financial advisors, to the extent the Subscriber has deemed necessary, the suitability of this investment and the transactions
contemplated by this Subscription Agreement for the Subscriber’s particular federal, state, local and foreign tax and financial
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situation and has independently determined that this investment and the transactions contemplated by this Subscription
Agreement are a suitable investment for the Subscriber. Subscriber has relied solely on such advisors and not on any
statements or representations of the Company or any of its agents.

      (i)    Subscriber acknowledges that an investment in the Securities is speculative and involves a high degree of risk
and that Subscriber can bear the economic risk of the purchase of the Securities, including a total loss of his/her/its
investment.

       (j)     Subscriber acknowledges that no federal, state or foreign agency has recommended or endorsed the purchase
of the Securities.

      (k)     Subscriber acknowledges that the Securities are and will be, when issued, “restricted securities” as that term is
defined in Rule 144 of the general rules and regulations under the Act.

        (l)    Subscriber understands that any and all certificates representing the Note or any securities that may be issued
upon the conversion of the Note, and any and all securities issued in replacement thereof or in exchange therefore shall bear
the following legend or one substantially similar thereto, which Subscriber has read and understands:

       (m)     Subscriber represents that: (i) Subscriber is able to bear the economic risks of an investment in the Securities
and to afford a complete loss of the investment, and (ii) (A) Subscriber could be reasonably assumed to have the ability and
capacity to protect his/her/its interests in connection with this subscription; or (B) Subscriber has a pre-existing personal or
business relationship with either the Company or any affiliate thereof of such duration and nature as would enable a
reasonably prudent purchaser to be aware of the character, business acumen and general business and financial
circumstances of the Company or such affiliate and is otherwise personally qualified to evaluate and assess the risks, nature
and other aspects of this subscription.

       (n)     Subscriber acknowledges that no warranties nor guarantees have been made in connection with the purchase
of the Note.

3.     Representations and Warranties of the Company. The Company represents and warrants to Subscriber as follows:

        (a)    The Company is duly organized and validly exists as a corporation in good standing under the laws of the State
of California.

     (b)       The Company has all such corporate power and authority to enter into, deliver and perform this Subscription
Agreement.

       (c)    All necessary corporate action has been duly and validly taken by the Company to authorize the execution,
delivery and performance of this Subscription Agreement by the Company, and the issuance and sale of the Securities to be
sold by the Company pursuant to this Subscription Agreement. This Subscription Agreement has been duly and validly
authorized, executed and delivered by the Company and constitutes the legal, valid and binding obligation of the Company
enforceable against the Company in accordance with its terms, except as the enforceability thereof may be limited by
bankruptcy, insolvency, reorganization, moratorium or other similar laws affecting the enforcement of creditors’ rights
generally and by general equitable principles.

4.     Indemnification. Subscriber agrees to indemnify and hold harmless the Company and its respective officers, directors,
employees, shareholders, agents, attorneys, representatives and affiliates, and any person acting for or on behalf of the
Company from and against any and all damage, loss, liability, cost and expense (including reasonable attorneys’ fees and
disbursements) which any of them may incur by reason of the failure by Subscriber to fulfill any of the terms and conditions of
this Subscription Agreement, or by reason of any breach of the representations and warranties made by Subscriber herein, or
in any other document provided by Subscriber to the Company in connection with this investment. All representations,
warranties and covenants of each of Subscriber and the Company contained herein shall survive the acceptance of this
subscription and the Closings.

5.    Compliance with Laws and Other Instruments. The signature and delivery of the Subscription Documents, the
consummation of the transactions contemplated hereby and thereby in accordance with the terms and conditions of the
Memorandum, the Form of Note, and the Subscription Documents, and the performance of the Subscriber’s obligations
hereunder and thereunder will not conflict with, or result in any violation of or default under, any other instrument to which
Subscriber is a party or by which the Subscriber or any of the Subscriber’s properties are bound or any permit, franchise,
judgment, decree, statute, rule or regulation applicable to the Subscriber or the Subscriber’s properties.

6.     Update of Representations and Warranties; Reliance by the Company. All information

Subscriber has provided or will provide to the Company regarding the Subscription Documents is true, correct and complete
as of the date of execution of this Agreement and as of the date of Closing. Subscriber will promptly provide to the Company
written notice of any material changes to information provided to the Company. Subscriber acknowledges and understands
the Company will rely on the representations and warranties contained in this Agreement to determine the applicability of
certain securities laws, the suitability of Subscriber as an investor in the Company, and for certain other purposes.
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7.     Tax Considerations. The Subscriber is not relying on the Company, its managers, or professional advisers regarding
tax considerations involved in an investment in the Notes. Subscriber understands and acknowledges that there are no
assurances as to the tax results of this Agreement. SUBSCRIBER HAS HAD THE OPPORTUNITY TO CONSULT WITH
SUBSCRIBER’S OWN LEGAL, ACCOUNTING, TAX, INVESTMENT AND OTHER ADVISERS WITH RESPECT TO THE
TAX TREATMENT OF AN INVESTMENT IN THE NOTES AND THE MERITS AND RISKS OF AN INVESTMENT IN THE
NOTES.

8.     Miscellaneous.

       (a)    Subscriber agrees not to transfer or assign this Subscription Agreement or any of Subscriber’s interest herein
and further agrees that the transfer or assignment of the Securities acquired pursuant hereto shall be made only in
accordance with all applicable laws.

      (b)    Subscriber agrees that Subscriber cannot cancel, terminate, or revoke this Subscription Agreement or any
agreement of Subscriber made hereunder, and this Subscription Agreement shall survive the death or legal disability of
Subscriber and shall be binding upon Subscriber’s heirs, executors, administrators, successors, and permitted assigns.

       (c)    Subscriber has read and has accurately completed this entire Subscription Agreement.

      (d)     This Subscription Agreement constitutes the entire agreement between the parties hereto with respect to the
subject matter hereof and may be amended or waived only by a written instrument signed by all parties.

      (e)     Subscriber acknowledges that it has been advised and has had the opportunity to consult with Subscriber’s
own attorney regarding this subscription and Subscriber has done so to the extent that Subscriber deems appropriate.

       (f)    Any notice or other document required or permitted to be given or delivered to the parties hereto shall be in
writing and sent: (i) by fax if the sender on the same day sends a confirming copy of such notice by a recognized overnight
delivery service (charges prepaid), or (b) by registered or certified mail with return receipt requested (postage prepaid) or (c)
by a recognized overnight delivery service (with charges prepaid) to the mailing address of the Company or if to the
Subscriber, at its address set forth on the signature page to this Subscription Agreement, or such other address as Subscriber
or the Company shall have specified in writing. .

      (g)    Failure of the Company to exercise any right or remedy under this Subscription Agreement or any other
agreement between the Company and the Subscriber, or otherwise, or any delay by the Company in exercising such right or
remedy, will not operate as a waiver thereof. No waiver by the Company will be effective unless and until it is in writing and
signed by the Company.

       (h)    This Subscription Agreement shall be enforced, governed and construed in all respects in accordance with the
laws of the State of Texas, as such laws are applied by the Texas courts except with respect to the conflicts of law provisions
thereof, and shall be binding upon the Subscriber and the Subscriber’s heirs, estate, legal representatives, successors and
permitted assigns and shall inure to the benefit of the Company, and its successors and assigns.

       (i)     Any legal suit, action or proceeding arising out of or relating to this Subscription Agreement or the transactions
contemplated hereby shall be instituted exclusively in the Circuit Court in and for Harris County, Texas. The parties hereto
hereby: (i) waive any objection which they may now have or hereafter have to the venue of any such suit, action or
proceeding, and (ii) irrevocably consent to the jurisdiction of the Circuit Court in and for Harris County, Texas.

        (j)     If any provision of this Subscription Agreement is held to be invalid or unenforceable under any applicable
statute or rule of law, then such provision shall be deemed modified to conform with such statute or rule of law. Any provision
hereof that may prove invalid or unenforceable under any law shall not affect the validity or enforceability of any other
provisions hereof.

        (k) The parties understand and agree that money damages would not be a sufficient remedy for any breach of this
Subscription Agreement by the Company or the Subscriber and that the party against which such breach is committed shall
be entitled to equitable relief, including an injunction and specific performance, as a remedy for any such breach, without the
necessity of establishing irreparable harm or posting a bond therefor. Such remedies shall not be deemed to be the exclusive
remedies for a breach by either party of this Subscription Agreement but shall be in addition to all other remedies available at
law or equity to the party against which such breach is committed.

        (l)     This Agreement may be amended, and the observance of any provision may be waived (either generally or in a
particular instance and either retroactively or prospectively) only with the written consent of each party to be bound by such an
amendment or waiver. No provision of this Agreement will be deemed to have been waived unless a waiver is contained in a
written notice given to the party claiming waiver has occurred, and no waiver shall be deemed to be a waiver of any other or
further obligation or liability of the party in whose favor the waiver was given. It is understood that this Agreement is not
binding on the Company until the Company accepts it, which acceptance is at the sole discretion of the Company and shall
be noted by execution of this Agreement where indicated. Subscriber hereby acknowledges that this Agreement may not be
revoked by the Subscriber. Subscriber agrees that if this Agreement is accepted, Subscriber shall, and Subscriber hereby
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elects to, execute any and all further documents necessary in connection with this Agreement.

       (m)   All representations and warranties contained in this Agreement or made in writing by Subscriber or by the
Company in connection with this Agreement or the Subscription Documents will survive the execution and delivery of this
Agreement, any investigation at any time made by or on behalf of the Company or Subscriber, and the issuance and sale of
the Notes.

        (n)    This Agreement and the representations and warranties contained herein will be binding upon and inure to the
benefit of and be enforceable by the respective successors and permitted assigns of Subscriber and the Company.

        (o)     Whenever notice is required or permitted by this Agreement to be given, it shall be in writing. When notice is
given to Subscriber, it shall be pursuant to the instructions set forth in Subscriber’s Notification Information Page or to an
update thereto as Subscriber shall provide to the Company in writing. When notice is given to the Company, it shall be sent to
420 Real Estate LLC 18530 Mack Ave., Grosse Pointe Farms, MI 48236, or to another address as the Company shall provide
to the Subscriber in writing. Electronic mail is permitted as a means to give notice. Notice given by electronic mail shall be
effective upon receipt, if confirmed. Notice given by mail or personal delivery shall be effective upon delivery. Notices
received on non–business days in the jurisdiction of the addressee are not deemed effective until the next business day. A
copy of all notices sent to the Company shall be delivered with an email copy to invest@420realestate.com

        (p)      Subscriber irrevocably constitutes and appoints the Company’s manager with full power of substitution, as the
undersigned's true and lawful representative and attorney-in fact for the undersigned with respect to the Company and the
Notes, granting unto such attorney-in-fact full power and authority on behalf and in the name, place and stead of the
Subscriber to make, execute, acknowledge, deliver, answer to, file and record in all necessary or appropriate places any
documents, tax elections, certificates or instruments which may be considered necessary or desirable by the Company to
carry out fully the provisions of this Agreement and the Memorandum. The foregoing is a special power of attorney coupled
with an interest, is irrevocable, and shall survive the death, incompetence or incapacity of Subscriber. Subscriber hereby
agrees to be bound by all of the actions of the Company’s manager as attorney-in-fact and irrevocably waives any and all
defenses which may be available to the Subscriber to contest, negate or disaffirm the actions of the Company’s manager or
officers, or successors under this Power of Attorney, and hereby ratifies and confirms all acts which said attorney-in-fact may
take as attorney-in-fact hereunder in all respects, as though performed by the Subscriber.

       (q)     All pronouns and any variations thereof used herein shall be deemed to refer to the masculine, feminine,
singular or plural, as identity of the person or persons may require.

     (r)     This Subscription Agreement may be executed in counterparts and by facsimile, each of which shall be
deemed an original, but all of which shall constitute one and the same instrument.

         IN WITNESS WHEREOF, Subscriber has caused this Subscription Agreement to be executed as of the date indicated
below.



$300.00


Subscriber:

Jeffrey Carter
Name:         Jeffrey Carter
Email:        j.m.carter2021@gmail.com
Date:         August 8, 2019, 1:23:39PM EDT
Signature ID: 6b0eea47-da1a-412d-873b-17d2e4dbf659



                                  Acceptance:



      IN WITNESS WHEREOF, the Company has caused this Subscription Agreement to be executed, and the foregoing
subscription accepted, as of the date indicated below, as to an aggregate of $300.00 of the Company’s Note.
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                             420 REAL ESTATE LLC.


Issuer:

WILLARD L JACKSON JR
Name:         WILLARD L JACKSON JR
Email:        wjackson@ebony.com
Company: 420 REAL ESTATE LLC
Title:        CEO
Signature ID: 99947f94-df2e-43d4-8484-cce56e932587
